20-01054-shl   Doc 56-6    Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                             PWC Forensic Pg 1 of 107




                  PwC Risk Consulting - Forensic Services




                  Project Pietra
                  Forensic Audit

                  31 October 2019


                  Final report
     20-01054-shl        Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                   Exhibit Ex D -
                                           PWC Forensic Pg 2 of 107


       }
pwc
EVCAdvocaten
For the attention of Mrs. Ilse Mertens
Partner
Frankrijklei tzr, second floor
zooo Antwerp (Belgium)


3r October zorg



Dear Mrs Mertens,


EVC Advocaten (hereafter "EVCLAW" or "you") has requested PricewaterhouseCoopers Enterprise Advisory
cvba/scrl (hereafter "PwC", "\,ve", "us" or "our") to perform a forensic audit of Firestar Diamond BVBA (hereafter
     'Company")
"the            in order to attempt to assess the genuine character of the trades with 6 Hong Kong based entities.
In accordance with your instructions    as stated in our engagement letter dated 6 May 2019, we present our repol
containing the  main factual findings  of our forensic audit. This report, including annexes, forms a whole. As such,
it should be viewed in its entirety as opposed to reviewing selected chapters.
We have not carried out anything in the nature of an audit or an attestation as that term is definedbythe Institut
des R{viseurs d'Entreprisei (nn)Anstituut van de Bedrijfsrevisoren (IBR)I nor, except where otherwise stated,
have we subjected tlie financial or other information contained in this report to checkilg or verification
procedures. Accordingly, as a standard practice in a forensic audit, we assume no res_ponsibility and make no
iepresentations with iespect to the accuracy or completeness of the information in this report, except where
otherwise stated.
This report is solely distributed to EVC Advocaten and Neeshal Modi. Our responsibility is limited to no others
than the aforementioned recipients of this report.
Do not hesitate to contact us if you require further clarification or information.




Partner




l IBR-IRE is a mandatory membership organization for auditors and audit firms established in accordance with the
Accounting Law of 1953. IBR-IRE is imember of IFAC, Accountancy Europe and the F6d6ration Internationale des
Experts-Comptables Francophones.


huC Enterprise Aduisory cub a/ scrl
Maatschappellke zetel/Si\ge social: Woluwe Garden, Woluwedal t8, B-tggz Sint-Steuens-Wolutae
T: +32 (o)z Zto 42tt, F: 4z (o)z 71o 4299, wwwpwc.com
B7W/TUA BE o4tg.6zz.33g / F,IPR Brussel - WM Bruxelles    /   ING BE3z gtot gStt 96oz - BIC BBRUBEBB    /
BELFIUSBE56 o68g o4o8 4988 - BICGKCCBEBB
    20-01054-shl                 Doc 56-6              Filed 10/15/20 Entered 10/15/20 22:39:07                                              Exhibit Ex D -
                                                         PWC Forensic Pg 3 of 107                                                                            Final report




Table of Contents
1. Executive report .................................................................................................................. 4
     1.1. Scope & approach ..................................................................................................................................... 4
     1.2. Scope limitations ...................................................................................................................................... 5
           1.2.1. Accounting data .............................................................................................................................. 5
           1.2.2. Supporting documentation ............................................................................................................ 5
           1.2.3. Professional secrecy statutory auditor ........................................................................................... 6
           1.2.4. Valuation ......................................................................................................................................... 7
     1.3. Executive summary .................................................................................................................................. 8
2. Information gathering ........................................................................................................ 9
     2.1. Interviews ................................................................................................................................................. 9
           2.1.1. Neeshal Modi – managing director Firestar Diamond BVBA........................................................ 9
           2.1.2. Tom Panis – external accountant................................................................................................. 10
     2.2. Our understanding of the entity ............................................................................................................ 12
           2.2.1. Foundation.................................................................................................................................... 12
           2.2.2. Activities ....................................................................................................................................... 12
           2.2.3. Key Financials .............................................................................................................................. 12
           2.2.4. Directors and power of attorney .................................................................................................. 13
           2.2.5. Bankruptcy ................................................................................................................................... 13
     2.3. Our understanding of the trading activity ............................................................................................. 14
           2.3.1. Purchase process .......................................................................................................................... 15
           2.3.2. Sales process................................................................................................................................. 17
           2.3.3. Consignment ................................................................................................................................ 18
     2.4. Our understanding of the manufacturing activity ................................................................................ 21
3. Analysis ............................................................................................................................ 22
     3.1. Transaction review ................................................................................................................................. 22
           3.1.1. Data sources .................................................................................................................................. 22
           3.1.2. Trade goods transactions with 6 Hong Kong based entities........................................................ 22
           3.1.3. Other trade goods transactions .................................................................................................... 34
           3.1.4. Operational expenses ................................................................................................................... 43
     3.2. Review information allegation file......................................................................................................... 47
           3.2.1. Reconciliation accounting ............................................................................................................ 47
           3.2.2. Review supporting documents.....................................................................................................48
     3.3. Review outgoing payments .................................................................................................................... 49
           3.3.1. Data sources .................................................................................................................................. 49
           3.3.2. Methodology ................................................................................................................................. 49
           3.3.3. Findings ........................................................................................................................................ 49
Appendices ........................................................................................................................... 53
     A.1. Judgment Commercial Court Antwerp – Bankruptcy .......................................................................... 53
     A.2. Communication Figurad Bedrijfsrevisoren BVBA................................................................................ 54
     A.3. Communication Berdj Anastassian ....................................................................................................... 55
20-01054-shl              Doc 56-6             Filed 10/15/20 Entered 10/15/20 22:39:07                                          Exhibit Ex D -
                                                 PWC Forensic Pg 4 of 107                                                                        Final report




A.4. Extract Belgian Gazette – Deed of incorporation ................................................................................. 56
A.5. Extract Belgian Gazette – Change of name ........................................................................................... 57
A.6. Overview transactions 6 HK entities..................................................................................................... 58
A.7. Overview additional selection ............................................................................................................... 59
A.8. Extract allegation file ........................................................................................................................... 60
    20-01054-shl         Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                         PWC Forensic Pg 5 of 107                                          Final report




1. Executive report
1.1. Scope & approach

On 19 March 2018 the Company was declared bankrupt by the Commercial Court in Antwerp after the cessation
of payments on 16 March 2018. The Court appointed Eddy Van Camp and Ilse Mertens as liquidators of the
Company in the bankruptcy judgement. For an extract of the appointment of Eddy Van Camp and Ilse Mertens
by the Commercial Court in Antwerp, please refer to annex 1. Before commencing our forensic audit as
described below, the curator obtained the approval from the examining magistrate to appoint us as forensic
auditor.

From meetings held on 26 October 2018, 17 December 2018 and multiple email conversations, we understand
that the company Firestar Diamond BVBA, and its managing director Neeshal Modi, have been accused of the
offence of money laundering based on a complaint filed by the Punjab National Bank (“PNB” or “the bank”).

In summary, 6 Hong Kong based dummy companies are accused to rotate funds derived from potential illicitly
gained Letters of Undertaking (LoU) via import-export transactions. The alleged fraudulent funds obtained
from PNB were then layered against the payments of the dummy exports/imports. In the same process, the
funds were diverted from Hong Kong to other related entities around the world, amongst others to Belgium,
specifically to Firestar Diamond BVBA.

The scope of this assignment entails:

          Examining the books of Firestar Diamond BVBA for the fiscal years 2011 through 2017 in order to
           attempt to assess the genuine character of the trades as detailed in paragraph 4.3 in the allegation
           dossier as regards to the in and out funds diverted from the 6 Hong Kong-based companies to Firestar
           Diamond BVBA;

          Assess whether the above-mentioned transactions of Diamond Firestar BVBA with the 6 Hong Kong-
           based companies are accurately reflected in the book of accounts of the Company;

          Assess whether the transactions with the 6 Hong Kong-based companies were genuine and duly
           supported by the proof of actual shipment of goods through invoices, shipping documents and customs
           documents; and

          Assess if funds were siphoned off from the Belgian entity to bank accounts related to Neeshal Modi (or
           any of his companies).




Project Pietra                                                                                         31 October 2019
PwC                                                                                                                  4
    20-01054-shl        Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                         PWC Forensic Pg 6 of 107                                           Final report




1.2. Scope limitations
1.2.1. Accounting data
We received the accounting data from the external provider Panis NV3. We did not perform any procedures in
order to verify the accuracy and completeness of the accounting data received, nor did we perform an audit of
the financial statements of the Company as the scope of the forensic audit does not require us to do so.
Accordingly, as a standard practice in a forensic audit, we assume no responsibility and make no
representations with respect to the accuracy and/or completeness of the accounting data used for our review.
We only reconciled, without issues, the received general ledger with the deposited accounts on the National
Bank of Belgium. In general, based on our executed procedures, we have no reason to believe that the data
received was incomplete or inaccurate.

1.2.2. Supporting documentation
1.2.2.1. Invoices, customs documents & shipping documents
We received the supporting documentation used for the review of the transactions from the Company. We did
not perform any checks or verification procedures regarding the authenticity of the documents received.
Accordingly, as a standard practice in a forensic audit, we assume no responsibility and make no
representations with respect to the authenticity of the supporting documentation used for our review.

1.2.2.2. Bank statements
We reviewed certain bank statements, however not all bank statements could be reviewed due to the following
reasons:

         Part of the original bank statements were no longer available anymore in the physical archive. The
          mandatory retention period for bank statements is seven years for Belgian companies according to
          Belgian law4. This implies that not all bank statements prior to the first half of 2012 were available at
          the time of our forensic audit.

         The Special Tax Inspectorate (STI) (or ‘Bijzondere Belastinginspectie (BBI)’ in Dutch) has not returned
          certain original bank statements that were subject of their inspection in July 2017, as stated by Neeshal
          Modi. According to the official report (‘proces-verbaal’ in Dutch) of the STI dated 06 July 2017, they
          requested the bank statements between 01 April 2014 and 31 March 2017.

         The payment for purchase transactions are in some cases batch payments. Additionally, certain
          transactions are grouped in one receivable or one payable;




3Panis NV, with registered office at 40 box 2 Hoveniersstraat, 2018 Antwerp (Belgium), company number BE 0429.618.740
4Please refer to the website of the Belgian Ministry of Finance:
https://financien.belgium.be/nl/ondernemingen/vennootschapsbelasting/boekhouding#q2 (in Dutch) or
https://finances.belgium.be/fr/entreprises/impot_des_societes/comptabilite (in French)


Project Pietra                                                                                          31 October 2019
PwC                                                                                                                   5
    20-01054-shl        Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                    Exhibit Ex D -
                                         PWC Forensic Pg 7 of 107                                              Final report




          This practice makes it complex to link the incoming or outgoing payment on a one-to-one basis with an
          invoice. Linking the incoming and outgoing payments on a one-to-one basis with the invoice would be a
          very manual process due to the lack of identifiers. Nevertheless, for the transactions included in our
          testing sample, the Company either paid the invoice or registered the invoice correctly as an
          outstanding payable.

Alternatively, we reconciled the selected transaction as part of our transaction testing with the complete
financial ledger between 2011 and 2017. These financial ledgers were part of the statutory financial audit
executed by registered auditor Ann Van Vlaenderen. The statutory auditor made no reservation related to
irregularities in the bank accounts for the period between 2011 and 2017 which implies that no issues were
identified related to the bank accounts.

1.2.3. Professional secrecy statutory auditor
We were not able to gather information from Figurad Bedrijfsrevisoren BVBA5, the statutory auditor of the
Company. The auditor stated that all information they have and all audit procedures they executed are strictly
confidential and fall under the professional secrecy of statutory auditor in Belgium, except for the publicly
available audit report attached to the published financial statements. We contacted the statutory auditor on 17
June 2019 and 18 June 2019 by phone, followed by a confirmation of our conversation via e-mail on 18 June
2019. We received the reply from the statutory auditor on 19 June 2019 via e-mail (see annex 2).

Additionally, we contacted Berdj Anastassian who was appointed by the statutory auditor to make an external
valuation of the inventory of the Company for the fiscal year 2017-2018 (01 April 2017 – 31 March 2018). As Mr.
Anastassian was appointed by the statutory auditor, the procedures executed by him as well as his report of the
valuation also fall under the professional secrecy. We contacted Mr. Anastassian on 11 July 2019 by phone,
followed by a confirmation of our conversation via e-mail on 11 July 2019. We received the reply from Mr.
Anastassian on 11 July 2019 via e-mail (see annex 3). We contacted Mr. Anastassian a second time with the
request to discuss in general terms the Company and the diamond market in Antwerp as a whole on 16 July
2019 via e-mail.




5Figurad Bedrijfsrevisoren, with registered office at J-B de Ghellincklaan 21, 9051 Gent (Belgium), company number BE
0423.109.644


Project Pietra                                                                                            31 October 2019
PwC                                                                                                                      6
    20-01054-shl       Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                        PWC Forensic Pg 8 of 107                                          Final report




We verified the responses from the statutory auditor and Mr. Anastassian with a representative from the
Institut des Réviseurs d’Entreprises (IRE)/Instituut van de Bedrijfsrevisoren (IBR). The IRE/IBR confirmed
that the professional secrecy of the statutory auditor is of public order and is absolute.

As such, we were not able to verify the sales and purchase process with the statutory auditor nor could we
obtain the reports related to the valuation of the inventory of the Company.

1.2.4. Valuation
We did not independently validate nor verify the value of the traded goods for the transactions we have
reviewed. Our review of the selected transactions was of an administrative nature, meaning we assessed if all
required documents were present and consistent. According to Neeshal Modi, all international transactions
(both import and export) are however valued by the customs authorities at the time of arrival or departure of
the goods. The customs authorities need to value the goods independently in order to levy the appropriate
taxes.

As such, for international transactions, including all transactions with the 6 Hong Kong-based companies, there
is no need to perform a valuation of the goods used in these transactions as it has been done by the custom
authorities at the time of the transactions. For national transactions within Belgium, it was not possible to
validate nor verify the value of the goods.




Project Pietra                                                                                       31 October 2019
PwC                                                                                                                 7
    20-01054-shl        Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                          PWC Forensic Pg 9 of 107                                                Final report




1.3. Executive summary
Following an investigation and legal proceedings by the Directorate of Enforcement of the Mumbai Zonal Office
under the Prevention of Money Laundering Act of 2002, we conducted a forensic audit of the Belgian entity
Firestar Diamond BVBA. The focus of the forensic audit was to assess the genuine character of the trades as
detailed in paragraph 4.3 in the allegation dossier as regards to the in and out funds diverted from the 6 Hong
Kong-based companies to Firestar Diamond BVBA. Additionally, we assessed whether funds were siphoned off
from the Belgian entity to bank accounts related to Neeshal Modi.

As part of our forensic audit, we performed the following procedures:

         Transaction review;

         Review of the information included in the allegation file;

         Review of outgoing payments.

For the transaction review of trade goods with the 6 Hong Kong-based companies mentioned in the allegation
file (383 transactions), we can conclude that a vast majority of the reviewed cases were sufficiently documented.
As far as the scope of our audit and the financial documentation put at our disposal, we did not identify any
indication that the transactions between Firestar Diamond BVBA and the 6 Hong Kong-based companies were
not genuine.

Our findings related to the 55 other trade goods transactions as part of our unpredictability procedure6 are in
line with our findings related to the transactions with the 6 Hong Kong entities. This implies that we did not
encounter any indications that the Company created the supporting documentation for the transactions with
the 6 Hong Kong entities ex-post.

By applying a risk-based approach7, we also assessed whether any funds have been siphoned off from the
Belgian BVBA to bank accounts related to Neeshal Modi through operational expenses. Operational expenses
have a higher inherent risk to be used in fraudulent transactions due to the nature of these expenses and can be
used to siphon off funds to personal accounts. We did not identify any indication that the operational expenses
were used to siphon off funds to Neeshal Modi.

We also compared the information included in the allegation file with the accounting data received. We did not
identify any unexplained differences between the detail in the allegation and the accounting data. Since the
accounting data reconciles with the allegation file and considering our review of all transactions with the 6
Hong Kong companies, we can conclude that the transactions included in the allegation file are sufficiently
documented and therefore we have no reasons to believe that the transactions were not genuine.

Finally, relying on our risk-based work8 performed on outgoing payments, we did not identify any indication
that fund transfers occurred to Neeshal Modi’s personal bank account, nor that any amount is due by Neeshal
Modi to Firestar Diamond BVBA on the current account he held within the Company.

6 One could expect that all documents for the transactions with the 6 Hong Kong based entities are present since these are
the subject of the allegation. By performing an unpredictability test on the remaining population, we mitigate the risk of
falsified supporting documentation for these transactions by comparing these with other transactions.
7 Please refer to chapter 3.3 Review outgoing payments




Project Pietra                                                                                               31 October 2019
PwC                                                                                                                          8
    20-01054-shl         Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                                         PWC Forensic Pg 10 of 107                                       Final report




2. Information gathering
In a first phase, we conducted two interviews in order to obtain a broader picture of the context we were
working in, to have a view on the purchase and sales process at the Company and to identify the relevant data
sources necessary for our transaction review.

Based on these interviews, we established our understanding of the purchase and sales process at the Company.
This understanding is important in order to execute the transaction review in an efficient manner.

2.1. Interviews
2.1.1. Neeshal Modi – managing director Firestar Diamond BVBA
2.1.1.1. Practical details
The interview with Neeshal Modi took place on 27 June 2019 between 11.15AM and 01.20PM in the offices of
Zen Diam BVBA, Hoveniersstraat 30 office 414, 2018 Antwerp (Belgium). The following persons attended the
meeting:

      -   Neeshal Modi (Former managing director of company in bankruptcy Firestar Diamond BVBA)
      -   Karla Bemelmans (Senior Manager PwC Belgium)
      -   Jelle Santens (Senior Consultant PwC Belgium)
We did not record the interview, as such the minutes of meeting are not a literal transcript of the interview.


2.1.1.2. Objectives of the meeting
The objectives of the meeting were to gain a general understanding of the business activities of the Company, to
gain insight in the purchase and sales process at the Company between fiscal years 2011 and 2017 and, in
particular, gain information regarding the business of the Company with the following 6 Hong Kong based
entities:
      -     Auragem Company Limited;
      -     Brilliant Diamonds Ltd.;
      -     Eternal Diamonds Corporation Limited;
      -     Fancy Creations Company Ltd.;
      -     Sino Traders Limited; and
      -     Sunshine Gems Ltd.




2.1.1.3. Key points
The key points from the meeting with Neeshal Modi are the following:




Project Pietra                                                                                       31 October 2019
PwC                                                                                                                9
    20-01054-shl         Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                        PWC Forensic Pg 11 of 107                                           Final report




      -   Neeshal Modi has extensive experience in the diamond industry since the start of his professional
          career;
      -   A large part of the accounting and reporting happened via the back-office in India, centralized for the
          whole Firestar Group;
      -   Neeshal Modi was only involved in managing the operations of the Company. He was only a director at
          the Company and did not own any shares at the Company, directly or indirectly. He had no knowledge
          in the functioning and business of the Firestar Group. He has never met any lender who has given any
          loans other than the one to the Company;
      -   The main activity of the Company was the trade in both rough and polished diamonds as well as
          manufacturing. The Company has subsidiaries in Russia, Armenia and South Africa. The Company
          conducted approximately 80-85% of the business with external counterparties, 15-20% were
          intercompany transactions. Most trade occurred with companies from Hong Kong and Belgium;
      -   Neeshal Modi had full autonomy for the running of the Company and its subsidiaries, however certain
          activities and business opportunities were guided from the group entity in India on direction of the
          promoters.. Neeshal Modi did not at any point in time notice anything odd or unusual with any
          transaction;
      -   The Company was declared bankrupt in 2018 because all bank accounts were frozen (including non-
          financing banks). The credit institutions refused a financial plan drafted by Neeshal Modi;
      -   The purchase and sales process within the Company can be described as informal and is partly based on
          trust between the different actors. In a vast majority of the transactions there is no purchase order nor a
          delivery note, an invoice however is always present. The approval of invoices was mainly done by
          Neeshal Modi and, in his absence, by Jigar Shah or an employee of the Company;
      -   Neeshal Modi never noticed anything odd or unusual with the 6 Hong Kong based entities mentioned
          above. The transactions with them were always legitimate and bonafide. The Company always received
          the goods and payments on time without issues and took a margin on those transactions.




2.1.2. Tom Panis – external accountant
2.1.2.1. Practical details
The interview with Tom Panis took place on 2 July 2019 between 10.00AM and 11.20AM in the offices of Panis
NV, Hoveniersstraat 40 box 2, 2018 Antwerp (Belgium). The following persons attended the meeting:

      -   Tom Panis (Partner Panis NV)
      -   Jelle Santens (Senior Consultant PwC Belgium)
      -   William Olyslager (Senior Consultant PwC Belgium)



Project Pietra                                                                                          31 October 2019
PwC                                                                                                                  10
    20-01054-shl        Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                       PWC Forensic Pg 12 of 107                                          Final report




We did not record the interview, as such the minutes of meeting are not a literal transcript of the interview.


2.1.2.2. Objectives of the meeting
The objectives of the meeting were to gain a general understanding of the business activities of the Company, to
gain insight in the available accounting data and confirm statements made by Neeshal Modi.


2.1.2.3. Key points
The key points from the meeting with Tom Panis are the following:
      -   Panis NV has extensive experience in the diamond industry since the start-up. They are currently
          market leader for accounting services in the diamond industry in Belgium;
      -   Panis NV was external accountant at the Company from inception until bankruptcy;
      -   Tom Panis confirmed that the main activity of the Company was the trade in both rough and polished
          diamonds as well as manufacturing;
      -   Tom Panis declares that he believes that Neeshal Modi is a victim in the whole situation. He was only a
          small part of the whole family network where everything is based on trust;
      -   Panis NV never experienced any problems with the Company, all fees were paid on time and the
          corporation with the Company was without significant issues;
      -   The operational system of Panis NV – ExpertPlus – was used for the accounting of the Company. Tom
          Panis confirmed that he has a complete overview of all accounting data from inception until
          bankruptcy;
      -   As external accountant, Panis NV does not have a view on the purchase and sales process within the
          Company. Only the administrative side of the accounting was executed by employees of Panis NV.
      -   Tom Panis confirmed that it is very common in the diamond industry in Belgium that there are no
          purchase orders nor delivery notes. A lot of transactions are based on trust and only an invoice is
          available. For international transactions, also import and export documents from customs should be
          available.




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                11
    20-01054-shl        Doc 56-6     Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                      PWC Forensic Pg 13 of 107                                          Final report




2.2. Our understanding of the entity
2.2.1. Foundation
The company Firestone Diamond was founded by Deepak Kumar Modi on 31 July 2009. Since its
incorporation, Neeshal Modi was appointed as managing director. For the deed of incorporation, please refer to
annex 4.

During the extraordinary general meeting of 30 March 2011, decision was taken to change the name of the
entity from Firestone Diamond to Firestar Diamond. For the extract from the Belgian Gazette, please refer to
annex 5.

2.2.2. Activities
According to the deed of incorporation, the purpose of the Company are activities related to rough diamonds,
polished diamonds, precious stones, jewellery and other precious metals. These activities include:

      -   Processing;

      -   Trade;

      -   Import and export;

      -   Giving and taking in consignment.

These activities are in line with the information we retrieved based on our interviews with Neeshal Modi and
Tom Panis, representative of Panis NV.

2.2.3. Key Financials
From the published financial statements, we see that both the gross revenue as well as profit increase year over
year, with exception of the profit between 2015 and 2016.



                                   Key Financials (in million USD)
                                              Gross revenue          Profit

                 350                                                                            3.50

                 300                                                                            3.00

                 250                                                                            2.50

                 200                                                                            2.00

                 150                                                                            1.50

                 100                                                                            1.00

                  50                                                                            0.50

                  0                                                                             0.00
                        2012       2013        2014           2015       2016         2017



Project Pietra                                                                                       31 October 2019
PwC                                                                                                               12
    20-01054-shl        Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07               Exhibit Ex D -
                                       PWC Forensic Pg 14 of 107                                          Final report




Each year, the full amount of the profit was reserved and put into the company’s equity, so no dividends were
paid out to the shareholders.

2.2.4. Directors and power of attorney
The following persons were appointed as director of the Company:

      -   Neeshal Modi, managing director as from 31 July 2009 until the declaration of bankruptcy on 19 March
          2018.

Next to the position of (managing) director, the following persons were granted power of attorney:

      -   Soraya De Wit, representative of Panis, Hendrickx & Co (later Panis NV) as from 31 July 2009;

      -   Julie Joossen, representative of Panis, Hendrickx & Co (later Panis NV) as from 31 July 2009;

      -   Lana Scheyltjens, representative of Panis NV as from 26 July 2017;

      -   Viral Mukesh Shah as from 5 December 2011;

      -   Levy Barak as from 31 January 2012 until 31 October 2012;

      -   Bankim Madhu Mehta as from 12 March 2012 until 1 September 2015;

      -   Harshil Rajesh Shah as from 20 March 2013;

      -   Jigar Vijay Mehta as from 15 June 2015.

2.2.5. Bankruptcy
On 19 March 2018 the Company was declared bankrupt by the Commercial Court in Antwerp after the cessation
of payments on 16 March 2018. The Court appointed Eddy Van Camp and Ilse Mertens as liquidators of the
Company. For an extract of the judgement by the Commercial Court in Antwerp, please refer to annex 1.




Project Pietra                                                                                       31 October 2019
PwC                                                                                                                13
    20-01054-shl       Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                      PWC Forensic Pg 15 of 107                                           Final report




2.3. Our understanding of the trading activity
We based our understanding of the purchase and sales process at the Company on the interviews conducted
with Neeshal Modi and Tom Panis. We did not consult any other sources of information in order to validate or
verify this process.

We need to make a distinction between the three business activities, namely trading in rough diamonds, trading
in polished diamonds and manufacturing. To perform an efficient transaction review and to know what
documents to review, we need to understand the process flow of the purchase and sales process of both rough
and polished diamonds.

Below you can find a high-level overview of the business process in the business activity of trading rough
diamonds:




Categorisation

The Company buys rough diamonds across the globe from different vendors. The rough diamonds come in
different clarity, colour, shape and weight. The diamonds are then categorized by the Company depending on
their weight (carat). Diamonds of similar carat are divided into batches that are used for the sale to both
national and international clients. Neeshal Modi or his assistant determine the value of the inventory based on
their expertise in the sector. There is no independent valuation or certification in the categorisation process.
Rough and polished diamonds are never mixed and always remain a separate business activity.

These categorised batches can still contain diamonds of various clarity, colour and shape. It is not possible to
follow a rough diamond trough the rough diamond trading process as the Company mixes the diamonds
received from different vendors. Additionally, these rough diamonds have no certificate regarding their clarity,
colour, shape and weight making it impossible to fully trace them throughout the whole process.




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                14
    20-01054-shl         Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                          PWC Forensic Pg 16 of 107                                                Final report




Certified diamonds

At the Company, a certificate is typically issued for high-end value polished diamonds, which represents a small
part of the total business of the Company. If such a certificate exists, then it is possible to trace the diamond
from purchase to sale. However, based on the available accounting information, it is not possible to identify the
transactions where a certificate is present. As such, it is not possible to know for which transaction we could
expect a certificate.

In the following chapters, we further define our understanding of both the purchase and sales process.

2.3.1. Purchase process
Please find below a visualisation8 of this process:




The Company purchases rough and polished diamonds from both national (Belgian) and international (any
other country) vendors. In the diamond sector, it is common practice not to issue Purchase Orders (PO). As



8 The visualisation remains a simplification of the purchase process and, for example, does not consider possible VAT
bookings, accrual bookings or credit notes. For the execution of the forensic audit, our understanding is focused on the
elements needed to perform a transaction review.


Project Pietra                                                                                                31 October 2019
PwC                                                                                                                         15
    20-01054-shl       Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                   Exhibit Ex D -
                                       PWC Forensic Pg 17 of 107                                             Final report




such, a PO is not part of the business process. The contacts between the vendors and the Company are informal
and are not formalised in a contract between the parties nor email communication.

In general, the first step in the purchase process is the delivery of the goods (1). For this step in the process, we
expect to retrieve the necessary shipping documents for international transactions. After the delivery of the
goods, the vendor issues an invoice (2) which specifies the price of the goods and the carat, together with
payment instructions. For each purchase we expect an invoice. It is possible that in practice the order of step 1
and step 2 are reversed, i.e. that an invoice is issued before the actual shipment of the goods. This has no
influence on our transaction review approach.

The purchases are booked on a cost account, which varies depending whether it is a national vendor or an
international vendor and whether it concerns rough or polished diamonds:

         National purchases of rough diamonds are booked on the account #600110 ‘Aankopen Ruwe Diamant’
          (Purchases Rough Diamond);

         National purchases of polished diamonds are booked on the account # 600120 ‘Aankopen Geslepen
          Diamant’ (Purchases Polished Diamond);

         International purchases of rough diamonds are booked on the account #600111 ‘Importen Ruwe
          Diamant’ (Imports Rough Diamond);

         International purchases of polished diamonds are booked on the account # 600121 ‘Importen Geslepen
          Diamanten’ (Imports Polished Diamonds).

In the case of an international purchase, we expect to encounter the necessary Belgian customs documents and
shipping documents in addition to the invoice.

The final step in the purchase process is the payment of the invoice (3). We expect to retrieve all the outgoing
payments of the invoices in the financial ledger as received from the external provider Panis NV. We can
reconcile the payment in the financial ledger with the information in the cost accounts by means of the
document number.




Project Pietra                                                                                          31 October 2019
PwC                                                                                                                   16
    20-01054-shl         Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                          PWC Forensic Pg 18 of 107                                                Final report




2.3.2. Sales process
Please find below a visualisation9 of this process:




The Company sells rough and polished diamonds to both national (Belgian) and international (any other
country) clients. In the diamond sector, it is common practice not to issue Purchase Orders (PO). At the
Company, a PO is not used and is as such not part of the business process in scope. The contacts between the
vendors and the Company are informal and are not formalised in a contract between the parties nor email
communication.

In general, the first step in the sales process is the delivery of the goods (1) to the client. For this step in the
process, we expect to retrieve the necessary shipping documents. After the delivery of the goods, the Company
issues an invoice (2) which specifies the price of the goods and the carat, together with payment instructions.
For each sale, we expect an invoice. It is possible that in practice the order of step 1 and step 2 are reversed, i.e.
that an invoice is issued before the actual shipment of the goods. This has no influence on our transaction
review approach.




9 The visualisation remains a simplification of the purchase process and, for example, does not consider possible VAT

bookings, accrual bookings or credit notes. For the execution of the forensic audit, our understanding is focused on the
elements needed to perform a transaction review.


Project Pietra                                                                                                31 October 2019
PwC                                                                                                                         17
    20-01054-shl       Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                      PWC Forensic Pg 19 of 107                                           Final report




The sales are booked on a revenue account, which varies depending whether it is a national vendor or an
international vendor and whether it concerns rough or polished diamonds:

         National sales of rough diamonds are booked on the account #700110 ‘Verkopen Ruwe Diamant’ (Sales
          Rough Diamond);

         National sales of polished diamonds are booked on the account #700120 ‘Verkopen Geslepen
          Diamanten (Sales Polished Diamonds);

         International sales of rough diamonds are booked on the account #700111 ‘Exporten Ruwe Diamant’
          (Exports Rough Diamond);

         International sales of polished diamonds are booked on the account #700121 ‘Exporten Geslepen
          Diamanten’ (Exports Polished Diamonds).

In case of an international sale, we expect to encounter the necessary Belgian customs documents.

The final step in the sales process is the payment of the invoice (3). We expect to retrieve all the incoming
payments of the invoices in the financial ledger as received from the external provider Panis NV. We can
reconcile the payment in the financial ledger with the information in the cost accounts by means of the
document number.

2.3.3. Consignment
For part of the sales and purchase, the goods are given in consignment before the final invoice is issued. Herein,
one party, the consigner, will transfer goods (in this case diamonds) to the counterparty, the consignee, while
retaining the legal ownership over the goods. The physical transfer of goods does not imply a transfer of
ownership rights. As there is a significant amount of judgement in the pricing of diamonds – depending on the
cut and clarity, among other things – a buying party will often first want to inspect the goods and afterwards
both parties will agree on the final sales price and share of the diamonds.

CBN-advice 132/7 stipulates that goods in consignation remain part of the owner's stock until sold. This means
that goods in consignation will not have an impact on the Companies’ balance sheet nor profit and loss
statement. However, the Belgian government requires that goods in consignment are accounted for through off-
balance sheet accounts.




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                18
     20-01054-shl        Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                       Exhibit Ex D -
                                         PWC Forensic Pg 20 of 107                                                 Final report




Please find below a visualisation10 of this process:




In the accounting of the Company we identified that the off-balance transactions are booked on accounts
#9XXXXX. We identified the following accounts:

         Goods sent in consignment to the client are booked on the off-balance account #940000 ‘Consignatie
          Klanten’ (Consignment Clients) and the counterpart account #970XXX ‘Consignatie Verkopen’
          (Consignment Sales);

         Goods received in consignment from the supplier are booked on the off-balance account #944000
          ‘Consigantie Leveranciers’ (Consignment Suppliers) and the counterpart account #960XXX
          ‘Consignatie Aankopen’ (Consignment Purchases).

The accounting for a consignment follows the same lines as a purchase or a sale. Separate accounts exist for
import and export of rough and polished diamonds and separate supplier and client accounts exist. The
difference between the sales and purchase process and the consignment process is that no invoice but a
consignment memo is issued. This memo contains the basic information about the goods such as value, carats,
etc. but it does not include payment details. In the case of an international consignment, we expect shipping
documents and customs documents.




10The visualisation remains a simplification of the consignment process and, for example, does not consider possible VAT
bookings, accrual bookings, credit notes or inventory bookings. For the execution of the forensic audit, our understanding is
focused on the elements needed to perform a transaction review.


Project Pietra                                                                                                31 October 2019
PwC                                                                                                                         19
    20-01054-shl        Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                    Exhibit Ex D -
                                        PWC Forensic Pg 21 of 107                                              Final report




Consignments are closed when a sale is concluded between the two parties, being it a sale of the full
consignment, a partial sale or no sale at all. In the case of a sale, an invoice is issued for (part of) the
consignment at an agreed upon price and the process shall follow the regular sales or purchase process (cfr.
2.3.1 & 2.3.2). If no agreement is concluded, the consigned goods will be shipped back to the legal owner. In all
cases, this is reflected in the off-balance accounting through the issuance of a credit note at initial consignment
value.




Project Pietra                                                                                            31 October 2019
PwC                                                                                                                     20
     20-01054-shl      Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07               Exhibit Ex D -
                                       PWC Forensic Pg 22 of 107                                        Final report




2.4. Our understanding of the manufacturing activity
The manufacturing process is the process of transforming a rough diamond into a polished diamond. The
Company purchases the rough diamonds as described above. However, instead of categorising the good, they
are shipped to one of the manufacturing plants of the Company (mainly in Russia, later also in Armenia, South
Africa and Belgium).

The pricing of the end-product, being the polished diamonds is determined by Neeshal Modi and is based on
reversed calculation. The Company applies a 20% gross margin on the purchase price of the rough diamond in
order to determine the price of the polished diamond. After the manufacturing process, the diamonds are
certified at either GIA11 or HRD12.




 The Gemmological Institute of America (GIA) is an independent non-profit organisation specialized in gemmology.
11
12The ‘Hoge Raad voor Diamant’ (HRD) or Diamond High Council is commercial subsidiary of the Antwerp World Diamond
Centre (AWDC).


Project Pietra                                                                                      31 October 2019
PwC                                                                                                              21
    20-01054-shl       Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                      PWC Forensic Pg 23 of 107                                         Final report




3. Analysis
3.1. Transaction review
The focus of our review were the incoming and outgoing transactions from and to the 6 entities based in Hong
Kong as mentioned in the allegations issued by the Directorate of Enforcement of the Mumbai Zonal Office
under the Prevention of Money Laundering Act of 2002 (hereinafter “allegation file”).

Additionally, we reviewed 55 transactions with other counterparties based on an accept-reject test (high risk).
This is to be seen as an unpredictability procedure.

Finally, we reviewed on a risk-based approach a number of operating expenses. The operational expenses have
a higher inherent risk to be used in fraudulent transactions due to the nature of these expenses and can be used
to siphon off funds to personal accounts.

3.1.1. Data sources
We received the accounting data on 8 July 2019 from the external accountant Panis NV. We transferred all the
accounting data via an encrypted USB-stick. The accounting data was presented to us in Microsoft Excel format
and pdf format. We reconciled, without issues, the received general ledger with the deposited accounts on the
National Bank of Belgium.

We received the supporting documents for our transaction review from the Company upon request and after
communicating our selection of the transactions to be reviewed. We reviewed the supporting documents on site
at the premises of the Zen Diam BVBA in the Hoveniersstraat 30 in Antwerp (Belgium) on 16 July 2019 and at
the apartment of Neeshal Modi in the Pourbusstraat 25 in Antwerp (Belgium) on 17 July 2019, 23 July 2019 and
27 August 2019. We did not take any originals or copies with us.

3.1.2. Trade goods transactions with 6 Hong Kong based entities
The focus of our review were the incoming and outgoing transactions from and to the 6 entities based in Hong
Kong as mentioned in the allegation file. Our review concerns the following 6 entities:

      -   Auragem Company Ltd.

      -   Brilliant Diamonds Ltd.

      -   Eternal Diamonds Corp. Ltd.

      -   Fancy Creations Company Ltd.

      -   Sino Traders Ltd.

      -   Sunshine Gems Ltd.

We reviewed whether all supporting documents for all transactions with these 6 entities were present and
consistent with the accounting data received.


Project Pietra                                                                                     31 October 2019
PwC                                                                                                               22
    20-01054-shl         Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07               Exhibit Ex D -
                                         PWC Forensic Pg 24 of 107                                        Final report




3.1.2.1. Methodology
We distinguish 4 phases in the review of the transactions with the 6 Hong Kong based entities:

      1.   Identify of all relevant transactions in the accounting data;

      2. Establish an expectation of the supporting documentation to receive;

      3. Review the supporting documentation and document all relevant aspects of the supporting
           documentation;

      4. Analyse the review of the supporting documentation to identify missing documents or any other trend.

Identification

The first step is to identify all the transactions that took place with the above mentioned 6 Hong Kong based
entities. Based on our understanding of the purchase and sale process, we selected the following accounts for
our review:

      -    #600110 – AANKOPEN RUWE DIAMANT

      -    #600111 – IMPORTEN RUWE DIAMANT

      -    #600120 – AANKOPEN GESLEPEN DIAMANT

      -    #600121 – IMPORTEN GESLEPEN DIAMANTEN

      -    #600220 – AANKOPEN GESLEPEN DIAMANT POL.DPT.

      -    #600221 – IMPORT GESLEPEN DIAMANT POL.DPT.

      -    #700110 – VERKOPEN RUWE DIAMANT

      -    #700111 – EXPORTEN RUWE DIAMANT

      -    #700120 – VERKOPEN GESLEPEN DIAMANTEN

      -    #700121 – EXPORTEN GESLEPEN DIAMANTEN

      -    #700220 – VERKOPEN GESLEPEN DIAMANTEN POL.DPT.

      -    #700221 – EXPORTEN GESLEPEN DIAMANT POL.DPT.

The suffix Pol.Dpt. refers to Polished Department as confirmed with the Company. These accounts were mainly
used in 2012 (254 transactions) and in the beginning of 2013 (3 transactions). These accounts were also part of
our population.

We identified the 6 Hong Kong based entities based on how they are recorded in the accounting data in the
description ‘Leverancier/Klant’ or ‘Supplier/Client’. Additionally, we scanned all known suppliers and clients as
part of our fuzzy search in order to identify different ways of writing the name of the entities. The following
entities were identified in the accounting data:




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                23
    20-01054-shl        Doc 56-6           Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                            PWC Forensic Pg 25 of 107                                                   Final report




      -   AURAGEM COMPANY LTD

      -   BRILLIANT DIAMONDS LTD

      -   ETERNAL DIAMONDS CORP.LTD

      -   FANCY CREATIONS CO.LTD

      -   FANCY CREATIONS COMPANY LTD

      -   SINO TRADERS LTD

      -   SUNSHINE GEMS LTD

We selected all the identified transactions with these 6 Hong Kong based entities as part of our transaction
review, we did not use any sampling.

                           International purchase                International sale
 Supplier/client                                                                                 Total transactions
                          (#600111 - #600121 - #600221)       (#700111 - #700121 - #700221)


 Auragem                                  70                               1                             71

 Brilliant Diamond                        0                                86                           86

 Eternal Diamond                          0                                96                           96

 Fancy Diamond                            21                               38                           59

 Sino Traders                             19                               0                             19

 Sunshine Gems                            52                               0                            52

 Total                                    162                             221                           383

Please refer to annex 6 for an overview of all identified transactions with the 6 Hong Kong based entities.

Expected documentation

Based on our understanding of the purchase and sale process, we expect to retrieve the following information:

                                                 International
 Document        National purchase                                                National sale           International sale
                                                    purchase
                   (#600110 - #600120 -                                         (#700110 - #700120 -          (#700111 - #700121 -
      type                                      (#600111 - #600121 -
                        #600220)                                                     #700220)                      #700221)
                                                     #600221)



    Invoice                 X                             X                              X                             X


   Shipping
                                                          X                                                            X
  documents

   Customs
                                                          X                                                            X
  documents




Project Pietra                                                                                                     31 October 2019
PwC                                                                                                                              24
    20-01054-shl        Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                                        PWC Forensic Pg 26 of 107                                       Final report




For national purchases and sales, we understand that shipping documents will never be available. With certain
counterparties or for certain amounts, the goods are transferred in an informal way (delivered on the spot)
without any intervention of an external party transferring the goods. The above is confirmed by Mia Van Den
Broeck, account manager for the Company, employed at the external accountant Panis. The invoice is sufficient
to record a national purchase or sale. For an international transaction, a customs document should be present
and in case of an international transaction of rough diamonds, a Kimberly certificate should also be provided.
For each transaction related to rough diamonds, we received a matching Kimberley certificate.

Finally, for each transaction we expect to retrieve the payment in the financial ledger.

Review supporting documentation

We reconciled each document received with the accounting data (indicated with *), where possible, and
documented relevant document information to facilitate a possible re-performance of the review.

 Characteristic                 Invoice          Shipping document       Customs document        Financial ledger

 Document number                   X                                                                    X

 Counterparty*                     X                                                                    X

 Bank name                         X                                                                    X

 Date*                             X

 Amount*                           X                      X                                             X

 Carat*                            X                      X                       X


The date could only be reconciled with the invoice date as the accounting data only contains the invoice date.

Analysis

Our analysis is focused on four main areas, namely:

         Missing documentation: We consider a document missing when we would expect such a document
          based on our understanding of the business process;

         Inaccurate documentation: We consider a document as inaccurate when we identified a difference in
          one of the characteristics of the document compared to the accounting data received;

         Incomplete documentation: We consider a document as incomplete when certain information is not
          included or when official government approvals are missing;

         Divergent transactions: We consider a transaction as divergent when the transaction does not follow
          the same pattern as the other transactions.




Project Pietra                                                                                     31 October 2019
PwC                                                                                                              25
    20-01054-shl          Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07           Exhibit Ex D -
                                            PWC Forensic Pg 27 of 107                                     Final report




3.1.2.2. Findings
We divided our findings related to the supporting documents in 3 categories, namely missing documents,
inaccurate documents and incomplete documents. Furthermore, we added two additional findings related to
the outgoing payments of the transactions as well as the off-set account in the financial ledger.

3.1.2.2.1. Missing documents
We received for all 383 transactions with the 6 Hong Kong based entities the corresponding invoice. Regarding
the remaining expected documents, please refer to the table for an overview:

                                   a) Missing customs         b) Missing shipping      c) Missing reference
      Supplier/client
                                        documents                 documents              financial ledger

      Auragem                                  0                   3 (0,78%)                  1 (0,26%)

      Brilliant Diamond                   3* (0,78%)               1* (0,26%)                 3 (0,78%)

      Eternal Diamond                      1 (0,26%)                   0                     10 (2,61%)

      Fancy Creations                          0                   1 (0,26%)                  1 (0,26%)

      Sino Traders                             0                       0                      5 (1,31%)

      Sunshine Gems                            0                   1 (0,26%)                  7 (1,83%)

      Total                               4 (1,04%)                6 (1,57%)                 27 (7,05%)


* For this transaction, two expected documents are missing.

Regarding the missing customs documents, 2 of the transactions date prior to October 2011 thus the legal
retention period of 7 years has passed. For one transaction, the Company states that the original customs
document was handed over to the bank. The remaining missing document could not be retrieved from the
archive. The Company requested a duplicate for these customs documents at the customs authority, however
the Company states that the customs administration did not retain these documents.

Regarding the missing shipping documents, this is not a required document for accounting purposes as
confirmed by a representative of the external accountant Panis.

Regarding the transactions with a reference missing in the financial ledger, these transactions are registered as
an outstanding payable respectively receivable, as also confirmed by the representative of the external
accountant Panis.

The detailed explanations of the missing documents can be found below in section a) through c):




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                26
     20-01054-shl     Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                      PWC Forensic Pg 28 of 107                                            Final report




      a) Missing customs documents

We identified 4 transactions where the customs documents were missing. The customs documents are the proof
that diamonds left or entered Belgium. We requested the Company for an explanation for these missing
customs documents. For an overview of these transactions, please refer below:

                  Document     Document      Account        Account                              Amount GL
      Supplier                                                                Bank used
                  number          date       number       description                                 (USD)

       Eternal                                           Export Polished   Standard Chartered
                  201200197    20/09/2011     700121                                                 43.194,15
      Diamonds                                             Diamonds          Bank, London

      Brilliant                                          Export Polished   Standard Chartered
                  201200206    28/09/2011     700121                                                1.048.993,20
      Diamonds                                             Diamonds          Bank, London

      Brilliant                                          Export Polished     Syndicate Bank,
                  201310118    08/08/2012     700121                                                243.334,85
      Diamonds                                             Diamonds             London

      Brilliant                                          Export Polished     Bank of India,
                  201510339    31/10/2014     700121                                                 10.937,30
      Diamonds                                             Diamonds             Antwerp


Two transactions (one Eternal Diamonds with document number 201200197 and one Brilliant Diamonds with
document number 201200206) have a document date in September 2011. The Company declares that some
documents of transactions dating back to 2011 have been destroyed since the retention period of 7 years13 had
passed. Nevertheless, we retrieved customs documents for 25 other transactions in the selection of 383
transactions with the 6 Hong Kong based entities that were dated in 2011. This indicates that the destruction of
supporting accounting documents for transactions that took place in 2011 was at least partial.

For one transaction (Brilliant Diamonds with document number 201310118), the payment was received via the
Syndicate Bank London. The Company declares that this financial institution requires a hand-over of all
original supporting documents for the transactions. Normally, the Company takes a copy of the original
documentation for its own administration, however, due to a human error, this was not the case for this
transaction according to the Company.

For one transaction (Brilliant Diamonds with document number 201510339), the Company was not able to
provide the customs document.

      b) Missing shipping documents

The 11 transactions where only the shipping documents were missing, have a document date between 29 August
2011 and 7 October 2016. The Company declares that shipping documents are not required documents for
accounting purposes. The key document for the accounting administration is the invoice and the customs



13Please refer to the website of the Ministry of Finance:
https://financien.belgium.be/nl/ondernemingen/vennootschapsbelasting/boekhouding#q2 (in Dutch) or
https://finances.belgium.be/fr/entreprises/impot_des_societes/comptabilite#q2 (in French).


Project Pietra                                                                                         31 October 2019
PwC                                                                                                                 27
     20-01054-shl         Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                         PWC Forensic Pg 29 of 107                                                 Final report




documents. This was also confirmed by a representative of the external accountant Panis on 10 September
2019.

The Company declares that in certain cases an employee picked up or delivered the trade goods to the customs
authorities (Diamond Office14) to save costs and time as the buyer or seller takes the burden of the shipping
costs to or from the Diamond Office. In this situation, no shipping documents are available according to the
Company.

      c) Missing reference financial ledger

The 27 transactions where only the reference in the financial ledger is missing, have a document date between 7
September 2017 and 25 January 2018 except for one transaction with 15 February 2013 as document date. The
transaction with document date in February 2013 is also not included in the allegation file (see below in chapter
3.2 Review information allegation file).

We identified in total 27 transactions where there is no reference in the financial ledger, which implies these
transactions have not been paid:

                                 Missing incoming                Missing outgoing
      Supplier/client                                                                                  Total
                                   payment (sale)              payment (purchase)

      Auragem                              1                               0                             1

      Brilliant Diamond                    3                               0                             3

      Eternal Diamond                      10                              0                             10

      Fancy Creations                      1                               0                             1

      Sino Traders                         0                               5                             5

      Sunshine Gems                        0                               7                             7

      Total                                15                             12                            27


We verified in the accounting data that these amounts have been booked on the accounts receivable,
respectively payable. For 26 out of 27 transactions, the invoices were booked in the last accounting year. We
confirmed our understanding that the transactions with a missing reference in the financial ledger are
outstanding amounts with Mrs. Mia Van Den Broeck, representative of Panis NV, on 3 September 2019.

One transaction dated 15 February 2013 was also not retrieved in the financial ledger. During our transaction
review, we retrieved the invoice, customs document and shipping documents for this transaction. However, the
invoice was never paid by the counterparty but, according to the accounting data, the shipment was stolen
during the armed heist at Brussels airport on 18 February 201315. In the accounting data, we identified that the

14 The actual processing of the imports and exports of all diamonds in Antwerp occurs at Diamond Office (DO). It acts as a
supervisory body for the Belgian government. It is the only customs office in Belgium where diamonds can and must be
declared for import and export outside the European Union.
15 https://www.theguardian.com/world/2013/feb/19/diamond-robbery-brussels-airport-plane




Project Pietra                                                                                                 31 October 2019
PwC                                                                                                                          28
    20-01054-shl           Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                           PWC Forensic Pg 30 of 107                                          Final report




insurance company paid back the full amount of the invoice on 28 February 2013, registered as an exceptional
revenue. We confirmed the above with Neeshal Modi on 27 August 2019.

3.1.2.2.2. Inaccurate documents
We consider a document as inaccurate when we identified a difference in one of the characteristics of the
document compared to the accounting data received.

Invoice


 Difference                        % of #total     We identified 1 transaction where there is a difference of 3,00
                 #Transactions
 in days                          transactions     USD between the invoice and the accounting data. We verified

        1             6               1,57%        that this relates to a bank charge. We retrieved the amount in the
                                                   accounting data in the financial ledger.
       2               1             0,26%

       3               3             0,78%         We identified 19 transactions where the date on the invoice does
                                                   not correspond with the date in the accounting data. For the two
       4               1             0,26%
                                                   transactions where the invoice date is 365 days or exactly 1 year
        5              1             0,26%         later, we identified that the data on the shipping documents is the

       6               2             0,52%
                                                   same as the date in the accounting data.

        7              1             0,26%         Finally, we identified 4 transactions where the carats mentioned

       31              1             0,26%
                                                   on the invoice do not correspond with the accounting data. For
                                                   each transaction, there was a deviation of 0,01 carat. Two of these
       63              1             0,26%
                                                   transactions had an equal difference when comparing the
      365              2             0,52%         accounting data with the customs document. This is explained as
                                                   a scale difference by Neeshal Modi, where depending on the scale
      Total           19             4,96%
                                                   used to weigh the diamonds, small differences can occur.

Shipping documents

We identified 3 transactions which show a difference between the amount mentioned on the shipping
document and the amount in the accounting data. In 2 out of 3 cases, there was also a difference between the
invoice received and the shipping documents. Please find an overview below:

                 Document        Document        Account    Amount       Amount shipping                       Difference
    Client                                                                                     Difference
                  number           date          number    GL (USD)       document (USD)                          in %

   Eternal       201310110       01/08/2012      700121    912.243,35         912.243,31           0,04
                                                                                                                 0,00%
  Diamonds

   Brilliant     201310118       08/08/2012      700121    243.334,85         243.331,85           3,00
                                                                                                                 0,00%
 Diamonds*




Project Pietra                                                                                            31 October 2019
PwC                                                                                                                    29
    20-01054-shl        Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                        PWC Forensic Pg 31 of 107                                             Final report




    Fancy        201700235   30/06/2016      700121     975.437,13          975.473,13           -36,00
                                                                                                                 -0,00%
  Creations


For the case marked with *, there was no difference between the invoice and the shipping documents. We note
in the transaction with Fancy Creations, the last two whole numbers have been switched around (37 and 73).

We identified 5 transactions where the carats mentioned on the shipping document do not correspond with the
accounting data. In 3 cases, there was a deviation of 0,01 carat. For all three of these transactions, there was
also a difference noted between the invoice and the accounting data (see above).

Please find below an overview of the other two cases identified:

                                                                                                             Difference
                 Document     Document       Account        Account         Carat        Carat shipping
    Client                                                                                                   in absolute
                  number         date        number       description         GL           document
                                                                                                              numbers

    Fancy        201510044    15/04/2014      700121     Export Polished     57,21           57,12               0,09
  Creations                                                Diamonds

   Brilliant     201510253    10/09/2014      700121     Export Polished     16,08           16,80              -0,72
  Diamonds                                                 Diamonds


We note that in both cases, the decimals have been switched around.

Financial ledger

We identified one transaction where there is a difference between the amount of the invoice in the accounting
data and the amount mentioned in the financial ledger. We verified that the full amount of the invoice is
recorded in the accounts payable but only a first instalment has been paid. As such, we consider the difference
between the accounting data and the financial ledger as an outstanding payable, with an acceptable ageing of
less than 6 months.

                                                                                             Amount          Difference
                 Document    Document      Account        Account          Amount
  Supplier                                                                                  financial        in absolute
                 number         date       number       description        GL (USD)
                                                                                          ledger (USD)        numbers

      Sino       201810263   25/09/2017     600121     Import Polished     523.437,60       248.437,60       275.000,00
   Traders                                                Diamonds




3.1.2.2.3. Incomplete documents
We consider a document as incomplete when certain information is not included or when official government
approvals are missing.




Project Pietra                                                                                            31 October 2019
PwC                                                                                                                     30
    20-01054-shl         Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                     PWC Forensic Pg 32 of 107                                             Final report




Invoice

We consider the bank account of the counterparty as essential information on an invoice, as well as the name of
the counterparty, date of the document, carat and amount.

We identified 8 purchase transactions were the bank account of the counterparty is missing. Half of these
invoices were issued by Fancy Creations and the other half of these invoices was issued by Auragem Company.
Seven of these purchase invoices were dated between June 2011 and August 2011. One invoice was dated in
February 2012.

For 1 out of 4 transactions with Auragem and 1 out of 4 transactions with Fancy Creations we have received the
instruction for remittance for the Bank of India. The Company uses this document in order to instruct the bank
to perform a payment. This document contains the counterparties account number. The account number on the
remittance is the same as the account number listed on the other invoices of our selection. Further we received
the bank statements for the payments of these four transactions, which we managed to reconcile.

Customs document

For 8 transactions there is no official stamp or signature from the customs authority:

       Supplier/client     International purchase       International sale         Total amount (USD)

       Brilliant
                                     0                           5                       5.119.801,27
       Diamond

       Eternal Diamond               0                           2                       1.126.594,80

       Sunshine Gems                 1                           0                        832.218,54

       Total                         1                           5                       7.078.614,61




3.1.2.2.4. Payments in multiple instalments
We identified 82 transactions which were paid in multiple instalments. These payments in multiple instalments
originate either from one or from multiple different bank accounts utilised by the Company. Of the 82
transactions which were paid in instalments, 11 out of the 82 were sales transactions and the remaining 71 were
purchase transactions. For our analysis, we focused on the purchase transactions since the Company cannot
fully control the number of instalments used by the counterparty. Additionally, we confirmed in the financial
ledger that sales were always paid to one bank account of the Company, namely the bank account mentioned on
the invoice.




Project Pietra                                                                                         31 October 2019
PwC                                                                                                                 31
    20-01054-shl          Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                            PWC Forensic Pg 33 of 107                                          Final report




Please find below an overview of the number of transactions paid by the Company in different instalments and
how many different bank accounts were used to pay these instalments:

                                             2 instalments       3 instalments     4 instalments   Total

                     1 bank account                 17                   4              0           21

                    2 bank accounts*                37                   9              0           46

                    3 bank accounts*                 /                   3               1          4

                           Total                    54                  16               1          71


* More than one bank account from the Company is used to pay a received invoice.


The 71 purchase transactions paid in instalments represent 44% of the total purchase transactions with the 6
Hong Kong based entities. We note that the frequency of payments in instalments increased each year (except
in 2014), with a significant peak in 2016 followed by a drop in 2017 to the level of 2015. We also note that most
payments in instalments are done when conducting business with Auragem (50%), which is in line with the
total purchase transactions:

                              Year              Supplier               Payments in instalments

                              2011                                                 3

                                       Auragem                                     2

                                       Fancy Creations                             1

                              2012                                                 7

                                       Auragem                                     3

                                       Fancy Creations                             4

                              2013                                                 8

                                       Auragem                                     4

                                       Fancy Creations                             4

                              2014                                                 0

                              2015                                                 12

                                       Auragem                                     9

                                       Sunshine                                    3

                              2016                                                 30

                                       Auragem                                     18

                                       Sunshine                                    12




Project Pietra                                                                                             31 October 2019
PwC                                                                                                                     32
    20-01054-shl         Doc 56-6    Filed 10/15/20 Entered 10/15/20 22:39:07           Exhibit Ex D -
                                      PWC Forensic Pg 34 of 107                                    Final report




                           2017                                      11

                                  Sino Traders                       4

                                  Sunshine                           7


As per inquiry with representatives of the Company, we understand that payments are only made in instalments
for cash flow reasons.




Project Pietra                                                                                31 October 2019
PwC                                                                                                         33
     20-01054-shl       Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                   Exhibit Ex D -
                                        PWC Forensic Pg 35 of 107                                             Final report




3.1.3. Other trade goods transactions
We performed unpredictability testing on the remaining transactions related to trade goods to mitigate the risk
that documents were issued or created after the announcement of the allegation. One could expect that all
documents for the transactions with the 6 Hong Kong based entities are present since these are the subject of
the allegation. By performing an unpredictability test on the remaining population, we mitigate this risk if all
expected documentation for the sample are also present.

3.1.3.1. Methodology
We distinguish 4 phases in the review of the other transactions based on unpredictability:

      1.   Determine sample;

      2. Establish an expectation of the supporting documentation to receive;

      3. Review the supporting documentation and document all relevant aspects of the supporting
           documentation;

      4. Analyse the review of the supporting documentation to identify missing documents or any other trend.

Determine sample

As for the transactions with the 6 Hong Kong based entities, we selected transactions that were booked on the
purchase accounts and revenue accounts (sales). We based our selection on the 12 identified general accounts
(see below).

To determine the sample size, we refer to the commonly acknowledged accept-reject testing utilised in the
statutory audit of financial statements. Accept-reject testing is used when we are testing any attribute instead of
the monetary aspect, which is the case for this sample where we test whether certain expected documents are
present. In this case, since there is a variation the expected documentation between national and international
transactions, we verify if an invoice is present for each transaction. The invoice is the only document that
should be present for every transaction. The presence of an invoice is a non-monetary aspect.

We selected 55 items because the total population is higher than 200 items (in total 7.418 purchase and sales
transactions between 2011 and 2018) and we expect a high desired level of evidence. For our selection, please
refer to annex 7. It’s important to stress that we did not carry out anything in the nature of an audit or an
attestation as that term is defined by the IRE/IBR16. We have merely adopted the sampling techniques used to
determine our sample size.




16IBR-IRE is a mandatory membership organization for auditors and audit firms established in accordance with the
Accounting Law of 1953. IBR-IRE is a member of IFAC, Accountancy Europe and the Fédération Internationale des
Experts-Comptables Francophones.


Project Pietra                                                                                           31 October 2019
PwC                                                                                                                    34
    20-01054-shl       Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                         PWC Forensic Pg 36 of 107                                         Final report




Expected documentation

Based on our understanding of the purchase and sale process, we expect to retrieve the following information:

                                             International
                 National purchase                                     National sale            International sale
                                                purchase
                 (#600110 - #600120 -                                (#700110 - #700120 -        (#700111 - #700121 -
                                            (#600111 - #600121 -
                      #600220)                                            #700220)                    #700221)
                                                 #600221)



   Invoice                X                          X                        X                           X


  Shipping
                                                     X                                                    X
 documents

   Customs
                                                     X                                                    X
 documents


For national purchases and sales, we understand that shipping documents will not be always available. With
certain counterparties or for certain amounts, the goods are transferred in an informal way (delivered on the
spot) without any intervention of an external party transferring the goods.

Additionally, for each transaction we expect to retrieve the payment in the financial ledger.

Review supporting documentation

We reconciled each document received with the accounting data (indicated with *), where possible, and
documented relevant document information to facilitate a possible reperformance of the review.

                         Invoice                  Shipping document     Customs document         Financial ledger

 Document number                    X                                                                         X

 Counterparty*                      X                                                                         X

 Bank name                          X                                                                         X

 Date*                              X

 Amount*                            X                        X                                                X

 Carat*                             X                        X                     X


The date could only be reconciled with the invoice date as the accounting data only contains the invoice date.




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                 35
    20-01054-shl           Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                                          PWC Forensic Pg 37 of 107                                         Final report




Analysis

Our analysis is focused on four main areas, namely:

            Missing documentation: We consider a document missing when we would expect such a document
             based on our understanding of the business process;

            Inaccurate documentation: We consider a document as inaccurate when we identified a difference in
             one of the characteristics of the document compared to the accounting data received;

            Incomplete documentation: We consider a document as incomplete when certain information is not
             included or when official government approvals are missing;

            Divergent transactions: We consider a transaction as divergent when the transaction does not follow
             the same pattern as the other transactions.



3.1.3.2. Findings
We divided our findings related to the supporting documents in 3 categories, namely missing documents,
inaccurate documents and incomplete documents. Furthermore, we added two additional findings related to
the outgoing payments of the transactions as well as the off-set account in the financial ledger.

3.1.3.2.1. Missing documents
We received the corresponding invoice for 54 out of 55 additional transactions. For one transaction, we did not
receive the corresponding credit note, but we retrieved the repayment by the client.

Regarding the remaining expected documents, please refer to the table for an overview:

                                    Missing customs            Missing shipping           Missing reference
      Client/supplier
                                       document*                   documents*              financial ledger

      A. Jaffe                              0                          0                            0

      Firestar Diamond
                                            0                          0                            0
      LLC

      Firestar Diam (PTY)
                                            0                          0                            1
      Ltd.

      Firestar Diamond
                                            0                          0                            0
      Ltd. Russia

      Total                                 0                          0                            1


*For national purchases and sales, we do not expect any customs documents nor shipping documents. Based on
our understanding, it is common practise that goods are being transferred without the involvement of an
external transport service provider.




Project Pietra                                                                                          31 October 2019
PwC                                                                                                                  36
    20-01054-shl         Doc 56-6     Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                                       PWC Forensic Pg 38 of 107                                         Final report




Missing reference financial ledger

The transaction for which only the reference in the financial ledger is missing, has as document date 26
November 2012:

                                 Document    Document      Account       Account         Amount
                  Supplier
                                 number         date       number      description      GL (USD)

                 Firestar Diam                                        Import Polished
                                 201310231   26/11/2012     600121                      192.751,00
                  (PTY) LTD                                             Diamonds


The missing reference in the financial ledger implies that the outstanding payable has not been settled. We
verified in the accounting data that this amount has been booked on the accounts payable. We confirmed our
understanding that the transactions with a missing reference in the financial ledger are outstanding amounts
with Mrs. Mia Van Den Broeck, representative of Panis NV, on 3 September 2019.

3.1.3.2.2. Inaccurate documents
We consider a document as inaccurate when we identified a difference in one of the characteristics of the
document compared to the accounting data received. We did not identify any inconsistencies between the
documents received and the accounting data in our selection for unpredictability reasons.

3.1.3.2.3. Incomplete documents
We consider a document as incomplete when certain information is not included or when official government
approvals are missing.

Invoice

We consider the bank account of the counterparty as essential information on an invoice, as well as the name of
the counterparty, date of the document, carat and amount.

We identified 3 purchase transactions were the bank account of the counterparty is missing. Two of these
invoices were issued by A. Jaffe and one was issued by Almaz Juvelir Export. The 3 invoices represent a total
value of 10.277.211,58 USD.

For the invoice with Almaz Juvelir Export we have received the signed contract for the sale. The bank account
details of Almaz Juvelir Export are included in this contract.

For the invoices with A. Jaffe, we could not obtain an invoice which included the counterparty’s bank account
details. We requested any other invoice issued by A. Jaffe to check whether the bank account details on previous
or later invoices would correspond the invoice in our selection, but the Company stated that no invoice with
bank account details for A. Jaffe exist.




Project Pietra                                                                                       31 October 2019
PwC                                                                                                               37
      20-01054-shl           Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                              PWC Forensic Pg 39 of 107                                        Final report




Customs document

For 1 transaction, with Firestar Diamond LLC Armenia, there was no official stamp or signature from the
customs authority.

Customs document

For 1 transaction, with A. Jaffe, no sender details were included on the shipping document. Nevertheless, the
amount and the carat mentioned on the shipping document reconciles with the invoice and the customs
document.

3.1.3.2.4. Payments to and from Financial Diverse Ledger
We have identified 8 transactions for which we could not find a reference to a bank account in the financial
ledger for the full transaction amount or for a part of the transaction amount. Instead a reference was made to
the account #550901 ‘Fin. Diverse USD’ (Financial divers ledger USD). Based on our interview with Mrs. Mia
Van Den Broeck, accountant at Panis NV responsible for the accounting of Firestar Diamond BVBA, we can
categorize the use of this account for the selected items in the table below in the following categories17:

                      G/L
     Category                       Account description               Supplier / Client    Amount (USD)        Date
                   Account

                                                                    Firestar Diamond LLC
         1          600111          Import Rough Diamond                                    1.627.051,15    04/08/2011
                                                                           Armenia

                                                                    Firestar Diamond LTD
         1          600121        Import Polished Diamonds                                  100.000,00      01/12/2015
                                                                            Russia

                                                                    Desert Rose Diamonds
         1          600111          Import Rough Diamond                                    4.200.710,75    28/06/2017
                                                                            DMCC

         1          700111          Export Rough Diamond            Firestar Diamond FZE    8.861.938,09    13/06/2017

         2          700110           Sales Rough Diamond              N. Shah & Co BVBA     1.309.130,72    16/01/2018

         3          600110         Purchase Rough Diamond             Bonas-Couzyn NV       4.021.063,96    22/05/2013

         4          700110           Sales Rough Diamond                 Jaianco BVBA       2.190.000,00    07/01/2014

         4          700110           Sales Rough Diamond                Jaianco BVBA        2.190.000,00    07/01/2014



Category 1: Pre-payments & pro-forma invoices

The first four items in the table above are either related to a prepayment or a payment based on a pro-forma
invoice ahead of the final invoice. Either way, both processes are in line with each other. Below you can find a
schematic overview of the different steps in this booking process and how the Financial Diverse account, which
acts as a clearing account, fits into this. Note that the example below concerns a purchase, but the same vice

17   This categorization is based on the 8 transactions identified in our selection.


Project Pietra                                                                                             31 October 2019
PwC                                                                                                                     38
    20-01054-shl            Doc 56-6    Filed 10/15/20 Entered 10/15/20 22:39:07             Exhibit Ex D -
                                         PWC Forensic Pg 40 of 107                                        Final report




versa logic holds for a sale in which the Company receives the prepayment or receives the payment against pro-
forma invoices.

Desert Rose Diamonds DMCC

The Company made prepayments (step 1, 2, 3 on the below scheme) on three different dates before an invoice
was received. At the time of receipt on the bank account, these payments cannot yet be matched to an invoice,
so they are debited from the client’s supplier balance (decreasing the amount payable) and recorded in the
financial diverse ledger which acts as a suspense account.

The accountant booked on 5 July 2017 (4) the received invoice (document date 2 June 2017) on the balance
sheet by crediting ‘#440000 – Suppliers’ (increasing the amount payable) and, in the P&L statement, by
debiting ‘#600111 – Import Rough Diamonds’ (recognizing the cost). The accountant booked on 6 July 2017 (5)
the second invoice (document date 28 June 2017) in the same way.

The Company paid the remaining amount for the received invoices on 21 and 26 June 2017. By making the
payments (6) and (7), the balance on ‘#440000 – Suppliers’ further decreases to zero, however the invoices are
not yet matched against the prepayments received.

The accountant then performs bookings (8) & (9) at the same time to check off the open invoices against the
unmatched payments for the month end closing. The result is a decrease on the bank accounts of 4.606.929,01
USD (of which 1.000.000 USD from the Bank of India account and 3.606.929,01 USD from the State Bank of
India account) and an equal increase on the purchase account.


                 440000 - Suppliers                                          55 - Bank account
   900.000,00         (1)                                                               900.000,00        (1)
   600.000,00        (2)                                                                600.000,00        (2)
   1.200.000,00       (3)                                                              1.200.000,00       (3)
                               406.218,26    (4)                                        906.929,01        (6)
                              4.200.710,75   (5)                                       1.000.000,00       (7)
   1.000.000,00      (6)                                          0,00           DT    4.606.929,01       CT
    906.929,01        (7)
                               900.000,00    (8)                  600111 - Import Rough Diamonds
                               600.000,00    (8)                406.218,26       (4)
                              1.200.000,00   (8)              4.200.710,75       (5)
    406.218,26       (9)                                     4.606.929,01        DT        0,00           CT
   2.293.781,74      (9)
       0,00          DT          0,00        CT                        550901 - Fin. Diverse US
                                                             2.700.000,00        (8)   2.700.000,00       (9)
                                                                  0,00           DT        0,00           CT




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                39
    20-01054-shl            Doc 56-6     Filed 10/15/20 Entered 10/15/20 22:39:07             Exhibit Ex D -
                                          PWC Forensic Pg 41 of 107                                       Final report




Category 2: Doubtful debtor – N. Shah & Co

For one transaction, we understand that the Company transferred the outstanding balance to the doubtful
debtor account on 14 March 2018. The Company booked the transfer of the outstanding receivable which
consisted of 5 invoices to the financial ledger (booking 1). Booking 2 was used to transfer the outstanding
balance to ‘#407010 - Doubtful debtor: N. Shah & Co’.

We confirmed that the full outstanding balance of N. Shah & Co was transferred to the doubtful debtors.

                  400000 - Clients                             407010 - Doubtful debtor: N. Shah & Co
                              1.648.081,42                     6.662.791,69     (2)
                              1.230.360,93
                               1.473.072,17   (1)
                              1.002.146,45
                              1.309.130,72
       0,00          DT       6.662.791,69    CT              6.662.791,69      DT         0,00           CT


             550901 - Fin. Diverse US
   6.662.791,69       (1)     6.662.791,69    (2)
       0,00          DT           0,00        CT




Category 3: Late invoice – Bonas Couzyn

On 17 June 2013 the accountant books the invoice (1) from Bonas Couzyn. A day later, on 18 June 2013, a credit
note (2) is booked for which there is no matching invoice. Then, on 21 June 2013 when the external accountant
performs the review of the bank statements, a payment (3) is recorded which cannot be matched to an invoice.
On 17 July 2013 the original invoice (4) dated 22 May 2013 is delivered to the accountant and booked into the
system. This invoice was delivered late to the accountant hence a credit note was accounted for before the
invoice was recorded. To check off the payment (3) and the invoice (4), bookings (5) and (6) are performed
against the Financial Diverse ledger. Lastly, the accountant records the payment (7) of invoice (1) the
repayment (8) of the credit note (2). In the accounting we see two difference transactions while in fact these
amounts were cleared against each other and the difference of 276.356,01 USD was paid back to the Company.




Project Pietra                                                                                      31 October 2019
PwC                                                                                                                40
    20-01054-shl            Doc 56-6    Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                                         PWC Forensic Pg 42 of 107                                         Final report




                 55 - Bank account
                              4.021.063,96   (3)
                              3.744.707,95   (7)                        550901 - Fin. Diverse US
   4.021.063,96      (8)                                       4.021.063,96     (6)     4.021.063,96       (5)
       0,00          DT       3.744.707,95   CT


                 440000 - Supplier                                 0,00         DT         0,00            CT
                              3.744.707,95   (1)
   4.021.063,96      (2)                                          600110 - Purchase Rough Diamond
   4.021.063,96      (3)                                       3.744.707,95     (1)
                              4.021.063,96   (4)                                        4.021.063,96       (2)
   4.021.063,96      (5)                                       4.021.063,96     (4)
                              4.021.063,96   (6)               3.744.707,95     DT         0,00            CT
   3.744.707,95      (7)
                              4.021.063,96   (8)
       0,00          DT          0,00        CT




Category 4: Erroneous posting – Jaianco

Two of the items relate to an erroneous entry (1) by the accountant at Panis NV. Due to a manual error, an
additional zero was written (2.190.000 instead of 219.000). When the accountant reviewed the bank statements
she noted that they received a payment (2) which did not correspond to the invoice posted and realised that
there was an error. The erroneous entry (1) was corrected by the entry (4). Following this, entry (5) was made to
the Financial Diverse ledger to clear the corrected invoice (3) against the payment (2) which could initially not
be matched and to clear the correcting entry (5).

                 55 - Bank account                                      550901 - Fin. Diverse US
    219.000,00       (2)                                           0,00         (5)
                                                                                           0,00            (5)


   219.000,00        DT          0,00        CT                    0,00         DT         0,00            CT


                  400000 - Clients                                   700110 - Sale Rough Diamond
   2.190.000,00       (1)                                                              2.190.000,00        (1)
                               219.000,00    (2)                                        219.000,00         (3)
    219.000,00       (3)                                       2.190.000,00     (4)
                              2.190.000,00   (4)
                              1.971.000,00   (5)
                               219.000,00    (5)
   2.190.000,00      (5)
       0,00          DT          0,00        CT                    0,00         DT     219.000,00          CT



Project Pietra                                                                                         31 October 2019
PwC                                                                                                                 41
    20-01054-shl          Doc 56-6           Filed 10/15/20 Entered 10/15/20 22:39:07                     Exhibit Ex D -
                                              PWC Forensic Pg 43 of 107                                                Final report




3.1.3.2.5. Payments in multiple instalments
We identified 21 transactions which were paid in multiple instalments, of which 10 were sales transactions and
11 were purchase transactions. For our analysis, we focus on the purchase transactions since the Company
cannot fully control the number of instalments used by the counterparty. However, we noted that one invoice
was paid in multiple instalments on three different bank accounts, while the invoice only mentions 1 bank
account. For the details of this transaction, please refer below:

                                   Document          Document        Account         Account         Amount
                    Client
                                     number             date         number        description      GL (USD)

                 ARC Trading                                                       Sales Polished
                                    201200251        03/11/2011       700120                        1.870.837,57
                     BVBA                                                           Diamonds


Please find below an overview of the number of transactions paid in different instalments and how many
different bank accounts were used to pay these instalments:

                     2 instalments       3 instalments         4 instalments       5 instalments     6 instalments        Total

      1 bank
                             1                   0                    1                   0                 0               2
      account

      2 bank
                             3                   3                    1                   0                 0                7
    accounts*

      3 bank
                             /                   1                    0                   0                 1               2
    accounts*

       Total                 4                   4                    2                   0                 1               11


* More than one bank account from the Company is used to pay a received invoice.


The Company paid the following counterparties in our selection in multiple instalments:

                                                                          # transactions paid
                                               Supplier
                                                                            in instalments

                                  A. Jaffe                                          1

                                  Desert Rose Diamonds DMCC                         2

                                  Firestar Diamond LLC Armenia                      1

                                  M.S.D. NV                                         1

                                  Nipur BVBA                                        3

                                  Pacific Diamonds FZE                              1

                                  Simply Sparkling BVBA                             1

                                  Tri Color Gems FZE                                1



Project Pietra                                                                                                     31 October 2019
PwC                                                                                                                              42
    20-01054-shl         Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07               Exhibit Ex D -
                                        PWC Forensic Pg 44 of 107                                           Final report




                               Total                                     11


As per inquiry with representatives of the Company, we understand that payments are only made in instalments
for cash flow reasons.

3.1.3.3. Conclusion unpredictability testing
Our findings related to the 55 other trade goods transactions as part of our unpredictability procedure are in
line with our findings related to the transactions with the 6 Hong Kong entities. This implies that we have no
indications that the Company created the supporting documentation for the transactions with the 6 Hong Kong
entities ex-post. As such, we have no indication that the selected transactions with other supplier and clients are
not genuine.

3.1.4. Operational expenses
We assessed whether any funds have been siphoned off from the Belgian BVBA to bank accounts related to
Neeshal Modi through the operational expenses. The operational expenses have a higher inherent risk to be
used in fraudulent transactions due to the nature of these expenses and can be used to siphon off funds to
personal accounts.

3.1.4.1. Methodology
In first instance, we identified the operating expenses in the accounting data received. The accounting data is
structured according the Belgian General Accepted Accounting Principles (hereinafter “BGAAP”). In BGAAP,
the operating expenses are booked under the general ledger accounts starting with #61. We consider all #61
accounts as the total population for operating expenses.

We performed two risk-based checks in order to verify the business rationale behind the operating expenses:

         We compared the suppliers mentioned as supplier (‘Leveranciernaam’) with the general list of suppliers
          received from the external accountant Panis NV. In case the supplier in the accounting data was not
          mentioned on the general list of suppliers, we further investigated;

         We verified the suppliers who invoiced more than 35.000 EUR (accumulated over the period 2011-
          2018). We compared the nature of the supplier based on open sources research with the type of cost
          that was booked in the accounting data. In case we could not verify the business rationale behind the
          transactions with a supplier, we further investigated and requested invoices on a sample basis.

For operating expenses, we requested in any case the invoice and any additional documentation to verify the
business rationale behind the operation expenses. This could be, but is not limited to:

         For consultancy services: Contract, statement of work, deliverable;

         Transportation costs: Contract, shipping documents, delivery note;




Project Pietra                                                                                       31 October 2019
PwC                                                                                                                  43
    20-01054-shl         Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07             Exhibit Ex D -
                                         PWC Forensic Pg 45 of 107                                      Final report




         Utility services (telephone, internet, electricity, etc.): Contract.

3.1.4.2. Findings
3.1.4.2.1. Dianet
We identified 13 transactions related to the company Dianet BVBA for a total value of 102.667,87 EUR between
April 2012 and October 2012. The 13 invoices sent by Dianet BVBA are related to a large variation of services:

      -   Accounting fees;

      -   Security & safety expenses;

      -   Maintenance & repair computers;

      -   Transportation expenses;

      -   Travel expenses;

      -   Audit fees;

      -   Telephone expenses;

      -   Insurance expenses;

      -   Rent expenses.

As per inquiry with Neeshal Modi, we understand that Dianet BVBA was founded in 2012 as a partnership
between the Company and Firestar-ARC BVBA, where Neeshal Modi was also appointed as director. According
to Neeshal Modi, Dianet BVBA was led by Barak Levy and the entity was used as an additional distribution
channel for polished diamonds. The expenses incurred at Dianet BVBA were split between the two partners and
charged accordingly. The applied split between the two partners is unknown.

Based on the annual accounts available on the portal of the National Bank of Belgium and the publications in
the Belgian Gazette, we confirmed the following:

      -   Dianet was founded on 30 November 2010 by Firestone – ARC, represented by its fixed representatives
          Neeshal Modi and Sascha Daskal and by Barak Levy;

      -   The entity published its first annual accounts in 2012 for the period between 1 April 2012 and 31 March
          2013;

      -   The entity was dissolved on 24 June 2013.

For 8 out of 13 transactions that were grouped in one invoice from Dianet BVBA towards the Company, we have
reviewed the underlying invoices. For the remaining 5 transactions, we did not receive any additional
documentation. These transactions were related to rent expenses (4 transactions) and travel expenses (1
transaction).




Project Pietra                                                                                      31 October 2019
PwC                                                                                                              44
    20-01054-shl       Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                       PWC Forensic Pg 46 of 107                                           Final report




3.1.4.2.2. Hrishee Management Consultancy F.Z.E.
We identified 2 transactions related to the company Hrishee Management Consultancy F.Z.E. for management
consultancy fees for a total value of 120.000 USD in February 2018. We did not receive any other supporting
documents such as a contract, statement of work nor deliverable.

As per inquiry with Neeshal Modi, we understand that no concrete services were provided by Hrishee
Management Consultancy F.Z.E. According to Neeshal Modi, the necessary steps are being taken to recover this
amount from this supplier. The lawyer of Neeshal Modi, Kjell Swartele, confirmed that the process to recover
these funds from Hrishee Management has been initiated. We received the formal notice dated 26 August 2019
from the curator, where she requests the supplier Hrishee Management for a copy of the contract as well as a
detailed overview of any action the supplier executed on behalf of the Company. Upon this date, the supplier
Hrishee Management did not provide any response.

3.1.4.2.3. I-Way
We identified 46 transactions related to the company I-Way for a variety of IT services for a total amount of
34.721,34 EUR between August 2011 and January 2017. We selected 3 invoices to review the supporting
documentation such as the invoice, contract and warranty documents.

For all 3 transactions, we only received the invoice. Two of these transactions were related to the purchase of
hardware (key board, mouse and television), one transaction was related to a yearly maintenance contract for
international support & consultancy.

The entity I-Way Computers with the same address as the mentioned on the invoice of I-Way has been declared
bankrupt on 21 February 2017. Additionally, I-Way has the same address mentioned on the invoice as Terminal
Session BVBA (see below).

3.1.4.2.4. Terminal Session BVBA
We identified 31 transactions related to the company Terminal Session BVBA for a variety of IT services for a
total amount of 59.824,39 EUR between March 2017 and March 2018. We selected 3 transactions where we
reviewed the supporting documentation such as the invoice and contract.

For each transaction selected, we received the invoice and a description of the work performed. For 1
transaction, we identified a difference between the amount in the accounting data and the amount on the
invoice. We understand that this difference is due to the fact that the invoice is split over two operational
expense accounts. The difference on the invoice was traced to account “#612600 – Bureelbenodigdheden”
which is the expense account for office supplies. Additionally, we also obtained the bank statement showing the
payment of the full invoice.

Terminal Session BVBA has the same address mentioned on the invoice as I-Way (see above). The transactions
with Terminal Session BVBA started (first transaction is 20 March 2017) after the (possible) bankruptcy of I-
Way Computers.




Project Pietra                                                                                        31 October 2019
PwC                                                                                                                 45
    20-01054-shl      Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                      PWC Forensic Pg 47 of 107                                         Final report




3.1.4.2.5. Firestar Diamond Intl. Inc.
We identified 3 transactions related to the company Firestar Diamond Intl. Inc. for both transportation
expenses and commission, with a total value of 101.514,69 USD between March 2013 and April 2017. One
transaction is registered in the accounting data as zero USD.

We selected the remaining two transactions for review and requested the invoice as well as any other
supporting document. We received two invoices for a total amount of 105.028,94 USD. One invoice for an
amount of 90.527,00 USD listed as description ‘Commission Income’. We did not receive any further written
detail what the commission income constitutes.

The second invoice concerns expenses related to transportation, diamond cutting and certification according to
the Company. We traced the amount related to transportation to the accounting figures without any difference.

3.1.4.2.6. Firestar International Pvt. Ltd.
We identified 1 transaction related to the company Firestar Diamond PVT Ltd. related to business support
services for a total amount of 186.588 USD in April 2017. We selected this transaction for review and requested
the invoice as well as any other supporting document. We did not receive any other supporting document
except the invoice. The invoice reviewed did not have any payment details. The Company states that this invoice
relates to services provided by Firestar Diamond International regarding back-office and other group-related
matters.

3.1.4.2.7. Transservice
We identified 21 transactions related to the company Transservice related to transportation costs for a total
amount of 43.537,07 USD between August 2011 and May 2015. We selected 3 transactions where we reviewed
the supporting documentation such as the invoice and shipping documents.

For each transaction we received the invoice and the underlying documentation for the shipped goods (supplier
invoice, Kimberly certificate, customs documents and delivery document). We did not identify any differences
between the accounting figures and the supporting documentation. Additionally, we traced the supplier
invoices to the Companies’ accounting figures without any differences.




Project Pietra                                                                                      31 October 2019
PwC                                                                                                              46
    20-01054-shl       Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                        PWC Forensic Pg 48 of 107                                          Final report




3.2. Review information allegation file
We understand from the allegation file that the Company is allegedly used in a money-laundering scheme. The
suspicious transactions mentioned by the prosecutor relate to transactions between the Company and the 6
above mentioned Hong Kong based entities. We verified if the information included in the allegation file
corresponds with the accounting data received from the external provider Panis NV as well as the supporting
documents of all transactions mentioned in the allegation file with these 6 Hong Kong based entities.

3.2.1. Reconciliation accounting
We reconciled the accounting data with the allegation file in two directions. First, we reconciled the
transactions identified in the accounting data with the information retrieved in the allegation file (see annex 8
for the extract of the allegation file). Secondly, we reconciled the transactions mentioned in the allegation file
with the accounting data.

3.2.1.1. Methodology
We extracted all purchase and sales transactions with the 6 Hong Kong entities as mentioned above from the
accounting data based on the fields customer name (‘Klantnaam’) and supplier name (‘Leveranciernaam’) for
the counterparty and on the field general ledger account (‘Grootboekrekening’) for the relevant general ledger
account. We applied the same methodology to identify the transactions as mentioned in chapter 3.1.2.1
Methodology – identification.

We reconciled the accounting data with the allegation file in two directions. First, we reconciled the
transactions identified in the accounting data with the information retrieved in the allegation file. By doing this,
we can identify transactions that are included in the accounting data but not in the allegation file (missing
transactions) or transactions where a different amount is recorded (inaccurate transactions).

Secondly, we reconciled the transactions mentioned in the allegation file with the accounting data. By doing
this, we can identify transactions that are included in the allegation file but not in the accounting data (missing
transactions). The transactions where a different amount is recorded is covered by the first reconciliation.

3.2.1.2. Findings
We identified one transaction that was included in the accounting data but not in the allegation file and two
transactions where we identified a different amount. The rest of the transactions with the 6 Hong Kong based
entities were correctly included in the allegation file.




Project Pietra                                                                                         31 October 2019
PwC                                                                                                                  47
      20-01054-shl         Doc 56-6     Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                         PWC Forensic Pg 49 of 107                                             Final report




3.2.1.2.1. Missing transaction
For the company Eternal Diamonds Corp. Ltd., we identified one transaction in the accounting data that was
not included in the allegation file:

     Document       Document          Account                                              Amount
                                                    Account description        Carat
      number              date        number                                                (USD)

     201310431      15/02/2013         700121      Export Polished Diamonds    42,61       637.436,11


During our transaction review, we retrieved the invoice, customs document and shipping documents for this
transaction. However, the invoice was never paid by the counterparty but, according to the accounting data, the
shipment was stolen during the armed heist at Brussels airport on 18 February 201318. In the accounting data,
we identified that the Company was paid back by the insurance company on 28 February 2013, registered as an
exceptional revenue. We confirmed the above with Neeshal Modi on 27 August 2019.

3.2.1.2.2. Inaccurate transaction
For both the company Eternal Diamonds Corp. Ltd. and Brilliant Diamonds Ltd., we identified 1 transaction
where there was a different amount between the accounting data and the information included in the allegation
file:

                                                                                              Amount
                 Document        Document       Account       Account         Amount
      Client                                                                                 allegation       Difference
                   number          date         number      description       GL (USD)
                                                                                             file (USD)

     Brilliant                                             Export Polished
                  201310118      08/08/2012     700121                        243.334,85      243.331,85          3,00
     Diamonds                                                Diamonds

      Eternal                                              Export Polished
                  201410075      14/05/2013     700121                        777.268,31      777.268,30          0,01
     Diamonds                                                Diamonds


We investigated the first difference, and this is due to bank charges. We identified the same difference during
our reconciliation with the financial ledger. The second difference, we consider a rounding error which needs no
further investigation.

3.2.2. Review supporting documents
Since we selected all the transactions with the 6 Hong Kong based entities mentioned above, we also reviewed
all the available supporting documents for these transactions. Since the accounting data reconciles with the
allegation file, expect 3 transactions, we also reviewed the supporting documents for the transactions included
in the allegation file.

Please refer to our findings in chapter 3.1.2.2.




18   https://www.theguardian.com/world/2013/feb/19/diamond-robbery-brussels-airport-plane


Project Pietra                                                                                             31 October 2019
PwC                                                                                                                      48
    20-01054-shl           Doc 56-6    Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                        PWC Forensic Pg 50 of 107                                            Final report




3.3. Review outgoing payments
We based our review on the financial ledger data from Firestar BVBA from 2011 to 2018. The focus of the review
was to identify and verify outgoing payments which were subject to a higher risk of siphoning off money for
personal use.

3.3.1. Data sources
We received the financial ledgers in Microsoft Excel format on Thursday 29 August 2019 from the external
accountant Panis NV. We received all 133 files via email from Mia Van Den Broeck, an employee at Panis NV.

3.3.2. Methodology
We consolidated the data from the 133 files using an Excel query to increase the efficiency of our review. We
developed a risk-based approach and scrutinized the financial ledger based on a list of risks. Our analysis was
focused on the following four areas:

      1.   We investigated whether all the suppliers to whom payments were made, were also present in the list of
           suppliers we obtained from Panis NV.

      2. We looked for payments made to Firestar ARC BVBA, a company in which Neeshal Modi held a
           directorship position. Neeshal Modi has confirmed this directorship during our interview with him on
           27 June 2019.

      3. Based on the account descriptions and the transaction descriptions we found in the financial ledger, we
           searched for personal expenses of Neeshal Modi paid by the Company.

      4. We looked into the petty cash accounts and investigated all cash payments with a nominal value larger
           then USD 2.000.

3.3.3. Findings
3.3.3.1. Suppliers not in the supplier list
We listed all the suppliers that we identified in the financial ledger and checked this list against the supplier list
obtained from the external accountant. We identified fifteen suppliers for which no exact reference was found
in the supplier list. In other words, these 15 suppliers were included in the financial ledger as counterparty but
are not mentioned on the list received from the external accountant. Of these fifteen, fourteen suppliers could
be manually traced to the list due to small spelling differences (e.g. inclusion on ‘BVBA’ in the name) or a
Google search confirming that the supplier changed its name. For one supplier, R. Steinmetz & Sons NV we
could not find such direct link. The total amount paid to this supplier was 1.083.653,40 EUR.




Project Pietra                                                                                          31 October 2019
PwC                                                                                                                   49
    20-01054-shl      Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                 Exhibit Ex D -
                                     PWC Forensic Pg 51 of 107                                         Final report




3.3.3.2. Payments to Firestar ARC
From the financial ledger we obtained an overview of the payments made to Firestar ARC BVBA. Neeshal Modi
held a position as director from 1 April 2010 in Firestar ARC BVBA until it was dissolved on 3 September 2013.
Please find below an overview of the outgoing payments towards Firestar ARC during the period that Neeshal
Modi was director:

                                       Year              Amount (EUR)

                                       2011               9.854.872,18

                                       2012               7.771.011,63

                                       2013                245.200,18

                                       Total             17.871.083,99


Since these concern national purchases, a shipping and customs document is not expected. As such, for these
transactions we cannot confirm that a physical transfer of trade good occurred. From Neeshal Modi we
understand that Firestar ARC BVBA was a joint-venture to develop business in Russia in cooperation with
Sascha Daskal.

3.3.3.3. Payments related to personal expenses
In the period from 1 April 2011 to 31 March 2018 we identified that 126 payments relating to personal expenses
were made. We identified these personal expenses on account #483002 – LR MODI NEESHAL. The total
outgoing payments for personal expenses amount to 127.181,60 EUR up until 13 December 2017. Please find
below an overview of all incoming and outgoing payments related to the personal expenses of Neeshal Modi (in
EUR):

                                         Cumulative             Outgoing       Cumulative
                 Incoming amount                                                                 Net amount
      Year                            incoming amount           amount       outgoing amount
                      (EUR)                                                                        (EUR)
                                           (EUR)                 (EUR)            (EUR)
      2011           2.987,98              2.987,98                0,00           0,00             2.987,98
      2012           3.588,17                 6.576,15            380,63         380,63            6.195,52
      2013           5.213,82              11.789,97             7.700,00        8.080,63          3.709,34
      2014           26.291,63             38.081,59             7.103,84       15.184,47         22.897,12
      2015           25.151,15             63.232,75               0,00         15.184,47         48.048,28
      2016           22.007,70             85.240,44             9.500,00       24.684,47         60.555,97
      2017           41.941,15            127.181,60            238.299,67      262.984,14       -135.802,54
      2018           2.343,04             129.524,64             5.136,88       268.121,03       -138.596,39




Project Pietra                                                                                    31 October 2019
PwC                                                                                                             50
     20-01054-shl       Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                         PWC Forensic Pg 52 of 107                                                Final report




Please find below an overview of the 8 largest categories of personal expenses:

                                                 Year              Amount (EUR)
                                                Xerius19              43.968,06
                                             Personal taxes           38.223,88
                                               Clothing20             19.376,43
                                          Travel (Zest tours)21       18.421,84
                                            Driving school             2.205,01
                                                Amazon                 1.943,48
                                               Telenet22               2.113,46
                                               Mutuality               1.300,69


An (interest-free) overdraft position on the current account gives rise to a taxable benefit in kind for the
manager. As is required by Belgian tax law, KB/WIB 92 (Art. 18), a debit interest rate is charged on such
interest free loans to company directors. For fiscal year 2018 this rate is 8,94%23. We identified an incoming
payment on 13 December 2017 for 238.299,67 EUR. The description of this transaction is ‘Reimbursement
personal expenses’ in the financial ledger. Neeshal Modi confirmed on 3 September 2019 that he paid back the
entity for his personal expenses. Based on the work we performed within the scope of our audit, we did not
identify any indication that funds were transferred to Neeshal Modi’s personal account.

3.3.3.4. Cash payments
We have investigated the outgoing cash payments which are booked on the petty cash accounts (#570500 –
EUR and #570510). We scrutinized all outgoing payments booked on these accounts with a nominal greater or
equal to 2.000 USD. Please refer to the following overview of all the outgoing transfers:

                                 Account       Amount (EUR)           Of which > 2.000 EUR
                              570500 - EUR         171.985,80               139,948,59
                              570510 - USD           700,00                    0,00

Please find below an overview of the accounts against which the outgoing cash were debited:

                    Account                 Account description                      Amount EUR
                     580000             Internal Transfers of Funds                      123.939,00
                                        Deposit Antwerp Diamond Bank                      78.939,00
                                            Deposit Bank Van Breda                       45.000,00
                     440000                        Suppliers                             12.855,49
                                          Argentor Essayeurs      BVBA24                  8.312,71
                                                   Obumex25                               3.978,01
                                                     Other                                 564,77
                     614200                    Hotel Expenses                             3.718,86
                                              Connaught London                            3.718,86

19 Xerius is provider for social security obligations for self-employed individuals.
20 The following stores were identified: Armani, Fratelli Rosetti, Verso, Barneys, Stylebop & Orlebar Brown
21 Zest Tours is a travel agency based in India.
22 Telenet is a provider for internet, telephone and television services.
23 http://www.bibf.be/Index.asp?Idx=1784
24 Argentor Essayeurs trades in precious metals (buying precious scraps as well as coins and bars).
25 Obumex is a high-end kitchen manufacturer.




Project Pietra                                                                                                31 October 2019
PwC                                                                                                                        51
    20-01054-shl      Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                     PWC Forensic Pg 53 of 107                                         Final report




We note that the largest part (148.652,23 USD) relates to internal transfers of funds. To our understanding, the
account #580000 – ‘Internal Transfer of funds’ is used as a suspense account when funds are transferred from
one bank account to the another or from cash to a bank account and vice versa. Further we note that cash
payments are used for supplier payments and the payments of operational expenses which include amongst
others travel and restaurant expenses, business presents and office repairs and supplies. We also note that no
cash payments are used in transactions related to the diamond trading business. This was also confirmed
during our interview with Mia Van Den Broeck, accountant at Panis NV.

3.3.3.5. Conclusion
Relying on our risk-based work performed on outgoing payments, we did not identify any indication that fund
transfers occurred to Neeshal Modi’s personal bank account, nor that any amount is due by Neeshal Modi to
Firestar Diamond BVBA on the current account he held within the Company.




Project Pietra                                                                                     31 October 2019
PwC                                                                                                              52
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 54 of 107                          Final report




Appendices
A.1. Judgment Commercial Court Antwerp – Bankruptcy




Project Pietra                                                                31 October 2019
PwC                                                                                        53
 20-01054-shl            Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07          Exhibit Ex D -
                                          PWC Forensic Pg 55 of 107




                                         lssue
     Judgement number                     lssued to                    lssued to   lssued to




     Register number

     (A2Aoo) 3         8OO                on                           on          on
                                          €              in debit      €           €
     Judgement date                       BUR                          BUR         BUR


     L9/03/20L8
                                         Legal matters
     Case Number                          DEFENCE filed on:

                                          AR no.:
    ^/Lg/oLeso                            Judgement on defence dated

                                          NOTICE 0F APPEAL filed on:
                Not to be presented to
                the recipient             Back on:




         Bankruptcy file                 Commerclal Court
             20r80283
                                         ANTWERP,
                                         SECt¡on ANTWERP

Presented on                             Judgement
Not to be registered                     22" Chamber




                                                                                                     I
20-01054-shl   Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                               PWC Forensic Pg 56 of 107

        Commercial Court of ANTWERP, section ANTWERP - A/18/01850 - p.2




        Re




       FIRESTAR DIAMOND BVBA, with its registered office at 2018 Antwerp 1,
       HOVENIERSSTRAAT 30/119, company number: 0817.647.147; nature of trading activities:
       wholesale in diamonds and other precious stones.


       The debtor concerned submitted a declaration on the cessation of payments on 16.03.2018, as
       is evident from the Declaration filed with the Court Registrar.

       The Court has jurisdiction to open insolvency proceedings pursuant to article 3, (1) of
       Regulation 20151848 of the European Parliament and of the Council of 20 May 2015 on
       insolvency proceedings, since the centre of Firestar Diamond BVBA's main interests falls under
       Antwerp, according to its Declaration of cessation of payments here, and the public data known
       to the Court.

       The filed Declaration and attached documents indicate that the debtor concerned has ceased
       all payments on a permanent basis, and the credit line has been cancelled, so the debtor
       concerned is essentially bankrupt.

       According to the Declaration, the date of cessation of payments can be set on 1910312018,
       subject to changes in application of art. 12 S 2 of the Bankruptcy Act.

       DECISION:


       Following deliberation, the Court:

       The administration of Justice was carried out in accordance with the law of 15 June 1935 on
       language use in judicial affairs.



       Declares FIRESTAR DIAMOND BVBA, with its registered office at 2018 ANTWERPEN 1,
       HOVENIERSSTAAT 30/1 19, company number: 0817.647.147; nature of trading business
       wholesale in diamonds and other precious stones, bankrupt.

       Sets the time of cessation of payments in this bankruptcy on 1910312018.

       Appoints as receiver, Mr. JAN LANGENUS, judge in commercial matters,
       and as liquidators:

       Mr. VAN CAMP EDDY, office holding in 2018 ANTWERPEN          l,   MOLENSTRAAT 52-54
       Mr. MERTENS ILSE, office holding in 2018 ANTWERPEN 1, MOLENSTRAAT 52-54




                                                                                                        2
20-01054-shl     Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                    Exhibit Ex D -
                                   PWC Forensic Pg 57 of 107

       Commercial Court of ANTWERP, section ANTWERP - A/18/01850 - p. 3




       Recommends that an inventory of the goods be drawn up immediately, under supervision
       of the court-appointed receiver.

       Recommends that the bankrupt party's creditors should file their declaration of claim in the
       Central Solvency Register, no later than 1910412018.

       Orders the liquidator of this bankruptcy to file the first official report of verification of claims in
       the Central Solvency Register on l8/05/2018.

       States that the persons who have accepted to personally act as guarantor (including the
       persons who stand as surety) for the debtor in bankruptcy, can file a declaration with the
       Court Registrar.

       Orders that this judgement be published by the Registrar as an extract in the Belgian Official
       Gazette within five days from this date, and that the publication by the liquidator will appear in
       "De Nieuwe Gazet" (= regional Edition of slsfer newsp aper Het Laatste Nieuws) and "Het
       Nieuwsblad", within the same term:


       Authorizes the liquidator to open a bank account at a private bank, and to deposit a maximum
       amount of 2,500.00 euro;

       Authorizes the liquidator to appoint a social auditor if there are employees employed on the
       date of the bankruptcy;

       Orders that the costs shall be borne by the estate of the bankruptcy.

       Thus handed down by the      22nd chamber of       the Commercial Court of Antwerp, section ANTWERP,
       composed of:

        T. COLE, Judge, President of the Chamber
        L. HUYGHE, Judge in commercialcases,
        F. VAN DEN BERGH, Judge in commercialcases,
        N. NAELAERTS, Registrar,

       and handed down in an extraordinary open session of the same chamber on Monday
       1910312018 by T. COLE, Judge, President of the Chamber, assisted by N. NAELAERTS,
       Registrar,




               [signature ill.]        [signature ill.]             [signature ill.]       [signature ill.]
               N. /VAELAERIS           FVAN DEN BERGH                L. HUYGHE             T, COLE


               Voor de beëdigde vertaling van het Nederlands naar het Engels, mevr. Zhivka Vasileva.

               Brussel, 27 maart2018



                                                                                                                 3
                                                                      7-2
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 58 of 107                          Final report




A.2. Communication Figurad Bedrijfsrevisoren BVBA




Project Pietra                                                                31 October 2019
PwC                                                                                        54
        20-01054-shl      Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07               Exhibit Ex D -
                                         PWC Forensic Pg 59 of 107

                                                                         Jelle Santens (BE) <jelle.santens@pwc.com>



RE: Meeting Firestar Diamond BVBA
1 message

Tim Van Hullebusch | FIGURAD <Tim.VanHullebusch@figurad.be>                              19 June 2019 at 12:58
To: "Jelle Santens (BE)" <jelle.santens@pwc.com>
Cc: Karla Bemelmans <karla.bemelmans@pwc.com>, Ann Van Vlaenderen | FIGURAD <ann.vanvlaenderen@figurad.be>


 Geachte heer,



 In navolging van ons telefonisch onderhoud en uw onderstaande vraag, zoals besproken hebben wij in eerste
 instan e nagegaan in welke mate wij deontologisch gezien mogen ingaan op uw vraag.



 Wij verwijzen hiertoe naar het advies van het ICCI opgenomen in bijlage (beroepsgeheim van de bedrijfsrevisor t.a.v.
 de curator). Wij zijn de mening toegedaan dat de gegevens welke u wenst te verkrijgen m.b.t. het aankoop- en
 verkoopproces ook deel uitmaken van ons auditdossier en bijgevolg niet kunnen beschouwd worden als publieke
 gegevens. Hierdoor vallen deze gegevens ook onder de toepassing van ons beroepsgeheim waardoor wij niet in de
 mogelijkheid verkeren om op uw vraag in te gaan.



 Op basis van een ander advies van het ICCI (beroepsgeheim van de bedrijfsrevisor tav gerechtsdeskundige) stellen we
 vast dat een eventueel akkoord van de curator of de voormalige zaakvoerder hier geen oplossing voor vormt.



 Wij raden u dan ook aan om contact op te nemen met de voormalige zaakvoeder, de heer Neeshal Modi, die in eerste
 instan e ook verantwoordelijk was voor de opzet van het aankoop- en verkoopproces en bijgevolg het best geplaatst
 is om op uw vragen een antwoord te bieden.




  Met vriendelijke groeten,




  Tim Van Hullebusch

  FIGURAD BEDRIJFSREVISOREN

  J-B de Ghellincklaan 21, 9051 GENT

  T ++32 (0)9 243 60 20 / Fax +32 (0)9 221 12 75



  www.figurad.be
         20-01054-shl                 Doc 56-6              Filed 10/15/20 Entered 10/15/20 22:39:07 Exhibit Ex D -
 Figurad is lid van BKR Interna
                                                              PWC Forensic Pg 60 of 107
                                  onal, één van de top 10 globale accoun ng en audit associa es die meer dan 160 ona ankelijke accoun ng

 en audit ﬁrma’s in 500 kantoren en 80 landen vertegenwoordigt. www.bkr.com of www.bkremea.com




 Dit bericht werd gescand op virussen en werd verzonden door FIGURAD Bedrijfsrevisoren. De verzonden informa e is enkel bestemd voor de persoon of
 en teit aan wie het geadresseerd is en anderen die toestemming hebben deze te mogen ontvangen. Dit bericht kan vertrouwelijke of geprivilegieerde
 informa e beva en. Als u niet de beoogde ontvanger bent, wordt u hierbij op de hoogte gesteld dat elke openbaarmaking, herverzending, verspreiding
 of gebruik, of elke ac e in verband met deze informa e verboden is. Als u dit bericht per vergissing ontvangen hee , brengt u ons onmiddellijk op de
 hoogte door op dit bericht te reageren en verwijder het uit uw systeem. FIGURAD Bedrijfsrevisoren is niet verantwoordelijk voor het correct of volledig
 versturen van de informa e in dit bericht noch voor enige vertraging bij de ontvangst ervan. De opinies of adviezen gericht aan onze cliënten, zijn
 slechts bindend indien zij beves gd worden per ondertekende brief en/of fax.
 Indien u bij het openen van deze mail enige problemen ondervindt, kan u zich wenden tot postmaster@figurad.be




From: Jelle Santens (BE) [mailto:jelle.santens@pwc.com]
Sent: dinsdag 18 juni 2019 15:03
To: Tim Van Hullebusch | FIGURAD <Tim.VanHullebusch@figurad.be>
Cc: Karla Bemelmans <karla.bemelmans@pwc.com>
Subject: Mee ng Firestar Diamond BVBA


Beste Dhr. Van Hullebusch,



Zoals telefonisch kort besproken, zijn we (PwC Belgium) aangesteld door advocatenkantoor EVC Advocaten (liquidator),
in samenspraak met Dhr. Modi, om een forensische audit uit te voeren van Firestar Diamond BVBA, met focus op een
aantal aankoop -en verkooptransacties.



We hebben begrepen dat uw kantoor als commissaris was aangesteld voor deze entiteit. Aangezien u als commissaris een
zicht had op het aankoop -en verkoopproces, hadden we graag een afspraak met jullie vastgelegd om dit proces in kaart te
brengen. Ik wens te benadrukken dat we enkel een inzicht willen krijgen in het proces.



Uit ons gesprek begrijp ik dat er zich mogelijks een conflict met uw beroepsgeheim en deontologische code voordoet.
Indien u bepaalde toestemmingen (bijvoorbeeld van de curator) nodig heeft voor u deze informatie met ons kan delen,
dan faciliteren we graag waar mogelijk.



De timing die we voor ogen hadden voor een eventueel gesprek zou begin volgende week zijn.



Indien u vragen of opmerkingen heeft, aarzel niet om ons te contacteren.



Alvast bedankt voor uw medewerking.



Vriendelijke groeten,
          20-01054-shl     Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
Jelle                                      PWC Forensic Pg 61 of 107


--

Jelle Santens
PwC | Senior Associate
Direct: +32 2 7104917 | Mobile: +32 472 587049
Email: jelle.santens@pwc.com
PwC Bedrijfsrevisoren CVBA/ PwC Réviseurs d'Entreprises SCR

Firm legal information, click here

     Email banner




This e-mail is intended only for the person to whom it is addressed.
If an addressing or transmission error has misdirected this e-mail,
please notify the author by replying to this e-mail. If you are not
the intended recipient you must not use, disclose, copy, print or
rely on this e-mail.
PwC may monitor outgoing and incoming e-mails and

other telecommunications on its e-mail and telecommunications systems.


        Beroepsgeheim van de bedrijfsrevisor ten aanzien van de curator.pdf
        75K
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 62 of 107                          Final report




A.3. Communication Berdj Anastassian




Project Pietra                                                                31 October 2019
PwC                                                                                        55
        20-01054-shl        Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07            Exhibit Ex D -
                                              PWC Forensic Pg 63 of 107

                                                                           Jelle Santens (BE) <jelle.santens@pwc.com>



Re: Waarderingsverslagen Firestar Diamond BVBA
1 message

Berdj Anastassian <berdj@anastassian.com>                                                      11 July 2019 at 18:10
To: "Jelle Santens (BE)" <jelle.santens@pwc.com>
Cc: Karla Bemelmans <karla.bemelmans@pwc.com>, "William Olyslager (BE)" <william.olyslager@pwc.com>

 Dag Jelle,

 Vooraleer ik de vraag stel aan Figurad, heb ik dit doorgespeeld aan mijn raadsman.
 Deze kwam met het overduidelijk antwoord dat ik zoiets nooit mag doen.
 Mijn valuatie werken waren altijd in opdracht van Figurad en niemand anders heeft deze verslagen mogen inkijken (zelfs
 niet het management van Firestar prior het faillissement).
 Nog volgens mijn advocaat, stel ik me open tot eisen tot schadevergoeding indien één van de verliezende partijen van
 mening is dat het door mijn verslagen is dat ze nadeel hebben gekregen.

 Ik moet u dus teleur stellen en negatief antwoorden op uw vraag.
 Ik ga nog met Fugurad in contact treden om hun mening te kennen.

 Groeten.

 Berdj ANASTASSIAN

 On 11 Jul 2019, at 13:57, Jelle Santens (BE) <jelle.santens@pwc.com> wrote:


        Beste Dhr. Anastassian,

        Bedankt voor het aangename gesprek en nogmaals mijn excuses om u te storen tijdens uw verlof.

        Zoals telefonisch besproken, voeren wij (PwC België) een forensische audit uit bij Firestar Diamond BVBA
        op vraag van Dhr. Modi en met goedkeuring van de curator (mr. Mertens) en de bevoegde rechtbank.
        Tijdens onze voorbereide gesprekken met Dhr. Modi hebben we vernomen dat u in opdracht van de auditor
        (Figurad) een aantal waardebepalingen van de voorraad heeft uitgevoerd.

        Is het mogelijk om deze waarderingsverslagen aan ons te bezorgen (ofwel rechtstreeks of onrechtstreeks via
        de curator of Dhr. Modi)?

        Alvast bedankt voor uw medewerking en nog een prettig verlof gewenst.

        Vriendelijke groeten,
        Jelle

        --
        Jelle Santens
        PwC | Senior Associate
        Direct: +32 2 7104917 | Mobile: +32 472 587049
        Email: jelle.santens@pwc.com
        PwC Bedrijfsrevisoren CVBA/ PwC Réviseurs d'Entreprises SCR

        Firm legal information, click here
           Email banner


        This e-mail is intended only for the person
        to whom it is addressed.
        If an addressing or transmission error
        has misdirected this e-mail,
20-01054-shl       Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                                      PWC Forensic Pg 64 of 107
please notify the author by replying to
this e-mail. If you are not
the intended recipient you must not use,
disclose, copy, print or
rely on this e-mail.
PwC may monitor outgoing and incoming e-mails
and
other telecommunications on its e-mail and telecommunications systems.

<noname>
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 65 of 107                          Final report




A.4. Extract Belgian Gazette – Deed of incorporation




Project Pietra                                                                31 October 2019
PwC                                                                                        56
20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                           PWC Forensic Pg 66 of 107
20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                           PWC Forensic Pg 67 of 107
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 68 of 107                          Final report




A.5. Extract Belgian Gazette – Change of name




Project Pietra                                                                31 October 2019
PwC                                                                                        57
                                                                                20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                                                                                                           PWC Forensic Pg 69 of 107
Bijlagen bij het Belgisch Staatsblad - 04/05/2011 - Annexes du Moniteur belge
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 70 of 107                          Final report




A.6. Overview transactions 6 HK entities




Project Pietra                                                                31 October 2019
PwC                                                                                        58
     20-01054-shl               Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                         Exhibit Ex D -
                                                   PWC Forensic Pg 71 of 107

N°   Description account        Document number Document date Type of transaction   Counterparty                Carat        Amount     Currency
 1   Import polished diamonds      201210062      27/06/2011       Purchase         AURAGEM COMPANY LTD      2.137,81      700.125,70   USD
 2   Import polished diamonds      201210063      27/06/2011       Purchase         AURAGEM COMPANY LTD      2.558,39      880.654,75   USD
 3   Import polished diamonds      201210103      06/08/2011       Purchase         AURAGEM COMPANY LTD      4.753,91    1.002.331,85   USD
 4   Import polished diamonds      201210106      05/08/2011       Purchase         AURAGEM COMPANY LTD        161,51    1.534.073,95   USD
 5   Import polished diamonds      201310016      21/04/2012       Purchase         AURAGEM COMPANY LTD        598,83    1.012.489,15   USD
 6   Import polished diamonds      201310019      23/04/2012       Purchase         AURAGEM COMPANY LTD      3.113,01      899.186,25   USD
 7   Import polished diamonds      201310052      26/05/2012       Purchase         AURAGEM COMPANY LTD        685,36      827.053,53   USD
 8   Import polished diamonds      201310054      29/05/2012       Purchase         AURAGEM COMPANY LTD         22,23      120.841,82   USD
 9   Import polished diamonds      201310071      18/06/2012       Purchase         AURAGEM COMPANY LTD         13,40      942.151,12   USD
10   Import polished diamonds      201310212      30/10/2012       Purchase         AURAGEM COMPANY LTD         22,47      446.232,25   USD
11   Import polished diamonds      201310227      08/11/2012       Purchase         AURAGEM COMPANY LTD         73,18      376.827,95   USD
12   Import polished diamonds      201310265      29/12/2012       Purchase         AURAGEM COMPANY LTD        593,81    1.070.179,27   USD
13   Import polished diamonds      201310350      22/03/2013       Purchase         AURAGEM COMPANY LTD         66,94      815.231,70   USD
14   Import polished diamonds      201310353      26/03/2013       Purchase         AURAGEM COMPANY LTD        151,91    1.453.881,49   USD
15   Import polished diamonds      201410030      07/05/2013       Purchase         AURAGEM COMPANY LTD      1.279,82      877.521,61   USD
16   Import polished diamonds      201410045      07/06/2013       Purchase         AURAGEM COMPANY LTD         71,88      224.206,20   USD
17   Import polished diamonds      201410082      09/07/2013       Purchase         AURAGEM COMPANY LTD         33,04      535.405,45   USD
18   Import polished diamonds      201410162      27/09/2013       Purchase         AURAGEM COMPANY LTD        146,27      103.047,95   USD
19   Import polished diamonds      201410185      05/10/2013       Purchase         AURAGEM COMPANY LTD         32,36      380.212,02   USD
20   Import polished diamonds      201410195      12/10/2013       Purchase         AURAGEM COMPANY LTD        234,85      175.503,50   USD
21   Import polished diamonds      201410218      08/11/2013       Purchase         AURAGEM COMPANY LTD        472,56      344.631,08   USD
22   Import polished diamonds      201410238      26/11/2013       Purchase         AURAGEM COMPANY LTD         96,26      135.128,70   USD
23   Import polished diamonds      201410390      19/03/2014       Purchase         AURAGEM COMPANY LTD         52,97    1.882.405,00   USD
24   Import polished diamonds      201510154      13/08/2014       Purchase         AURAGEM COMPANY LTD        871,58      855.264,85   USD
25   Import polished diamonds      201510248      18/10/2014       Purchase         AURAGEM COMPANY LTD      2.741,77    1.384.598,41   USD
26   Import polished diamonds      201510259      29/10/2014       Purchase         AURAGEM COMPANY LTD         68,57      907.231,52   USD
27   Import polished diamonds      201510288      12/11/2014       Purchase         AURAGEM COMPANY LTD        354,95    1.025.413,22   USD
28   Import polished diamonds      201510335      05/01/2015       Purchase         AURAGEM COMPANY LTD        132,69      816.240,49   USD
29   Import polished diamonds      201510336      05/01/2015       Purchase         AURAGEM COMPANY LTD         49,40      498.242,99   USD
30   Import polished diamonds      201510337      05/01/2015       Purchase         AURAGEM COMPANY LTD         26,79      484.306,44   USD
31   Import polished diamonds      201510350      15/01/2015       Purchase         AURAGEM COMPANY LTD        426,42      305.114,01   USD
32   Import polished diamonds      201510355      17/01/2015       Purchase         AURAGEM COMPANY LTD        258,93      768.982,90   USD
33   Import polished diamonds      201510381      03/02/2015       Purchase         AURAGEM COMPANY LTD         75,88      994.133,18   USD
34   Import polished diamonds      201510417      25/02/2015       Purchase         AURAGEM COMPANY LTD        490,36      894.803,29   USD
35   Import polished diamonds      201610048      11/05/2015       Purchase         AURAGEM COMPANY LTD        339,14      921.642,95   USD
36   Import polished diamonds      201610061      19/05/2015       Purchase         AURAGEM COMPANY LTD        808,00    1.024.821,60   USD
37   Import polished diamonds      201610068      26/05/2015       Purchase         AURAGEM COMPANY LTD        135,43      981.331,64   USD
38   Import polished diamonds      201610110      06/07/2015       Purchase         AURAGEM COMPANY LTD        776,70    1.112.904,74   USD
39   Import polished diamonds      201610145      10/08/2015       Purchase         AURAGEM COMPANY LTD        535,47      844.597,87   USD
40   Import polished diamonds      201610181      17/09/2015       Purchase         AURAGEM COMPANY LTD        638,43    1.097.485,86   USD
41   Import polished diamonds      201610190      29/09/2015       Purchase         AURAGEM COMPANY LTD        947,25    1.857.450,00   USD
42   Import polished diamonds      201610202      09/10/2015       Purchase         AURAGEM COMPANY LTD        767,90    1.175.913,79   USD
43   Import polished diamonds      201610214      20/10/2015       Purchase         AURAGEM COMPANY LTD        491,47      951.082,10   USD
44   Import polished diamonds      201610220      27/10/2015       Purchase         AURAGEM COMPANY LTD        218,99      442.546,46   USD
45   Import polished diamonds      201610274      14/12/2015       Purchase         AURAGEM COMPANY LTD        235,49      665.094,43   USD
46   Import polished diamonds      201610310      20/01/2016       Purchase         AURAGEM COMPANY LTD        532,25      953.836,52   USD
47   Import polished diamonds      201610330      01/02/2016       Purchase         AURAGEM COMPANY LTD        606,05    1.052.717,65   USD
48   Import polished diamonds      201610334      03/02/2016       Purchase         AURAGEM COMPANY LTD        556,82      665.204,38   USD
49   Import polished diamonds      201610348      11/02/2016       Purchase         AURAGEM COMPANY LTD        481,13      895.932,18   USD
50   Import polished diamonds      201610381      03/03/2016       Purchase         AURAGEM COMPANY LTD        563,87      848.864,85   USD
51   Import polished diamonds      201610405      14/03/2016       Purchase         AURAGEM COMPANY LTD      1.095,43    1.197.642,23   USD
52   Import polished diamonds      201710020      14/04/2016       Purchase         AURAGEM COMPANY LTD        700,89      869.386,68   USD
53   Import polished diamonds      201710036      27/04/2016       Purchase         AURAGEM COMPANY LTD        254,03      555.278,08   USD
54   Import polished diamonds      201710037      28/04/2016       Purchase         AURAGEM COMPANY LTD      1.389,39      971.558,57   USD
55   Import polished diamonds      201710059      16/05/2016       Purchase         AURAGEM COMPANY LTD        460,30      769.353,88   USD
56   Import polished diamonds      201710085      01/06/2016       Purchase         AURAGEM COMPANY LTD        602,62      985.374,96   USD
57   Import polished diamonds      201710087      02/06/2016       Purchase         AURAGEM COMPANY LTD        476,32      657.574,19   USD
58   Import polished diamonds      201710088      03/06/2016       Purchase         AURAGEM COMPANY LTD      2.456,07      724.568,77   USD
59   Import polished diamonds      201710100      13/06/2016       Purchase         AURAGEM COMPANY LTD      1.416,86      783.014,97   USD
60   Import polished diamonds      201710139      04/07/2016       Purchase         AURAGEM COMPANY LTD      1.229,06      945.237,16   USD
61   Import polished diamonds      201710158      18/07/2016       Purchase         AURAGEM COMPANY LTD         15,53       58.757,82   USD
62   Import polished diamonds      201710162      20/07/2016       Purchase         AURAGEM COMPANY LTD        573,92      581.147,12   USD
63   Import polished diamonds      201710185      01/08/2016       Purchase         AURAGEM COMPANY LTD      1.106,20      786.363,81   USD
64   Import polished diamonds      201710196      22/08/2016       Purchase         AURAGEM COMPANY LTD        502,72      767.289,24   USD
65   Import polished diamonds      201710220      05/09/2016       Purchase         AURAGEM COMPANY LTD      1.377,40      775.190,31   USD
66   Import polished diamonds      201710236      15/09/2016       Purchase         AURAGEM COMPANY LTD      1.022,94      774.120,80   USD
67   Import polished diamonds      201710259      27/09/2016       Purchase         AURAGEM COMPANY LTD        741,01      795.453,00   USD
68   Import polished diamonds      201710276      07/10/2016       Purchase         AURAGEM COMPANY LTD        662,57      762.923,00   USD
69   Import polished diamonds      201710291      18/10/2016       Purchase         AURAGEM COMPANY LTD        842,65      985.007,00   USD
70   Import polished diamonds      201710323      10/11/2016       Purchase         AURAGEM COMPANY LTD      1.001,73      624.606,30   USD
71   Export polished diamonds      201810350      17/10/2017         Sale           AURAGEM COMPANY LTD      1.588,60     -695.578,86   USD
72   Export polished diamonds      201200102      23/06/2011         Sale           BRILLIANT DIAMONDS LTD   2.835,70     -907.068,80   USD
73   Export polished diamonds      201200105      01/07/2011         Sale           BRILLIANT DIAMONDS LTD   4.176,82   -1.370.301,80   USD
74   Export polished diamonds      201200158      05/08/2011         Sale           BRILLIANT DIAMONDS LTD   5.220,04   -1.023.534,10   USD
75   Export polished diamonds      201200159      08/08/2011         Sale           BRILLIANT DIAMONDS LTD   3.487,60   -1.698.507,31   USD
76   Export polished diamonds      201200162      12/08/2011         Sale           BRILLIANT DIAMONDS LTD     217,73     -780.832,73   USD
77   Export polished diamonds      201200175      31/08/2011         Sale           BRILLIANT DIAMONDS LTD   6.714,48   -1.175.079,85   USD
78   Export polished diamonds      201200196      20/09/2011         Sale           BRILLIANT DIAMONDS LTD   1.732,55     -844.104,35   USD
79   Export polished diamonds      201200206      28/09/2011         Sale           BRILLIANT DIAMONDS LTD   3.715,88   -1.048.993,20   USD
80   Export polished diamonds      201200332      07/12/2011         Sale           BRILLIANT DIAMONDS LTD   2.145,92   -1.082.456,55   USD
81   Export polished diamonds      201200405      26/01/2012         Sale           BRILLIANT DIAMONDS LTD   2.345,89     -448.840,55   USD
82   Export polished diamonds      201310032      10/05/2012         Sale           BRILLIANT DIAMONDS LTD   2.949,52   -1.757.102,15   USD
83   Export polished diamonds      201310039      22/05/2012         Sale           BRILLIANT DIAMONDS LTD   4.060,92   -1.888.903,37   USD
84   Export polished diamonds      201310044      31/05/2012         Sale           BRILLIANT DIAMONDS LTD     191,88   -1.370.455,19   USD
85   Export polished diamonds      201310056      08/06/2012         Sale           BRILLIANT DIAMONDS LTD   1.088,79     -980.146,45   USD
86   Export polished diamonds      201310066      19/06/2012         Sale           BRILLIANT DIAMONDS LTD     341,69   -1.728.656,30   USD
87   Export polished diamonds      201310109      01/08/2012         Sale           BRILLIANT DIAMONDS LTD     339,16   -1.183.109,36   USD
88   Export polished diamonds      201310118      08/08/2012         Sale           BRILLIANT DIAMONDS LTD     151,80     -243.334,85   USD
89   Export polished diamonds      201310155      13/09/2012         Sale           BRILLIANT DIAMONDS LTD     187,38   -1.440.892,86   USD
90   Export polished diamonds      201310171      25/09/2012         Sale           BRILLIANT DIAMONDS LTD     596,08     -384.563,75   USD
91   Export polished diamonds      201310176      27/09/2012         Sale           BRILLIANT DIAMONDS LTD     137,00     -298.713,00   USD
92   Export polished diamonds      201310206      15/10/2012         Sale           BRILLIANT DIAMONDS LTD       5,02     -150.981,52   USD
      20-01054-shl               Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                            Exhibit Ex D -
                                                    PWC Forensic Pg 72 of 107

 N°   Description account        Document number Document date Type of transaction   Counterparty                   Carat        Amount     Currency
 93   Export polished diamonds      201310261      13/11/2012         Sale           BRILLIANT DIAMONDS LTD        201,69     -604.491,11   USD
 94   Export polished diamonds      201310323      19/12/2012         Sale           BRILLIANT DIAMONDS LTD      1.128,00     -731.696,96   USD
 95   Export polished diamonds      201310326      20/12/2012         Sale           BRILLIANT DIAMONDS LTD        322,45     -711.662,25   USD
 96   Export polished diamonds      201310338      02/01/2013         Sale           BRILLIANT DIAMONDS LTD        392,32     -804.714,72   USD
 97   Export polished diamonds      201310343      07/01/2013         Sale           BRILLIANT DIAMONDS LTD      1.279,50     -893.063,75   USD
 98   Export polished diamonds      201310347      08/01/2013         Sale           BRILLIANT DIAMONDS LTD        228,08     -323.731,74   USD
 99   Export polished diamonds      201310379      22/01/2013         Sale           BRILLIANT DIAMONDS LTD        191,21     -480.762,04   USD
100   Export polished diamonds      201310426      14/02/2013         Sale           BRILLIANT DIAMONDS LTD         31,38     -904.460,98   USD
101   Export polished diamonds      201310443      26/02/2013         Sale           BRILLIANT DIAMONDS LTD         27,13     -414.659,02   USD
102   Export polished diamonds      201410001      02/04/2013         Sale           BRILLIANT DIAMONDS LTD         45,50   -1.101.909,55   USD
103   Export polished diamonds      201410007      03/04/2013         Sale           BRILLIANT DIAMONDS LTD         20,60     -865.676,37   USD
104   Export polished diamonds      201410010      04/04/2013         Sale           BRILLIANT DIAMONDS LTD         24,28     -614.760,00   USD
105   Export polished diamonds      201410028      15/04/2013         Sale           BRILLIANT DIAMONDS LTD         24,68     -686.555,30   USD
106   Export polished diamonds      201410084      21/05/2013         Sale           BRILLIANT DIAMONDS LTD        152,21     -599.843,32   USD
107   Export polished diamonds      201410143      09/07/2013         Sale           BRILLIANT DIAMONDS LTD        207,34     -278.302,98   USD
108   Export polished diamonds      201410153      18/07/2013         Sale           BRILLIANT DIAMONDS LTD          9,66     -160.812,43   USD
109   Export polished diamonds      201410165      25/07/2013         Sale           BRILLIANT DIAMONDS LTD        191,89     -158.253,50   USD
110   Export polished diamonds      201410167      26/07/2013         Sale           BRILLIANT DIAMONDS LTD         73,66   -1.091.996,14   USD
111   Export polished diamonds      201410183      19/08/2013         Sale           BRILLIANT DIAMONDS LTD         16,37     -394.783,28   USD
112   Export polished diamonds      201410193      27/08/2013         Sale           BRILLIANT DIAMONDS LTD         17,58     -176.007,23   USD
113   Export polished diamonds      201410196      29/08/2013         Sale           BRILLIANT DIAMONDS LTD         32,02     -452.961,20   USD
114   Export polished diamonds      201510223      07/08/2014         Sale           BRILLIANT DIAMONDS LTD      2.240,54     -488.161,25   USD
115   Export polished diamonds      201510224      08/08/2014         Sale           BRILLIANT DIAMONDS LTD          8,40     -210.488,80   USD
116   Export polished diamonds      201510226      11/08/2014         Sale           BRILLIANT DIAMONDS LTD        347,56     -214.557,50   USD
117   Export polished diamonds      201510253      10/09/2014         Sale           BRILLIANT DIAMONDS LTD         16,08   -2.028.673,38   USD
118   Export polished diamonds      201510325      22/10/2014         Sale           BRILLIANT DIAMONDS LTD        272,47     -420.461,19   USD
119   Export polished diamonds      201510339      31/10/2014         Sale           BRILLIANT DIAMONDS LTD          6,98      -10.937,30   USD
120   Export polished diamonds      201510392      21/11/2014         Sale           BRILLIANT DIAMONDS LTD         80,15     -745.599,38   USD
121   Export polished diamonds      201510435      17/12/2014         Sale           BRILLIANT DIAMONDS LTD         46,93     -366.646,64   USD
122   Export polished diamonds      201510452      05/01/2015         Sale           BRILLIANT DIAMONDS LTD        217,06     -480.891,59   USD
123   Export polished diamonds      201510455      06/01/2015         Sale           BRILLIANT DIAMONDS LTD         88,55     -618.081,31   USD
124   Export polished diamonds      201510543      13/02/2015         Sale           BRILLIANT DIAMONDS LTD        461,45     -861.606,84   USD
125   Export polished diamonds      201610042      24/04/2015         Sale           BRILLIANT DIAMONDS LTD        339,14     -908.022,61   USD
126   Export polished diamonds      201610085      19/05/2015         Sale           BRILLIANT DIAMONDS LTD        135,43     -971.615,49   USD
127   Export polished diamonds      201610157      24/06/2015         Sale           BRILLIANT DIAMONDS LTD        345,01     -966.564,58   USD
128   Export polished diamonds      201610204      22/07/2015         Sale           BRILLIANT DIAMONDS LTD        535,47     -842.491,65   USD
129   Export polished diamonds      201610265      11/09/2015         Sale           BRILLIANT DIAMONDS LTD        482,12     -649.010,29   USD
130   Export polished diamonds      201610274      23/09/2015         Sale           BRILLIANT DIAMONDS LTD        682,28     -989.159,65   USD
131   Export polished diamonds      201610288      02/10/2015         Sale           BRILLIANT DIAMONDS LTD        349,01     -636.219,49   USD
132   Export polished diamonds      201610314      14/10/2015         Sale           BRILLIANT DIAMONDS LTD        418,49     -679.891,12   USD
133   Export polished diamonds      201610414      16/12/2015         Sale           BRILLIANT DIAMONDS LTD         23,76     -846.510,80   USD
134   Export polished diamonds      201610496      27/01/2016         Sale           BRILLIANT DIAMONDS LTD        340,53     -714.225,41   USD
135   Export polished diamonds      201610528      04/02/2016         Sale           BRILLIANT DIAMONDS LTD        540,47     -994.229,56   USD
136   Export polished diamonds      201610572      16/02/2016         Sale           BRILLIANT DIAMONDS LTD        400,79     -898.218,56   USD
137   Export polished diamonds      201700041      18/04/2016         Sale           BRILLIANT DIAMONDS LTD        747,32     -875.556,39   USD
138   Export polished diamonds      201700114      20/05/2016         Sale           BRILLIANT DIAMONDS LTD        402,46     -669.598,96   USD
139   Export polished diamonds      201700132      27/05/2016         Sale           BRILLIANT DIAMONDS LTD        862,90     -756.271,28   USD
140   Export polished diamonds      201700165      07/06/2016         Sale           BRILLIANT DIAMONDS LTD        580,29     -981.545,96   USD
141   Export polished diamonds      201700175      09/06/2016         Sale           BRILLIANT DIAMONDS LTD        696,98     -515.628,89   USD
142   Export polished diamonds      201700329      08/08/2016         Sale           BRILLIANT DIAMONDS LTD        527,81     -787.530,24   USD
143   Export polished diamonds      201700392      08/09/2016         Sale           BRILLIANT DIAMONDS LTD      2.177,13     -791.943,30   USD
144   Export polished diamonds      201700415      20/09/2016         Sale           BRILLIANT DIAMONDS LTD      1.407,14     -674.248,26   USD
145   Export polished diamonds      201700492      14/10/2016         Sale           BRILLIANT DIAMONDS LTD        832,72     -987.219,28   USD
146   Export polished diamonds      201700546      07/11/2016         Sale           BRILLIANT DIAMONDS LTD        938,29     -603.737,12   USD
147   Export polished diamonds      201700683      25/01/2017         Sale           BRILLIANT DIAMONDS LTD      1.844,43     -843.216,30   USD
148   Export polished diamonds      201700777      27/02/2017         Sale           BRILLIANT DIAMONDS LTD      1.184,41     -829.106,75   USD
149   Export polished diamonds      201700804      09/03/2017         Sale           BRILLIANT DIAMONDS LTD      1.175,89     -753.105,00   USD
150   Export polished diamonds      201810105      24/05/2017         Sale           BRILLIANT DIAMONDS LTD      1.138,63     -929.049,31   USD
151   Export polished diamonds      201810167      20/06/2017         Sale           BRILLIANT DIAMONDS LTD        916,95     -460.889,71   USD
152   Export polished diamonds      201810240      25/07/2017         Sale           BRILLIANT DIAMONDS LTD      1.813,33     -879.216,08   USD
153   Export polished diamonds      201810278      16/08/2017         Sale           BRILLIANT DIAMONDS LTD      1.521,63     -723.428,76   USD
154   Export polished diamonds      201810287      23/08/2017         Sale           BRILLIANT DIAMONDS LTD        678,96     -504.060,77   USD
155   Export polished diamonds      201810321      21/09/2017         Sale           BRILLIANT DIAMONDS LTD      1.628,04     -939.668,65   USD
156   Export polished diamonds      201810361      26/10/2017         Sale           BRILLIANT DIAMONDS LTD      1.018,73     -453.182,72   USD
157   Export polished diamonds      201810473      12/01/2018         Sale           BRILLIANT DIAMONDS LTD      1.261,74     -779.073,77   USD
158   Export polished diamonds      201200101      23/06/2011         Sale           ETERNAL DIAMONDS CORP.LTD   3.688,99   -1.146.975,65   USD
159   Export polished diamonds      201200106      01/07/2011         Sale           ETERNAL DIAMONDS CORP.LTD   5.100,71   -1.487.219,05   USD
160   Export polished diamonds      201200157      04/08/2011         Sale           ETERNAL DIAMONDS CORP.LTD   4.539,40   -1.830.025,59   USD
161   Export polished diamonds      201200161      10/08/2011         Sale           ETERNAL DIAMONDS CORP.LTD     414,04   -1.617.738,90   USD
162   Export polished diamonds      201200173      29/08/2011         Sale           ETERNAL DIAMONDS CORP.LTD   4.453,03     -763.927,00   USD
163   Export polished diamonds      201200197      20/09/2011         Sale           ETERNAL DIAMONDS CORP.LTD      42,64      -43.194,15   USD
164   Export polished diamonds      201200333      07/12/2011         Sale           ETERNAL DIAMONDS CORP.LTD   3.056,49   -1.243.115,15   USD
165   Export polished diamonds      201200404      26/01/2012         Sale           ETERNAL DIAMONDS CORP.LTD   2.349,56     -666.415,20   USD
166   Export polished diamonds      201200443      08/02/2012         Sale           ETERNAL DIAMONDS CORP.LTD   2.029,66     -447.660,15   USD
167   Export polished diamonds      201200454      23/02/2012         Sale           ETERNAL DIAMONDS CORP.LTD     163,07     -929.855,45   USD
168   Export polished diamonds      201200455      28/02/2012         Sale           ETERNAL DIAMONDS CORP.LTD      47,21   -2.013.110,00   USD
169   Export polished diamonds      201310031      10/05/2012         Sale           ETERNAL DIAMONDS CORP.LTD     324,20     -323.639,95   USD
170   Export polished diamonds      201310038      21/05/2012         Sale           ETERNAL DIAMONDS CORP.LTD     314,33   -1.849.381,64   USD
171   Export polished diamonds      201310042      25/05/2012         Sale           ETERNAL DIAMONDS CORP.LTD      28,42     -997.686,35   USD
172   Export polished diamonds      201310055      08/06/2012         Sale           ETERNAL DIAMONDS CORP.LTD   3.316,74     -625.273,76   USD
173   Export polished diamonds      201310067      19/06/2012         Sale           ETERNAL DIAMONDS CORP.LTD     155,00     -514.813,21   USD
174   Export polished diamonds      201310081      09/07/2012         Sale           ETERNAL DIAMONDS CORP.LTD      28,29     -530.165,88   USD
175   Export polished diamonds      201310103      26/07/2012         Sale           ETERNAL DIAMONDS CORP.LTD      42,33     -290.911,59   USD
176   Export polished diamonds      201310110      01/08/2012         Sale           ETERNAL DIAMONDS CORP.LTD      26,91     -912.243,35   USD
177   Export polished diamonds      201310117      08/08/2012         Sale           ETERNAL DIAMONDS CORP.LTD     196,99   -1.335.719,25   USD
178   Export polished diamonds      201310126      22/08/2012         Sale           ETERNAL DIAMONDS CORP.LTD       6,52     -469.261,36   USD
179   Export polished diamonds      201310156      14/09/2012         Sale           ETERNAL DIAMONDS CORP.LTD     243,38     -507.871,70   USD
180   Export polished diamonds      201310173      26/09/2012         Sale           ETERNAL DIAMONDS CORP.LTD     653,98     -231.343,25   USD
181   Export polished diamonds      201310295      04/12/2012         Sale           ETERNAL DIAMONDS CORP.LTD      16,21   -1.071.146,80   USD
182   Export polished diamonds      201310305      07/12/2012         Sale           ETERNAL DIAMONDS CORP.LTD      37,51     -312.740,12   USD
183   Export polished diamonds      201310322      19/12/2012         Sale           ETERNAL DIAMONDS CORP.LTD     261,39     -481.026,20   USD
184   Export polished diamonds      201310334      28/12/2012         Sale           ETERNAL DIAMONDS CORP.LTD     638,21     -812.401,85   USD
      20-01054-shl               Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                              Exhibit Ex D -
                                                    PWC Forensic Pg 73 of 107

 N°   Description account        Document number Document date Type of transaction   Counterparty                     Carat        Amount     Currency
185   Export polished diamonds      201310336      31/12/2012         Sale           ETERNAL DIAMONDS CORP.LTD       758,01     -475.798,80   USD
186   Export polished diamonds      201310339      02/01/2013         Sale           ETERNAL DIAMONDS CORP.LTD       314,71     -900.429,63   USD
187   Export polished diamonds      201310358      15/01/2013         Sale           ETERNAL DIAMONDS CORP.LTD        19,42     -174.306,51   USD
188   Export polished diamonds      201310394      28/01/2013         Sale           ETERNAL DIAMONDS CORP.LTD        21,83     -172.642,27   USD
189   Export polished diamonds      201310431      15/02/2013         Sale           ETERNAL DIAMONDS CORP.LTD        42,61     -637.436,11   USD
190   Export polished diamonds      201310444      26/02/2013         Sale           ETERNAL DIAMONDS CORP.LTD        18,84     -790.127,70   USD
191   Export polished diamonds      201310459      04/03/2013         Sale           ETERNAL DIAMONDS CORP.LTD        41,23     -382.452,56   USD
192   Export polished diamonds      201310469      18/03/2013         Sale           ETERNAL DIAMONDS CORP.LTD        89,34     -120.518,78   USD
193   Export polished diamonds      201410002      02/04/2013         Sale           ETERNAL DIAMONDS CORP.LTD        17,38   -1.157.104,40   USD
194   Export polished diamonds      201410032      17/04/2013         Sale           ETERNAL DIAMONDS CORP.LTD        18,62     -520.584,60   USD
195   Export polished diamonds      201410042      23/04/2013         Sale           ETERNAL DIAMONDS CORP.LTD        10,91     -214.657,55   USD
196   Export polished diamonds      201410067      08/05/2013         Sale           ETERNAL DIAMONDS CORP.LTD        10,18     -431.126,72   USD
197   Export polished diamonds      201410075      14/05/2013         Sale           ETERNAL DIAMONDS CORP.LTD        23,58     -777.268,31   USD
198   Export polished diamonds      201410106      12/06/2013         Sale           ETERNAL DIAMONDS CORP.LTD        33,28     -362.083,42   USD
199   Export polished diamonds      201410112      18/06/2013         Sale           ETERNAL DIAMONDS CORP.LTD        10,27     -133.510,00   USD
200   Export polished diamonds      201410115      21/06/2013         Sale           ETERNAL DIAMONDS CORP.LTD        14,42     -156.749,91   USD
201   Export polished diamonds      201410147      12/07/2013         Sale           ETERNAL DIAMONDS CORP.LTD        13,28     -204.594,48   USD
202   Export polished diamonds      201410178      05/08/2013         Sale           ETERNAL DIAMONDS CORP.LTD        65,52     -461.166,54   USD
203   Export polished diamonds      201510043      15/04/2014         Sale           ETERNAL DIAMONDS CORP.LTD        46,27   -1.114.103,03   USD
204   Export polished diamonds      201510046      16/04/2014         Sale           ETERNAL DIAMONDS CORP.LTD        82,28   -1.256.230,71   USD
205   Export polished diamonds      201510135      06/06/2014         Sale           ETERNAL DIAMONDS CORP.LTD        34,68     -999.928,30   USD
206   Export polished diamonds      201510149      13/06/2014         Sale           ETERNAL DIAMONDS CORP.LTD        38,17     -428.619,50   USD
207   Export polished diamonds      201510251      10/09/2014         Sale           ETERNAL DIAMONDS CORP.LTD       100,01     -892.723,27   USD
208   Export polished diamonds      201510309      17/10/2014         Sale           ETERNAL DIAMONDS CORP.LTD        35,73     -619.896,93   USD
209   Export polished diamonds      201510331      28/10/2014         Sale           ETERNAL DIAMONDS CORP.LTD        12,74     -263.977,80   USD
210   Export polished diamonds      201510333      29/10/2014         Sale           ETERNAL DIAMONDS CORP.LTD         8,18     -471.765,14   USD
211   Export polished diamonds      201510436      17/12/2014         Sale           ETERNAL DIAMONDS CORP.LTD        76,19     -968.035,03   USD
212   Export polished diamonds      201510439      18/12/2014         Sale           ETERNAL DIAMONDS CORP.LTD       317,34     -894.377,60   USD
213   Export polished diamonds      201510451      02/01/2015         Sale           ETERNAL DIAMONDS CORP.LTD       443,07     -550.860,06   USD
214   Export polished diamonds      201510456      06/01/2015         Sale           ETERNAL DIAMONDS CORP.LTD       219,78     -657.922,34   USD
215   Export polished diamonds      201510569      24/02/2015         Sale           ETERNAL DIAMONDS CORP.LTD        44,62     -922.833,00   USD
216   Export polished diamonds      201510573      25/02/2015         Sale           ETERNAL DIAMONDS CORP.LTD       230,89     -660.476,10   USD
217   Export polished diamonds      201610065      08/05/2015         Sale           ETERNAL DIAMONDS CORP.LTD       805,81     -987.573,60   USD
218   Export polished diamonds      201610082      18/05/2015         Sale           ETERNAL DIAMONDS CORP.LTD       360,39     -987.478,80   USD
219   Export polished diamonds      201610127      08/06/2015         Sale           ETERNAL DIAMONDS CORP.LTD       214,29     -989.236,64   USD
220   Export polished diamonds      201610180      09/07/2015         Sale           ETERNAL DIAMONDS CORP.LTD       256,67     -516.849,99   USD
221   Export polished diamonds      201610264      11/09/2015         Sale           ETERNAL DIAMONDS CORP.LTD       156,31     -437.608,77   USD
222   Export polished diamonds      201610273      23/09/2015         Sale           ETERNAL DIAMONDS CORP.LTD       264,97     -859.049,31   USD
223   Export polished diamonds      201610278      24/09/2015         Sale           ETERNAL DIAMONDS CORP.LTD       238,68     -748.899,87   USD
224   Export polished diamonds      201610287      02/10/2015         Sale           ETERNAL DIAMONDS CORP.LTD       522,40     -951.448,29   USD
225   Export polished diamonds      201610292      06/10/2015         Sale           ETERNAL DIAMONDS CORP.LTD       278,90     -932.576,79   USD
226   Export polished diamonds      201610313      14/10/2015         Sale           ETERNAL DIAMONDS CORP.LTD       384,89     -592.372,88   USD
227   Export polished diamonds      201610415      16/12/2015         Sale           ETERNAL DIAMONDS CORP.LTD        31,69     -441.868,00   USD
228   Export polished diamonds      201610498      27/01/2016         Sale           ETERNAL DIAMONDS CORP.LTD       518,22     -854.283,87   USD
229   Export polished diamonds      201700005      04/04/2016         Sale           ETERNAL DIAMONDS CORP.LTD       758,02     -952.557,86   USD
230   Export polished diamonds      201700042      18/04/2016         Sale           ETERNAL DIAMONDS CORP.LTD       556,77     -723.564,82   USD
231   Export polished diamonds      201700092      10/05/2016         Sale           ETERNAL DIAMONDS CORP.LTD       346,16     -815.358,95   USD
232   Export polished diamonds      201700115      20/05/2016         Sale           ETERNAL DIAMONDS CORP.LTD       447,70     -581.781,70   USD
233   Export polished diamonds      201700131      27/05/2016         Sale           ETERNAL DIAMONDS CORP.LTD       666,40     -596.674,30   USD
234   Export polished diamonds      201700287      20/07/2016         Sale           ETERNAL DIAMONDS CORP.LTD       589,03     -852.506,19   USD
235   Export polished diamonds      201700347      24/08/2016         Sale           ETERNAL DIAMONDS CORP.LTD     1.122,23     -963.229,57   USD
236   Export polished diamonds      201700391      08/09/2016         Sale           ETERNAL DIAMONDS CORP.LTD       919,52     -837.550,28   USD
237   Export polished diamonds      201700414      20/09/2016         Sale           ETERNAL DIAMONDS CORP.LTD       508,96     -509.735,44   USD
238   Export polished diamonds      201700454      04/10/2016         Sale           ETERNAL DIAMONDS CORP.LTD       576,04     -604.315,40   USD
239   Export polished diamonds      201700551      08/11/2016         Sale           ETERNAL DIAMONDS CORP.LTD       390,13     -688.026,66   USD
240   Export polished diamonds      201700710      08/02/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.576,26     -903.192,49   USD
241   Export polished diamonds      201700801      08/03/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.637,53     -752.101,51   USD
242   Export polished diamonds      201810117      29/05/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.529,78     -858.793,72   USD
243   Export polished diamonds      201810192      04/07/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.336,44     -526.152,22   USD
244   Export polished diamonds      201810226      19/07/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.905,44     -967.404,00   USD
245   Export polished diamonds      201810306      07/09/2017         Sale           ETERNAL DIAMONDS CORP.LTD     2.074,64     -998.250,78   USD
246   Export polished diamonds      201810323      22/09/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.813,87     -996.328,65   USD
247   Export polished diamonds      201810372      02/11/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.451,92     -973.918,22   USD
248   Export polished diamonds      201810385      10/11/2017         Sale           ETERNAL DIAMONDS CORP.LTD       867,36     -529.920,50   USD
249   Export polished diamonds      201810408      15/11/2017         Sale           ETERNAL DIAMONDS CORP.LTD       633,63     -326.590,76   USD
250   Export polished diamonds      201810417      21/11/2017         Sale           ETERNAL DIAMONDS CORP.LTD     1.586,82     -818.122,90   USD
251   Export polished diamonds      201810430      30/11/2017         Sale           ETERNAL DIAMONDS CORP.LTD       600,62     -508.061,78   USD
252   Export polished diamonds      201810472      12/01/2018         Sale           ETERNAL DIAMONDS CORP.LTD     1.593,90     -965.722,22   USD
253   Export polished diamonds      201810519      25/01/2018         Sale           ETERNAL DIAMONDS CORP.LTD     1.779,65   -1.085.412,37   USD
254   Import polished diamonds      201210061      27/06/2011       Purchase         FANCY CREATIONS CO.LTD        4.481,19    1.161.954,35   USD
255   Import polished diamonds      201210078      05/07/2011       Purchase         FANCY CREATIONS CO.LTD           28,44    1.318.543,10   USD
256   Import polished diamonds      201210079      05/07/2011       Purchase         FANCY CREATIONS CO.LTD           15,49       16.259,15   USD
257   Import polished diamonds      201210299      21/02/2012       Purchase         FANCY CREATIONS CO.LTD           25,47      886.174,50   USD
258   Import polished diamonds      201310008      11/04/2012       Purchase         FANCY CREATIONS CO.LTD        3.350,82    1.909.281,25   USD
259   Import polished diamonds      201310034      08/05/2012       Purchase         FANCY CREATIONS CO.LTD          168,46    1.408.857,18   USD
260   Import polished diamonds      201310051      24/05/2012       Purchase         FANCY CREATIONS CO.LTD          169,49    1.042.890,26   USD
261   Import polished diamonds      201310070      18/06/2012       Purchase         FANCY CREATIONS CO.LTD           13,48    1.190.630,70   USD
262   Import polished diamonds      201310132      20/08/2012       Purchase         FANCY CREATIONS CO.LTD            6,52      464.615,20   USD
263   Import polished diamonds      201310193      12/10/2012       Purchase         FANCY CREATIONS CO.LTD           59,08      814.352,26   USD
264   Import polished diamonds      201310195      15/10/2012       Purchase         FANCY CREATIONS CO.LTD          814,26      395.587,78   USD
265   Import polished diamonds      201310243      05/12/2012       Purchase         FANCY CREATIONS CO.LTD           12,42      148.903,00   USD
266   Import polished diamonds      201310264      28/12/2012       Purchase         FANCY CREATIONS CO.LTD          164,53      850.518,96   USD
267   Import polished diamonds      201310294      21/01/2013       Purchase         FANCY CREATIONS CO.LTD           44,26      829.544,65   USD
268   Import polished diamonds      201310297      24/01/2013       Purchase         FANCY CREATIONS CO.LTD          932,80      793.171,60   USD
269   Import polished diamonds      201310348      21/03/2013       Purchase         FANCY CREATIONS CO.LTD           76,88       95.555,79   USD
270   Import polished diamonds      201310349      22/03/2013       Purchase         FANCY CREATIONS CO.LTD           13,95    1.534.518,50   USD
271   Import polished diamonds      201410026      02/05/2013       Purchase         FANCY CREATIONS CO.LTD           61,65      285.541,10   USD
272   Import polished diamonds      201410029      04/05/2013       Purchase         FANCY CREATIONS CO.LTD          162,25      488.010,47   USD
273   Import polished diamonds      201410032      07/05/2013       Purchase         FANCY CREATIONS CO.LTD          235,91    1.413.279,22   USD
274   Import polished diamonds      201410046      07/06/2013       Purchase         FANCY CREATIONS CO.LTD          132,84      182.958,83   USD
275   Export polished diamonds      201510025      04/04/2014         Sale           FANCY CREATIONS COMPANY LTD       5,85     -167.288,00   USD
276   Export polished diamonds      201510044      15/04/2014         Sale           FANCY CREATIONS COMPANY LTD      57,21   -1.458.421,35   USD
      20-01054-shl               Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                             Exhibit Ex D -
                                                    PWC Forensic Pg 74 of 107

 N°   Description account        Document number Document date Type of transaction   Counterparty                     Carat     Amount Currency
277   Export polished diamonds      201510047      16/04/2014         Sale           FANCY CREATIONS COMPANY LTD      33,40 -849.352,55 USD
278   Export polished diamonds      201510075      12/05/2014         Sale           FANCY CREATIONS COMPANY LTD      23,24 -275.383,32 USD
279   Export polished diamonds      201510193      14/07/2014         Sale           FANCY CREATIONS COMPANY LTD      17,71 -314.700,40 USD
280   Export polished diamonds      201510206      23/07/2014         Sale           FANCY CREATIONS COMPANY LTD      31,93 -440.821,58 USD
281   Export polished diamonds      201510214      30/07/2014         Sale           FANCY CREATIONS COMPANY LTD     333,57 -738.478,86 USD
282   Export polished diamonds      201510216      01/08/2014         Sale           FANCY CREATIONS COMPANY LTD      28,52 -327.078,66 USD
283   Export polished diamonds      201510222      07/08/2014         Sale           FANCY CREATIONS COMPANY LTD     574,14 -342.737,77 USD
284   Export polished diamonds      201510229      14/08/2014         Sale           FANCY CREATIONS COMPANY LTD     316,43 -511.497,91 USD
285   Export polished diamonds      201510250      10/09/2014         Sale           FANCY CREATIONS COMPANY LTD      52,26 -932.863,52 USD
286   Export polished diamonds      201510271      24/09/2014         Sale           FANCY CREATIONS COMPANY LTD      46,53   -64.180,20 USD
287   Export polished diamonds      201510308      16/10/2014         Sale           FANCY CREATIONS COMPANY LTD      21,36 -427.170,80 USD
288   Export polished diamonds      201510316      20/10/2014         Sale           FANCY CREATIONS COMPANY LTD      10,13 -340.603,00 USD
289   Export polished diamonds      201510319      21/10/2014         Sale           FANCY CREATIONS COMPANY LTD   1.777,41 -855.962,38 USD
290   Export polished diamonds      201510391      21/11/2014         Sale           FANCY CREATIONS COMPANY LTD      25,68 -591.850,14 USD
291   Export polished diamonds      201510434      17/12/2014         Sale           FANCY CREATIONS COMPANY LTD      85,76 -437.533,99 USD
292   Export polished diamonds      201510494      28/01/2015         Sale           FANCY CREATIONS COMPANY LTD      75,87 -983.789,83 USD
293   Export polished diamonds      201510570      24/02/2015         Sale           FANCY CREATIONS COMPANY LTD      15,69 -643.018,50 USD
294   Export polished diamonds      201610416      16/12/2015         Sale           FANCY CREATIONS COMPANY LTD   1.454,77 -973.396,20 USD
295   Export polished diamonds      201610419      17/12/2015         Sale           FANCY CREATIONS COMPANY LTD     296,76 -734.457,48 USD
296   Export polished diamonds      201610468      18/01/2016         Sale           FANCY CREATIONS COMPANY LTD     828,88 -995.628,09 USD
297   Export polished diamonds      201610516      02/02/2016         Sale           FANCY CREATIONS COMPANY LTD     366,56 -814.243,07 USD
298   Export polished diamonds      201610539      09/02/2016         Sale           FANCY CREATIONS COMPANY LTD     768,43 -635.129,28 USD
299   Export polished diamonds      201610574      17/02/2016         Sale           FANCY CREATIONS COMPANY LTD     574,64 -946.415,10 USD
300   Export polished diamonds      201700046      20/04/2016         Sale           FANCY CREATIONS COMPANY LTD     952,56 -844.586,64 USD
301   Export polished diamonds      201700071      04/05/2016         Sale           FANCY CREATIONS COMPANY LTD   1.077,27 -590.751,76 USD
302   Export polished diamonds      201700153      02/06/2016         Sale           FANCY CREATIONS COMPANY LTD   2.069,29 -509.727,53 USD
303   Export polished diamonds      201700173      09/06/2016         Sale           FANCY CREATIONS COMPANY LTD   2.125,91 -849.227,46 USD
304   Export polished diamonds      201700235      30/06/2016         Sale           FANCY CREATIONS COMPANY LTD   1.324,65 -975.437,13 USD
305   Export polished diamonds      201700356      30/08/2016         Sale           FANCY CREATIONS COMPANY LTD   1.298,94 -825.887,81 USD
306   Export polished diamonds      201700390      08/09/2016         Sale           FANCY CREATIONS COMPANY LTD     709,17 -987.170,26 USD
307   Export polished diamonds      201700453      04/10/2016         Sale           FANCY CREATIONS COMPANY LTD     662,91 -903.895,36 USD
308   Export polished diamonds      201700545      07/11/2016         Sale           FANCY CREATIONS COMPANY LTD   1.618,02 -949.335,27 USD
309   Export polished diamonds      201700643      09/01/2017         Sale           FANCY CREATIONS COMPANY LTD     904,55 -868.290,14 USD
310   Export polished diamonds      201700800      08/03/2017         Sale           FANCY CREATIONS COMPANY LTD     529,39 -823.434,36 USD
311   Export polished diamonds      201810015      10/04/2017         Sale           FANCY CREATIONS COMPANY LTD   1.288,57 -900.597,69 USD
312   Export polished diamonds      201810349      17/10/2017         Sale           FANCY CREATIONS COMPANY LTD   2.356,34 -827.313,94 USD
313   Import polished diamonds      201510159      20/08/2014       Purchase         SINO TRADERS LTD                 47,76   186.476,58 USD
314   Import polished diamonds      201710439      13/02/2017       Purchase         SINO TRADERS LTD              1.702,85   910.737,73 USD
315   Import polished diamonds      201710471      04/03/2017       Purchase         SINO TRADERS LTD                619,17   645.868,00 USD
316   Import polished diamonds      201810024      20/04/2017       Purchase         SINO TRADERS LTD                898,71   879.119,96 USD
317   Import polished diamonds      201810074      23/05/2017       Purchase         SINO TRADERS LTD              1.644,10   990.048,57 USD
318   Import polished diamonds      201810093      01/06/2017       Purchase         SINO TRADERS LTD              1.096,15   902.142,57 USD
319   Import polished diamonds      201810094      01/06/2017       Purchase         SINO TRADERS LTD              1.306,58   870.621,00 USD
320   Import polished diamonds      201810138      23/06/2017       Purchase         SINO TRADERS LTD              1.111,22   546.995,51 USD
321   Import polished diamonds      201810202      10/08/2017       Purchase         SINO TRADERS LTD              1.848,45   888.282,00 USD
322   Import polished diamonds      201810212      21/08/2017       Purchase         SINO TRADERS LTD              1.944,13   860.079,52 USD
323   Import polished diamonds      201810223      01/09/2017       Purchase         SINO TRADERS LTD              1.160,84   620.039,52 USD
324   Import polished diamonds      201810239      12/09/2017       Purchase         SINO TRADERS LTD              2.014,26   990.124,82 USD
325   Import polished diamonds      201810250      15/09/2017       Purchase         SINO TRADERS LTD                565,89   525.946,62 USD
326   Import polished diamonds      201810263      25/09/2017       Purchase         SINO TRADERS LTD              1.082,38   523.437,60 USD
327   Import polished diamonds      201810291      13/10/2017       Purchase         SINO TRADERS LTD              1.681,89   857.373,28 USD
328   Import polished diamonds      201810298      20/10/2017       Purchase         SINO TRADERS LTD              1.330,76   486.131,00 USD
329   Import polished diamonds      201810310      06/11/2017       Purchase         SINO TRADERS LTD              1.451,92   981.223,00 USD
330   Import polished diamonds      201810333      20/11/2017       Purchase         SINO TRADERS LTD              2.219,26   880.578,68 USD
331   Import polished diamonds      201810342      24/11/2017       Purchase         SINO TRADERS LTD              1.594,59   825.814,46 USD
332   Import polished diamonds      201510131      21/07/2014       Purchase         SUNSHINE GEMS LTD               293,29   325.057,77 USD
333   Import polished diamonds      201510334      02/01/2015       Purchase         SUNSHINE GEMS LTD               166,90   430.017,90 USD
334   Import polished diamonds      201510339      05/01/2015       Purchase         SUNSHINE GEMS LTD               150,45   477.789,92 USD
335   Import polished diamonds      201510354      16/01/2015       Purchase         SUNSHINE GEMS LTD               266,46   979.129,22 USD
336   Import polished diamonds      201610113      07/07/2015       Purchase         SUNSHINE GEMS LTD               426,02 1.281.587,43 USD
337   Import polished diamonds      201610195      02/10/2015       Purchase         SUNSHINE GEMS LTD               238,68   752.644,37 USD
338   Import polished diamonds      201610204      12/10/2015       Purchase         SUNSHINE GEMS LTD               256,85   933.076,93 USD
339   Import polished diamonds      201610218      24/10/2015       Purchase         SUNSHINE GEMS LTD               392,40   920.229,23 USD
340   Import polished diamonds      201610349      11/02/2016       Purchase         SUNSHINE GEMS LTD               425,90   916.156,61 USD
341   Import polished diamonds      201610369      01/03/2016       Purchase         SUNSHINE GEMS LTD               755,96   468.868,60 USD
342   Import polished diamonds      201610382      03/03/2016       Purchase         SUNSHINE GEMS LTD               424,03   604.779,78 USD
343   Import polished diamonds      201610403      14/03/2016       Purchase         SUNSHINE GEMS LTD               285,12   936.110,59 USD
344   Import polished diamonds      201710035      27/04/2016       Purchase         SUNSHINE GEMS LTD               471,73   911.574,96 USD
345   Import polished diamonds      201710066      19/05/2016       Purchase         SUNSHINE GEMS LTD             1.161,76   734.828,77 USD
346   Import polished diamonds      201710086      02/06/2016       Purchase         SUNSHINE GEMS LTD               912,63   750.954,79 USD
347   Import polished diamonds      201710097      13/06/2016       Purchase         SUNSHINE GEMS LTD               930,39   887.064,59 USD
348   Import polished diamonds      201710102      14/06/2016       Purchase         SUNSHINE GEMS LTD             1.055,93   682.188,85 USD
349   Import polished diamonds      201710105      15/06/2016       Purchase         SUNSHINE GEMS LTD               173,69   417.724,45 USD
350   Import polished diamonds      201710120      27/06/2016       Purchase         SUNSHINE GEMS LTD               763,89   588.502,47 USD
351   Import polished diamonds      201710161      20/07/2016       Purchase         SUNSHINE GEMS LTD             1.010,58   484.813,98 USD
352   Import polished diamonds      201710169      26/07/2016       Purchase         SUNSHINE GEMS LTD               552,76   832.218,54 USD
353   Import polished diamonds      201710221      05/09/2016       Purchase         SUNSHINE GEMS LTD               800,10   919.495,36 USD
354   Import polished diamonds      201710237      15/09/2016       Purchase         SUNSHINE GEMS LTD             2.265,78   946.023,98 USD
355   Import polished diamonds      201710242      19/09/2016       Purchase         SUNSHINE GEMS LTD               735,02   879.389,00 USD
356   Import polished diamonds      201710260      27/09/2016       Purchase         SUNSHINE GEMS LTD             1.225,93   549.861,00 USD
357   Import polished diamonds      201710277      07/10/2016       Purchase         SUNSHINE GEMS LTD               499,53   728.217,00 USD
358   Import polished diamonds      201710321      10/11/2016       Purchase         SUNSHINE GEMS LTD             1.448,17   887.786,50 USD
359   Import polished diamonds      201710330      15/11/2016       Purchase         SUNSHINE GEMS LTD               563,46   737.581,82 USD
360   Import polished diamonds      201710395      12/01/2017       Purchase         SUNSHINE GEMS LTD             1.738,59   671.951,00 USD
361   Import polished diamonds      201710396      13/01/2017       Purchase         SUNSHINE GEMS LTD             1.364,50   826.591,00 USD
362   Import polished diamonds      201710415      02/02/2017       Purchase         SUNSHINE GEMS LTD             1.975,16   814.282,00 USD
363   Import polished diamonds      201710423      03/02/2017       Purchase         SUNSHINE GEMS LTD               934,13   545.897,00 USD
364   Import polished diamonds      201710442      14/02/2017       Purchase         SUNSHINE GEMS LTD             1.030,04   866.935,56 USD
365   Import polished diamonds      201710472      04/03/2017       Purchase         SUNSHINE GEMS LTD             1.477,43   915.060,00 USD
366   Import polished diamonds      201810026      20/04/2017       Purchase         SUNSHINE GEMS LTD             1.438,14   987.115,05 USD
367   Import polished diamonds      201810067      19/05/2017       Purchase         SUNSHINE GEMS LTD               359,09   294.453,80 USD
368   Import polished diamonds      201810075      23/05/2017       Purchase         SUNSHINE GEMS LTD             1.568,94   790.963,86 USD
      20-01054-shl               Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                   Exhibit Ex D -
                                                    PWC Forensic Pg 75 of 107

 N°   Description account        Document number Document date Type of transaction   Counterparty           Carat     Amount Currency
369   Import polished diamonds      201810095      01/06/2017       Purchase         SUNSHINE GEMS LTD   1.390,77   768.485,00 USD
370   Import polished diamonds      201810137      23/06/2017       Purchase         SUNSHINE GEMS LTD   1.760,01   720.336,41 USD
371   Import polished diamonds      201810158      08/07/2017       Purchase         SUNSHINE GEMS LTD   1.278,92   512.168,46 USD
372   Import polished diamonds      201810201      10/08/2017       Purchase         SUNSHINE GEMS LTD   1.855,35   964.903,54 USD
373   Import polished diamonds      201810211      21/08/2017       Purchase         SUNSHINE GEMS LTD   1.573,36   763.305,46 USD
374   Import polished diamonds      201810224      01/09/2017       Purchase         SUNSHINE GEMS LTD   1.070,34   996.266,00 USD
375   Import polished diamonds      201810225      01/09/2017       Purchase         SUNSHINE GEMS LTD   1.517,09   750.020,35 USD
376   Import polished diamonds      201810249      15/09/2017       Purchase         SUNSHINE GEMS LTD     711,47   488.456,29 USD
377   Import polished diamonds      201810262      25/09/2017       Purchase         SUNSHINE GEMS LTD   1.815,57 1.007.603,33 USD
378   Import polished diamonds      201810290      13/10/2017       Purchase         SUNSHINE GEMS LTD   1.191,56   635.054,68 USD
379   Import polished diamonds      201810292      14/10/2017       Purchase         SUNSHINE GEMS LTD   2.709,31   966.202,47 USD
380   Import polished diamonds      201810299      23/10/2017       Purchase         SUNSHINE GEMS LTD   1.957,69   998.818,00 USD
381   Import polished diamonds      201810303      01/11/2017       Purchase         SUNSHINE GEMS LTD   2.886,64   990.976,96 USD
382   Import polished diamonds      201810328      16/11/2017       Purchase         SUNSHINE GEMS LTD     790,97   504.932,33 USD
383   Import polished diamonds      201810335      22/11/2017       Purchase         SUNSHINE GEMS LTD   1.407,64   733.197,70 USD
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 76 of 107                          Final report




A.7. Overview additional selection




Project Pietra                                                                31 October 2019
PwC                                                                                        59
      20-01054-shl                Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                              Exhibit Ex D -
                                                     PWC Forensic Pg 77 of 107

N°   Description account        Document number Document date Type of transaction   Counterparty                        Carat        Amount     Currency
 1   Import polished diamonds      201410402      14/03/2014       Purchase         A.JAFFE                          1.885,26    1.510.323,60   USD
 2   Import polished diamonds      201810061      18/05/2017       Purchase         A.JAFFE                              3,64        5.754,12   USD
 3   Export polished diamonds      201810461      14/12/2017         Sale           A.JAFFE                              1,71       -5.757,57   USD
 4   Sales polished diamonds       201310292      29/11/2012         Sale           AJARI GEMS                           2,01       -6.838,02   USD
 5   Import rough diamond          201810114      08/06/2017       Purchase         ALMAZJUVELIREXPORT              63.029,74    8.761.133,86   USD
 6   Sales polished diamonds       201200251      03/11/2011         Sale           ARC TRADING BVBA                   339,63   -1.870.837,57   USD
 7   Purchase rough diamond        201410001      27/05/2013      Credit note       BONAS-COUZYN NV                     93,77   -4.021.063,96   USD
 8   Purchase rough diamond        201410044      27/05/2013       Purchase         BONAS-COUZYN NV                     93,77    3.744.707,95   USD
 9   Purchase rough diamond        201410070      22/05/2013       Purchase         BONAS-COUZYN NV                     93,77    4.021.063,96   USD
10   Export rough diamond          201700736      16/02/2017         Sale           D.NARESHKUMAR EXPORTS PVT LTD   15.922,15   -1.510.811,45   USD
11   Import rough diamond          201610347      10/02/2016       Purchase         DESERT ROSE DIAMONDS DMCC        3.068,32    1.466.656,96   USD
12   Import rough diamond          201810032      27/04/2017       Purchase         DESERT ROSE DIAMONDS DMCC        5.551,31    2.000.000,00   USD
13   Import rough diamond          201810148      28/06/2017       Purchase         DESERT ROSE DIAMONDS DMCC        7.358,46    4.200.710,75   USD
14   Export polished diamonds      201200123      12/07/2011         Sale           DIAMLINK INC.                      197,60   -1.132.878,30   USD
15   Export polished diamonds      201410501      24/02/2014         Sale           DIAMONDS VILLAGE DMCC               62,82   -1.877.827,02   USD
16   Sales polished diamonds       201310229      30/10/2012         Sale           ERANDIAM                             1,70       -6.000,00   USD
17   Export polished diamonds      201510124      30/05/2014         Sale           FANTASY INC                        163,84     -439.276,27   USD
18   Import polished diamonds      201310231      26/11/2012       Purchase         FIRESTAR DIAM (PTY) LTD             13,85      192.751,00   USD
19   Export rough diamond          201410107      12/06/2013         Sale           FIRESTAR DIAMOND (PTY) LTD         227,98   -1.055.766,78   USD
20   Export rough diamond          201610018      03/04/2015         Sale           FIRESTAR DIAMOND (PTY) LTD          20,22      -54.594,00   USD
21   Export rough diamond          201810149      13/06/2017         Sale           FIRESTAR DIAMOND FZE            63.424,07   -8.861.938,09   USD
22   Export polished diamonds      201410170      29/07/2013         Sale           FIRESTAR DIAMOND INTL. INC          21,55   -3.995.000,00   USD
23   Export polished diamonds      201610349      02/11/2015         Sale           FIRESTAR DIAMOND INTL. INC           3,02      -19.500,00   USD
24   Import rough diamond          201210104      04/08/2011       Purchase         FIRESTAR DIAMOND LLC ARMENIA     2.433,83    1.627.051,15   USD
25   Export polished diamonds      201310458      01/03/2013         Sale           FIRESTAR DIAMOND LTD (HK)          252,02   -3.055.678,84   USD
26   Import polished diamonds      201610261      01/12/2015       Purchase         FIRESTAR DIAMOND LTD RUSSIA         24,58      100.000,00   USD
27   Sales polished diamonds       201200036      05/05/2011         Sale           FIRESTAR-ARC BVBA                    5,79      -35.306,02   USD
28   Purchase rough diamond        201210241      12/01/2012       Purchase         FIRESTAR-ARC BVBA                  170,77      677.253,42   USD
29   Export rough diamond          201200160      08/08/2011         Sale           FS DIAMOND PTY LTD                 434,09     -232.226,44   USD
30   Purchase rough diamond        201410088      17/07/2013       Purchase         GITANJALI RESOURCES BVBA         4.242,20    1.522.381,97   USD
31   Purchase rough diamond        201610021      17/04/2015       Purchase         GONDO NV                             1,10        7.532,80   USD
32   Sales polished diamonds       201610648      21/03/2016         Sale           HARMONY GEMS BVBA                    4,94       -6.598,55   USD
33   Sales rough diamond           201410420      07/01/2014         Sale           JAIANCO BVBA                      -854,35    2.190.000,00   USD
34   Sales rough diamond           201410420      07/01/2014         Sale           JAIANCO BVBA                       854,35   -2.190.000,00   USD
35   Sales rough diamond           201810156      16/06/2017         Sale           KIRAN EXPORTS BVBA              16.870,59   -3.075.887,61   USD
36   Sales rough diamond           201810230      19/07/2017         Sale           KIRAN EXPORTS BVBA               2.790,05   -1.352.931,72   USD
37   Sales rough diamond           201700645      10/01/2017         Sale           KOMAL GEMS NV                   14.527,83   -2.403.000,00   USD
38   Purchase rough diamond        201810367      11/01/2018       Purchase         M.S.D. NV                          722,58    1.120.000,00   USD
39   Sales polished diamonds       201510292      10/10/2014         Sale           MY DEAR DIAMONDS BVBA                1,83       -6.595,32   USD
40   Sales rough diamond           201810482      16/01/2018         Sale           N.SHAH & CO BVBA                 3.262,40   -1.309.130,72   USD
41   Import rough diamond          201510252      21/10/2014       Purchase         NEESHAL MERCHANDISING PVT LTD    1.878,24      472.069,18   USD
42   Purchase rough diamond        201410146      18/09/2013       Purchase         NIPUR BVBA                       3.804,57    1.672.840,20   USD
43   Purchase rough diamond        201610257      30/11/2015       Purchase         NIPUR BVBA                       2.265,54    2.508.587,13   USD
44   Purchase rough diamond        201710349      28/11/2016       Purchase         NIPUR BVBA                       2.173,15    2.846.939,34   USD
45   Export rough diamond          201810506      23/01/2018         Sale           NIRAV GEMS                         427,79      -75.585,54   USD
46   Import polished diamonds      201310352      24/03/2013       Purchase         PACIFIC DIAMONDS FZE               122,03    1.818.986,34   USD
47   Sales polished diamonds       201810238      24/07/2017         Sale           PANNADIAM BVBA                     731,45   -1.376.820,02   USD
48   Export polished diamonds      201200239      26/10/2011         Sale           R.E.S.DIAMONDS LTD                 469,42   -1.221.031,32   USD
49   Sales polished diamonds       201810169      20/06/2017         Sale           RELIANCE BVBA                       12,00       -6.000,00   USD
50   Purchase rough diamond        201710275      07/10/2016       Purchase         SELECT DIAMOND COMPANY           6.865,78    1.352.118,00   USD
51   Sales rough diamond           201510626      17/03/2015         Sale           SHRENUJ NV                       2.165,16   -1.125.883,20   USD
52   Purchase rough diamond        201710437      13/02/2017       Purchase         SIMPLY SPARKLING BVBA            2.168,84    1.918.435,75   USD
53   Purchase rough diamond        201510197      23/09/2014       Purchase         SKYDIAM BVBA                     1.029,20    1.750.000,00   USD
54   Import rough diamond          201610413      16/03/2016       Purchase         TRI COLOR GEMS FZE               3.041,02    1.507.704,47   USD
55   Export polished diamonds      201410126      01/07/2013         Sale           UNIVERSAL FINE JEWELRY FZE          10,20   -1.599.849,09   USD
    20-01054-shl   Doc 56-6   Filed 10/15/20 Entered 10/15/20 22:39:07   Exhibit Ex D -
                               PWC Forensic Pg 78 of 107                          Final report




A.8. Extract allegation file




Project Pietra                                                                31 October 2019
PwC                                                                                        60
20-01054-shl       Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                    Exhibit Ex D -
                                   PWC Forensic Pg 79 of 107




     Firestar Diamond BVBA
                                                                                       Amount in USD
                                      Import          Fund Out           Export            Fund In
     Auragem Company Ltd               695,578.86                -     56,949,726.30     56,949,726.30
     Brilliant Diamonds ltd         68,574,953.82    66,416,205.12                -         142,753.80
     Eternal Diamonds Corp. Ltd     75,119,791.76    67,917,057.05                -       1,680,969.58
     Fancy Creations Comp Ltd       34,466,226.92    25,830,3 73.39    17,231,147.85     17,231,147.85
     Sino Traders Ltd                          -                 -     14,371,155.28     10,064,997.26
     Sunshine Gems Ltd                         -                 -     39,477,650.66     33,640,865.19
                                   178,856,551.36   160,163,635.56    128,029,680.09    119,710,459.98

                                                                              ..V
20-01054-shl      Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                       Exhibit Ex D -
                                    PWC Forensic Pg 80 of 107



    Summery of Hong Kong companies transactions with Solar E~<ports, Stellar Diamonds & Diamonds "R" US
    For the period of 2010 to 31-Mar-2018
                                                                                                  Amounts in USD
                                                                       Solar Exports
              Company Na me
                                            Import            Fund Out               Export            Fund In
    Auragem Company Ltd                  283,966,400.00      92,783,708.00        469,599,072.70     391,515,124.31
    Sino Traders Ltd                      55,261,250.00      49,336, 7_80.00      121,291,856.4 1    115,360,518.46
    Sunshine Gems Ltd                    256,111,620.00      78,945,504.00        274,417,350.53     185,653,687.92
    Brilliant Diamonds ltd               153,125,825.00     153,125,82.5.00       U6,118,719.97      126,118,719.97
    Eternal Diamonds Corp Ltd            234,148,478.99     234,148,478.99         16,573,916.22      16,573,916.22
    Fancy Creations Company Ltd           71,811,150.50      71,821,130.00        120,784,678.61     120,784,678.61
                  Total                1,054,424,724.49    680,161,525.99 1,128,785,594.44           957,006,645.49



                                                                   Stellar Diamonds
            Company Name
                                          Import             Fund Out             Export              Fund In
     Aurage m Company Ltd                56.289,180.00       50,094,750.00     285,041,799.14       279,064,982.10
     Sino Traders Ltd                   263,087,770.00       85,191,362.00     340,121,292.00       261,967,045.42
     Sunshine Gems Ltd                  278,745,827.00       97,841,921 .00    288,477,810.38       204,908,585.16
     Brilliant Diamonds Ltd             144,350,148.82      144,350,148.82     127,520,321.53       127,520,321.53
     Eternal Diamonds Corp Ltd          197,537,942.24      197,537,942.24          25,471.17            25,471.17
     Fancy Creations Company ltd         65,208,887.00       65,208,887.00     104,031,500.82       104,031,500.82
                   Total              1,005,219, 755.06     640,225,011.06 1,145,218,195.04         977,517,906.20



                                                                    Dia monds R US
             Company Name
                                          Import             Fund Out             E><port              Fund In
     Auragem Company Ltd                284,517,300.00       98,775,485.00     424,314,854.00        362,038,088.78
     Sino Traders Ltd                   30&,037,370.00      10&,963,35&.00     358,257 ,620. 95      262,656,114.86
     Sunshine Gems Ltd                   56,677,130.00       50,546,520.00      67,344,825,05         61,454,315.94
     Brilliant Diamonds Ltd             149,677,055.56      149,677,055.56     355,277,131.74        355,277,131.74
     Eternal Diamonds Corp Ltd          324,582,662.97      324,582,662.97       5,863,269.10          5,863.269.10
     Fancy Creations Company Ltd         65,273,168.00       65,273,168.00      93,898,151.63         93,898,151.63
                   Total              1,186,764,686.53      795,818,247.53 1,304,955,852.47        1,141,187,072.05

               GrandTotai             3,246,409,166.08    2,116,204,784.58    3,578,959,641.95     3,075,711,623.74
20-01054-shl          Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                           Exhibit Ex D -
                                        PWC Forensic Pg 81 of 107


                                                SINO TRADERS LIMITED
                                                '13·8, WORLD TRUST TOWER
                                                     50 STANLEY STREET
                                                    CENTRALHONGKONG
                                           Firestar Diamond BVBA-Customer
                                                        Ledger Account
                                                     Hoveninerssllaal 53,
                                                   1st Floor, Room 114/120,
                                                   Bus 36, Antwerpen 2018
                                                            Belgium

                                                   1-Apr-2011 to 31 -Mar-2018
                                                                                                                           r:>ag_e 1
        Date          Particulars                       VchType                   Vch No.                 Debit            Credit
    20-8-2014 To Sales                                  Sales                             249       186,476.58
    16-9-2014 By Wing Lung USD Account                  Receipt                           261                         186.476,58
                                                                                                   186,.4 76 .58      188,4 76.68
   13-2-2017  To Sales                                  Sales                              194     910,737 73
    4-3-2017  To Sales                                  Sates                             307      645.868,00
    9-3-2017  By Sino Pac     Current Acc ount (USD)    Receipt                           159                         910,737 73
   28-3-2017  By Sino Pac     Current Account (USD)     Receipt                           163                         645,868.00
   20-4·2017  To Sales                                  Sates                             567      879,119.96
   23-5-2017  To Sales                                  Sates                             756      990,048.57
   31-f>-2017 To Sales                                  Sales                             780      902,142.57
    1-6-2017  To Sales                                  Sales                             784      870,621 .00
   23-6-2017  To Sales                                  Sales                             615      546,995.51
   28-6-2017  By Sino Pac     Current Account (USD)     Receipt                           331                         879,11996
   29-6-2017  By Sino Pac     Current Account (USD)     Receipt                           334                         539,11 9,96
   t0-7-2017  By Si no Pac    Current Account (USD)     Receipt                           355                         503,128 61
   11-7-2017  By Sino Pac     Current Account (USD)     Receipt                           358                         850,057 43
   16-7-2017  By Sino Pac     Current Account (USD)     Receipt                           379                         520,621.00
   19--7-2017.By Sino Pac     Current Account (USD)     Receipt                           382                         350,000.00
   10-8-2017  To Sales                                  Sales                             903      888,282.00
   18-8-201 7 By S ino Pac    Current Account (USD)     Receipt                           443                         546.995 51
   21-8-2017  To Sales                                  Sales                             921      860,079.52
   31-B-2017  To Sales                                  Sales                             945      620,039.52
              By Sino Pac     Current Account (USD)     Receipt                            465                      1,200,361 52
    12-9-2017 To Sales                                  Sales                              969      990,124 .82
    15-9-2017 To Sales                                  Sales                              981      525,946.62
    25-9-2017 To Sales                                  Sales                             1007      523,437.60
                                                                                                 10,153,443.42      6,946,009.72
                 By      Closing Balance                                                                            3 207.433.70
                                                                                                 10,153,443.42     1 0,153,443 .4 ~
   1-10-2017 To Opening Balance                                                                   3,207 ,433.70
   13-10-2017 To Sales                                  Sales                              10       857,373.28
   23-10-2017 To Sales                                  Sales                               16      486,131 00
   6-11-2017 To  Sales                                  Sales                              34       981,223.00
   20-11-2017 To Sales                                  Sales                              42       860,578 .68
   24-11-2017 To Sales                                  Sales                              46       825,8 14 46
   1-12-2017 To  Bank Charges                           Journal                            16            11 4.66
   12-12-2017 By Sino Pac Current Account (USD)         Receipt                            69                         548.000.00
   15-12-2017 By Sino Pac Current Account (USD)         Receipt                            77                         525,946 .62
              By Sino Pac Current Account (USD)         Receipt                            78                         620,039.52
   27-12·2017 By Sino Pac Current Account (USD)         Receipt                 ~ ,        94                         990.124.82


                                                          c_y .J~
                         earned Over                                                              7,238,668.98      2,684,110.96
                                                                                      \
                                                               ~ l~~~"'-T t..r                                       contmued ..
20-01054-shl     Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                       Exhibit Ex D -
                                 PWC Forensic Pg 82 of 107



                                                                                                        \A~ti~~2
   SINO TRADERS LIMITED
   F~e~tar D1amond BVBA-Customer Ledger Account   1-Apr-2011 to 31-Mar-2018
       Date      Partlcu la~                      Vch Type                Vch No.              Debit           Credit
                    Brought Forward                                                     7,238,668.98     2,684,110 96

    9-2-2018 By Sino Pac Current Account (USD)    Receipt                     161                         248,400 00
                                                                                        7,i38,668.9B     2,932,510.96
            By      Closing Balance                                                                      4,306,168.02
                                                                                    -   7,23 8,ss8.98    7,23'8,668.98
20-01054-shl                     Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                                   Exhibit Ex D -
                                                    PWC Forensic Pg 83 of 107




  71XY'iQ14


      Docs to be printed in 2 sets and to be signed                                             by Ashish Lad
      :,hyam Wadhwa
      Sent:              Wednesday, July 30, 2014 1: L2 PM
      To:                1,1< 'i ll)at~ t11l1yl
      Cc:                t   umn ' 1.11 h•·vr.
      Attachments:           J   S!gn!Jv 1'1•. lpti.!XIf%E> ·60%8E (J MB<-;t2-llo80%8El' · ~·       I' •••'


      Dear Oill'y'eSh,

      Please do the needful per Instructions given below :-

      I. Take print of attached documents in 2 sets (take print in 2 copies).

      fi, Get AshtSh lad Signature on these documents per
      1. Director's wntten resolution fOf allotment or shares;
      2. Form SCl (sign on page 4};
      3. Letter for application for 7,990,000 shares;
      4. Blank Instrument of Transfer for 7,990,000 share.s;
      5. form NARl (srgn on page 7).

      lll.In some forms, there is requirement of signature to be witnessed which Is also to be arranged by a:iking
      witness to sign with name and address.

      N. Keep entlre set of documents with you till my further instructions. (There are some other documents which
      will courlered for adding along with the attached Sunshine docs).

       V Post receipt of lhose docs and my mall instruction, you will have to submit to Ms. EMMA at u.L at later date.

       Don't hesitate to call me If there is confusion and ensure signing of these docs.

       Regards,

       S.V.Wadhwa




   hllps11g ola .penemdl.carla.W?a,-1\em&t-IPM .Note&lcl" RgAAAAC~q t9VI!nTqAP8JrPqpa08wtiFI<Ap6y.l(VIITuk1«0%2bGcOicAtrq8GIIJJAAAFK4p5YkO..   111
20-01054-shl        Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                       PWC Forensic Pg 84 of 107


                                                  SUNSHINE GEMS
                                        306-A208, 3/F, HARBOUR CENTRE TOWER 1
                                                 1 HOK CHEUNG STREET
                                                  HUNG HOM KOWLOON

                                              Firestar Diamond BVBA
                                                     Ledger Account
                                               Hoven1ersstraat 53. 1st Floor,
                                                 Room 1141120-Bus 36,
                                                Antwerpen 2018. Belgium

                                                 1-Apr-2011 10 31-Mar-2018
                                                                                                                     Page 1
        Date- - -Particuiars
                          --                         v"Ch Type                  ---vchNo.-          Debit            Credit
    21 ·7-2014 To Sales                               Sales                           74      325.057 77
     2-8-201 <1 By Hang Seng Bank (USO)               Receipt                         67                        325.057.77
                                                                                              325,057 .7?_ ·--- ~_;5,057. 77
   30·12-2014 To Sales                                Sales                           42      477,789.92
     2-1-2015 To Sales                                Sales                           43      430,017.90
    16-1-2015 To Sales                                Sales                           44      979,129.22
    21+2015 By Hang Seng Bank (USD)                   Receipt                         43                        477,789.92
    29-1-2015 By Hang Seng Bank (USD)                 Receipt                         49                        430.017.90
    30-1-2015 By China Citic Bank USD                 Recei pt                        50                        979.129.22
     7-7-2015 To Sales                                Sales                          259     1,28, ,587.43
    16-7- 2015 By China Cltic Bank USD                Receipt                        173                        781,587.43
    20-8·2015 By China Citic Bank USO                 Recei pt                       215                        500,000.00
                                                                                             .j,16B,624.47    3,1 68,624 .~?.
    2-10-2015    To Sales                             Sales                            1      752,644.37
    12- I0-20 1S To Sales                             Salus                           29      933,076.93
    24-10·2015 To Sales                               Sa les                          40      920,229.23
    30-10·2015 By China Cltic Bank USD                Recei pt                        12                        987,500.00
    2-11-2015 By China Citic Bank USD                 Receipt                         13                        698,221 30
    5-1 1·2015 By China Citlc Bank USO                Recei pt                        14                        290,997.34
    9-11 -201 5 By China Cltlc Bank USD               Recei pt                        17                        629,231.89
    11 -2-2016 To Sales                               Sales                          176      916,156.61
    24·2-201 6 By China Cltic Bank USD                Receipt                         90                        748,975.00
    29..2-2016 To Sales                               Sales                          209      468,868.60
      3·3-2016 To Sales                               Sa les                         214      604,779.78
    14-3 ·2016 To Sales                               Sales                          232      936.110.59
    2 1-4·2016 By China Citlc Bank USO                Recei pt                       133                        801 ,680.00
    25-4 ·2016 By China Cltlc Bank USD                Receipt                        137                      1,3/5,260.58
    27-4-2016 To Sales                                Sales                          269      91 1,574.96
      6-5-2.0 16 By China Clt ic Bank USD             Receipt                        152                        911,574.96
    19-5-2016 To Sales                                Sales                          367       734,828.77
    25-5-2016 By China Cit ic Bank USO                Receipt                        192                        734,828.77
      2..6-2016 To Sales                              Sale5                          413      750,954.79
    13-6-2016 To Sales                                Sales                          432      887.064.59
    14-6-2016 To Sales                                Sales                          436      682,188.85
    15-6-2016 To Sales                                Sales                          440      417,724.45
     16-6-2016 By China Citic Bank USD                Receipt                        210                        239,985 oc
                 By China Clfic Bank USD              Receipt                        211                        510,969. 7~
    27-6-2016 To Sales                                Sales                          466       588,502.47
      4-7-2016 By China Citlc Bank USD                Receipt                        239                        187,064,5£
      6-7·2016 By China Citic Bank USD                Rece ipt                       242                        342.400, 8~
    15-7-2016 By China Cltlc Bank USO                 Receipt                        252                        318.000.0(
    20-7-2016 To Sales                                Sales                          512      484,813.98
                       Carried Over                                                        10,989,518 97      8.776,690 Oi

                                                                                                               continued "
20-01054-shl            Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                         Exhibit Ex D -
                                           PWC Forensic Pg 85 of 107


   SUNSHINE GEMS                                                                                                         (!Y
   Firestar Dtamond BVBA Ledaer Account          1-Apr-20 11 to 3'1-Mar-201_~ _                                     \ '\        Page2
                                                                                  -                 ---
        Date      Particulars                              Vch Type                   Vch No. -            Debit                Credit
                           Brought Forward                                                         10,989,516.97         6,776,690.07

   26-7-2016     To   Sales                               Sales                           532         832.216.54
    5-8-2016     By   China Cltlc Bank USD                Receipt                         268                               849,512.45
   15-8-2016     By   China Cillc Bank USD                Receipt                         278                               588,502.47
   17-8-2016     By   China Citic Bank USD                Receipt                         284                               650,000 00
                 By   China Citic Bank USD                Receipt                         285                               811.975.00
    1-9-2016     By   China Cltlc Bank USD                Receipt                         314                               145,000 00
                 By   Bank Charges                        Journal                         118                                    57 52
    5-9-2016     To   Sales                               Sales                           643         919,495.36
   15-9-2016     To   Sales                               Sales                           663         946,023.98
   19-9-2016     To   Sales                               Sales                           668         679,389.00
                 By   China Citlc Bank USD                Receipt                         333                               470,550 00
   27-9-2016     To   Sales                               Sales                           68 1        549,861 .00
                                                                                                 - f5,116,S06]5         12,292,287.51
                 By        Closing Balance                                                                               2,824 ,219 .34
                                                                                                                    -
                                                                                                 - 15.11 6,506.85       15~116,506.85
   1-10-2016 To Opening Ba_iance                                                                    2,824,219.34
   t-10-2016 To Sales                                     Sales                             7         728,217.00
   14-10-2016 By China Citlc        Bank USD              Receipt                          20                            1,692,569.34
   19-10·2016 By China Citic        Bank USO              Receipt                          27                              581,789 DO
              By China Citl c       Bank USO              Receipt                          29                              583,117 DO
   10.11-2016 To Sales                                    Sales                            29         887,786,50
   15-11-2016 To Sales                                    Sales                            32         737,581 .82
   16-11·2016 By China Citic        Bank USD              Receipt                          48                              548,570 00
   22-11-2016 By China Cltlc        Bank USD              Receipt                          52                              297,546 74
   28-11-2016 By China Citic        Bank USO              Receipt                          56                            1.000,000 00
   2·12-2016 By China Citic         Bank USD              Rece ipt                         62                              474 ,212 58
   12-1-2017 To Sales                                     Sales                           123         67 1.951 00
   13-1-2017 To Sales                                     Sales                           125         826,591.00
    2-2-2017 To Sales                                     Sales                           150         814,282.00
    3·2-2017 To Sales                                     Safes                           157         545,897.00
                 By   China    Citi c Bank USO            Receipt                         107                            1 '100,542 00
   13·2-2017     By   China    Clti c Bank USD            Receipt                         115                               600.000 00
   14-2-201 7    To   Sales                               Sales                           192         866,935.56
    4-3-2017     To   Sates                               Sales                           304         915,060.00
   10-3-2017     By   China    Citlc Bank USD             Receipt                         151                              750,000 00
   24·3-2017     By   China    Citic Bank USD             Receipt                         170                            1.199,000 00
                 By   China    Citlc Bank USD             Receipt                         173                              991 .174 56
   20-4-2017     To   Sales                               Sa.les                          566        987,1 15.05
   19-5-2017     To   Sales                               Sales                           744        294,453.80
   23-5-2017     To   Sales                               Sales                           759        790,963.86
     1·6-2017    To   Sales                               Sales                           777        768.485.00
     5-6-2017    By   China    Cltlc Bank USD             Receipt                         280                               987,115 05
   14-6-2017     By   China    Citlc Bank USt>            Receipt                         306                               650,417 66
   20·6-2017     By   China    Citic Bank USD             Receipt                         321                               435.000.00
   23-6-2017     To   Sales                               Sales                           798         720,336.4 1
    8-7-2017     To   Sales                               Safes                           818         512.168 46
   17-7-2017     By   China    Citic Bank USD             Receipt                         356                            1,199,821 41
     1·8·201 7   By   China    Citic Ban k USD            Receipt                         373                              289,000 00
   10-8-2017     To   Sales                               Sales                           874         964,903.54
   18-8-2017     By   Ch fna   Citic Bank USD             Receipt                         408                               512,168.46
   2 1-8-2017    To   Sales                               Sales                           899        763,305.46
                           Carried Over
                                                                      ~g ·                         15,620,252.80        13,892,043 80


                                                                                                                           continued ...
20-01054-shl        Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                    PWC Forensic Pg 86 of 107

   SUNSHINE GEMS
   P!!._e_star Diamond BVBA Ledger Account : 1-A!)r-2011to 31-Mar-2018                              \ {!;2\   Pag_e 3
          Date       Particulars                       Vch Type          Vch No.           Debi t             Credit
                      Brou,ght Forward                                             15.620,252.80     13,892,Q43,80

   28-8-2017 To Sales                                 Sales                  913      996.266.00
   31-8-2017 To Sales                                 Sales                  917      7 50,020.35
   15-9-2017 To Sales                                 Sales                  953      488,456 29
   25-9-2017 To Sales                                 Sales                  975    1,007,603.33
                                                                                   18.862,598.77     13,892,043.80
              By      Closing Balance                                                                 4,970,554.97
                                                                                   18,8-62;598.77    1a:asz.ssa.n
   1·10·2017 To    Opening Balance                                                  4,970,554.97
   13-10-2011 To   Sales                              Sales                   10      635,054.68
   14-10..2017 To  Sales                              Sales                   11      966,202.47
   17-10-2017 By   China Citic Bank USD               Receipt                 12                         850.000,00
   23-10-2.017 To  Sales                              Sales                   16      998,818.00
   1-1 1·2017 To   Sales                              Sale.s                  26      990.976 96
   16-11.2017 To   Sales                              Sales                   38      504,932 33
   22-11-2017 To   Sales                              Sales                   48      733,197 70
                By China Citic Bank USO               Receipt                 37                         750,020.35
    27-11·2017 By China Citic Bank USO                Receipt                 40                         878,209 00
    11-1 2-2017 By China Citic Bank USD               Receipt                 53                         996,266.00
     2-2-2 018 By China Citlc Bank USO                Receipt                145                         488,456 29
                                                                                    9,799.737.11      3,962,951 .64
              By      Closing Balance                                                                 5,836.785.47
                                                                                    9,799,737.1 1      9,799,737: ~1
20-01054-shl           Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                        PWC Forensic Pg 87 of 107


                                                  Brilliant Diamonds
                                                Firestar Diamond BVBA                                     ,\~'1/
                                                        Ledger Account


                                                  1-Apr-2011 to 31-Mar-2017
                                                                                                                  Page 1
        Date                                            _Y_,c h ~~pe
    1~-2011      By
                       Particulars
                      ---   - ---   -·-- - -- -
                       Opening Balance
                                                                              Vch No.            Debit            Credit
                                                                                                           1,894,979.22
   2.3-6-2011    By Purchase · Cut & Polished            Purchase                 123                        907.066.60
    1-7-2011     By Purchase - Cut & Polished            Purchase                 131                      1.370,301 60
    5-8-2011     By Purchase - Cut & Polished            Purchase                 179                      1,023.534 10
    8-8-2011     By Purchase- Cut & Polished             Purchase                 '183                     1,696,507 31
   12-8-2011     By Purchase - Cut & Polished            Purchase                 191                        760.832. 73
   31-8-2011     By Purchase • Cut & Polished            Purchase                 219                      1.175.079.85
   12-9-201 1    To HSBC USD SAV-A/C (817-372931-838)    Payment                  554       995,000,00
                 To HSBC USD SAV-A/C (817-372931-838)    Payment                  556     1,037,847.65
   19-9-201 1    By HSBC USD SAV-A/C (611-372931-838)    Receipt                  145                       137.861 49
   20-9-201 1    By Purchase • Cut & Polished            Purchase                 251                       844,104..35
   21-9-2011     To HSBC USD SAV-NC (817-372931-838)     Payment                  579      907,068.80
   28-9-2011     By Purchase - Cut & Polished            Purchase                 262                      1.048.993.20
   30-9-201 1    To HSBC USD SAV-AJC (817-372931-638)    Payment                  619     1,370,301.80
   4- 11 -2011   To HSBC USD SAV·AIC (817-372931-838)    Payment                  752     1.023,534 10
   i-12-2011     To HSBC USD SAV-NC (817-372931 -838)    Payment                  840     1.175,079.85
   7-12-201 1    By Purchase -Cut & Polished             Purchase                 328                      1,082.456.55
   29-12-2011    To HSBC USO SAV-A/C (817-372931-838)    Payment                  944     1,698,507.31
   30-12..2011   To HSBC USD SAV-A/C (817-372931-838)    Paymenl                  949     1,048,993.20
   13-1-2012     To HSBC USD SAV-NC (817-372931-838)     Paymen t                 977       481,000.00
   17-1-2012     To HSBC USD SAV-A/C (811·372931-838)    Payment                  986       300,000.00
   26-1-2012     By Purchase - Cut & Polished            Purchase                 364                       448,840:55
   10-2-2012     To HSBC USD SAV-A/C (817-372931-838)    Payment                 1062      262,161 .81
   14-2-2012     To HSBC USD SAV-A/C (817-372931-838)    Payment                 1073      561,957.54
   31-3-2012     By Bank Charges                         Journal                  125                            209.2 1
                                                                                         10.881,472 06    12,412,769 16
                 To      Closing Balance                                                  1,531,297.10
                                                                                         12,412,769.16    12,412,769.16
    1-4-2012 By Opening Balance                                                                            1 ,531 ,297.10
     2-5-20'1 2 To HSBC USD SAV-A/C (817-372.931-838)    Payment                   76     1.082.456.55
   12-5-2012 By Purchase . Cut & Polished                Purchase                  34                      1,757,102 15
   24-5-2012 By Purchase. Cut & Polished                 Purchase                  38                      1,688,903 37
     2-6-2012 By Purchase- Cut & Polished                Purchase                  40                      1 ,370,455 19
   t 0-6-2012 By Purchase . Cut & Polished               Purchase                  46                         980.1 46.45
   15-8-2012 To HSBC USD SAV-A/C (817-372931-838)        Payment                  163      448,840.55
   21--6-2012 By Purchase • Cut & Polished               Purchase                  55                      1,728.656.30
     1-8-2012 By Purchase - Cut & Polished               Purchase                  79                      1 ,183,109. 36
   10-B-2012 By Purchase. Cut & Polished                 Purchase                  62                         243,331 .85
   18-8-2012 By Bank Charge - Outward                    Journal                   83                            791 .59
   30-8-2012 To HSBC USD SAV-A/C (817-.372931 -838)      Payment                  375      980.146 45
   15-9-2012 By Purchase - Cut & Polished                Purchase                 121                      1,440,692.86
   25-9-2012 To HSBC USD SAV-A/C (817·372931-838)        Payment                  438     1 ,373,936.33
   21-9-2012 To HSBC USO SAV-A/C (817-372931-838)        Payment                  450     1 ,893,680 63
   28·9-2012 By Purchase • Cut & Polished                Purchase                 135                        384,563.75
   29-9-2012 By Purchase -Cut & Polished                 Purchase                 136                        298,713.0C
   5-10-2012 To HSBC USC SAV-AJC (817-372931 -838)       Payment                  479     1,757, 102 15

                         earned over                                                      7,536,162 66    12 ,807,962.9i

                                                                       y3 ·                                 continued ..
20-01054-shl              Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                            PWC Forensic Pg 88 of 107

   Brilliant Di amonds
   Fire~tar Diamond 8'@~. Ledger ~ccounl          1-Apr-2011 to 3 1 -M~~-~17 _   _____
                                                                                                                   1?
                                                                                                                  \\     .    pa_ge 2
         Date      Particulars                             Vch Type                Vch No,              Debit                  Credit
                            Brought Forward                                                     7,536,162.66      12,807,962.97

   17-10-2012    By     Purchase - Cut & Polished             Purchase                 153                             150,981 .52
   9-11-2012     T'Cl   HSBC USD SAV-AIC (817-372931-838)     Payment                  596      1,728.656.30
   15-11-2012    By     Purchase- Cut & Polished              Purchase                 175                             604,49111
   13-12-2012    To     HSBC USD SAV-AIC (817-372931-83 8)    Payment                  697        483, 109.36
   20-12-2012    To     HSBC USD SAV-A/C (817-372931 -838)    Paymen t                 706        700,000.00
   21-12·2012    By     Purchase- Cut & Polished              Purchase                 208                             731,600 96
   22·12-2012    By     Purchase. Cut & Polished              Purchase                 212                             711,662.25
   28-12-201 2   To     Firestar Diamond BVBA                 Journal                  153             209.21              209.21
    2-1-2013     By     Purchase - Cut & Polished             Purchase                 221                             804,71 4 72
    3·1·2013     To     HSBC USO SAV·A/C (81 7-372931-838)    Payment                  752        243,995.18
    9-1·2013     By     Purchase - Cut & Polished             Purchase                 226                             893.063 75
                 To     HSBC USD SAV-AIC (817-3729 31-838)    Payment                  784      1,444,550 09
   10·1-2013     By     Purchase - Cut & Polis hed            Purchase                 228                             323,731 .74
   23-1-2013     To     HSBC USO SAV·AIC (817-3729 31-838)    Payment                  810        384,563.75
                 By     Purchase - Cut & Polished            ·purchase                 243                              480,762.04
   24-1-2013     To     HSBC USO SAV-A/C (817-372931 -838)    Payment                  81 3       299,514.78
   31-1-2013     By     Firestar Diamond BVBA Sale            Journal                  175                                   7,600.84
   14-2-2013     To     HSBC USO SAV-A/C (817-372931-83 8)    Payment                  877        150,981 .52
   16-2-2013     By     Purchase. Cut & Polished              Purchase                 267                             904,460.98
    1-3-2013     By     Purchase • Cut & Polished             Purchase                 280                             4 14,659.02
    8-3-2.013    To     HSBC USD SAV-AIC (817-372931·838)     Paymen t                 935        604, 491. 11
    9-3-2013     By     HSBC USD SAV-A/C (817-372931·838)     Receipt                  205                                   4,892.31
   31·3·2013     To     Bills Payable Account                 Journal                  197      2.502,272.25
                                                                                               16.078,506.21      18,840,985 42
                 To         Closlng Balance                                                     2,762, 479.21
                                                                                               18,840,985.42      18, 840,985.42
   1-4·2013 By Opening Balance                                                                                     2,762,479.21
    1-4-2013 By Bills Payable Account                        Journal                      3                        2,502,272.25
    4-4-2013 By Purchase- Cut & Polished                     Purchase                     3                        1,101 ,909.55
    6-4-2013 By Purchase - Cut & Poll shed                   Purchase                     5                          865,676.37
              By Purchase - Cut & Polished                   Purchase                     6                          6 14.760.00
   17·"1-2013 By Purchase . Gut & Polished                   Purchase                   21                             686,555.30
   24-4-2013 To HSBC USO SAV-AIC (817-372931-838)            Payment                    74        731,696.96
   30-4-2013 To HSBC USO SAV-A/C (817-372931-838)            Paymen t                   94        711 ,662.25
              To HSBC USD SAV-A/C (817-372931-838)           Payment                    96        804 ,71 4 .72
    3-5-2013 To HSBC USO SAV-A/C (817-372931-838)            Payment                   102        895,351.41
              To HSBC USO SAV-A/C (817-372931-838)           Paymen t                  103        324,596.07
   21-5·2013 To HSBC USD SAV-A/C (817-372931-838)            Payment                   149        482,018.95
   22-5-2013 By Purchase- Cut & Polished                     Purchase                   56                             599,843.32
   25-6-2013 To HSBC USD SAV-AIC (817-372931-838)            Payment                   270        644,460.98
   26·6·2013 To HSBC USD SAV-A/C (817-372931 -838)           Paymen t                  273        260,000. 00
    9-7-2013 To HSBC USD SAV-A/C (817-372931 -83 8)          Paymen t                  296        414,659.02
   11-7-2013 By Purchase. Cut & Polished                     Purchase                  133                             278,302.98
   18-7-2013 To HSBC USO SAV-AIC (81 7-372931-83 8)          Payment                   362      1,200,315 30
   20-7-2013 By Purchase- Cut & Polished                     Purchase                   145                          160,812.43
              By Purc hase - Cut & Polished                  Purchase                  '1 46                         158,253.50
              By Purchase· Cut & Polished                    Purchase                   147                        1,091,996.14
   29·7·2013 To HSBC USD SAV-A/C (817 -372931 -83 8)         Paymen t                  401         66,235 00
   22-8-2013 By Purchase . Cut & Polished                    Purchase                   181                            394,783.28
   29-8 2013 To HSBC USD SAV-A/C (81 7--372931 -838)         Payment                   505           34,835.00
              To HSBC USD SAV-A/C (817-372931-838)           Paymen t                  507      1 ' 101,909.55
                            Carried Over                                                        7,672,455.21      11.217,644.33

                                                                         ~ -                                           continued
20-01054-shl           Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                        PWC Forensic Pg 89 of 107


   Brilliant Diamonds                                                                                         \fb,~
   Fir~ Diamond BVBA Ledger Account
         Date
                                                  1-Aer-201 1 to 3 1-Mar-2017                                 -~- Paae~
                  Particulars                               Vch Type            Voh No               Debit             Credit
                          Brought Forward                                                    7,672,455.21     11,2 17,644 33

   29-8-2013 To      HSBC lJSD SA.V-A.IC (817-372931-838)   Payment                508         865,676,37
               By    Purchase • Cut & Polished              Purchase               195                           176.007 23
   30-8-2013 By      Purchase . Cut & Polished              Purchase               205                           452,961 20
   19-9-2013 To      HSBC USD SAV-AIC (817-372931-838)      Payment                564         599,843.22
   15-11-2013 To     HSBC USD SAV-AIC (817-372931-838)      Payment                866         597.368.91
   10·1 2-2013 To    HSBC USD SAV-AIC (817-372931-838)      Payment                984       1.091 .996.14
   17-12-2013 To     ICBC USD                               Payment               1021         176,007.23
   31· 12-2013 To    Fire$tar Diamond BVBA                  Journal                 42              791 59           791 59
                To   Firestar Diamond BVBA                  Journal                 43         585,485.30        585,485.30
                By   Bank Charge-B.ank Through Document     Journal                 44                             4,478.90
             To      HSBC USO SAV-A/C (817·372931-838)      Payment               1061         394,783.28
    6+2014 To        ICBC USO                               Payment               1069         4 52,961 .20
             To      Sundry Balance W/off                   Journal                 63                0.10
   31-3-2014 To      Firestar Diamond BVBA                  Journal                 95                0.10               0 10
                                                                                          - 12.43 7 ,368.65   12,437,368 .65
   11-8-2014 By      Purchase -Cut & Polished               Purchase               175                            2 10 ,488 80
              By     Purchase • Cut & Polished              Purchase               177                            488, 161 25
   13-8-2014 By      Purchase - Cut & Polished              Purchase               180                            214.557.50
   13-9-201 4 By     Purchase - Cut & Polished              Purchase               237                         2 ,028,673 38
   27·10-2014 By     Putchase ·Cut & Polished               Purchase               315                            420,46119
   29-10·2014 By     Purchase · Cut & Polished              Purchase               318                              10.937 30
   21-11-2014 By     Purchase - Cut & Polished              Purchase               332                            745,599 38
   22-12-2014 By     Purchase - Cut & Polished              Purchase               363                            366,646.64
   13-l -2015 To     ICBC USO                               Payment                563         210 ,488.80
   16-1-2015 By      Purchase -Cut & Polished               Purchase               370                           480,891 59
              By     Purchase - Cut & Polished              Purchase               371                           618,061 31
                To   ICBC USD                               Payment                570         2 14,557 50
   19-1-2015    To   ICBC USO                               Payment                573         488,161 .25
   17-2-2015    To   ICBC USD                               Payment                609       2,028,673.38
   25-2-2015    By   Purchase - Cut & Polished              Purchase               396                           661 ,606 84
   13-3-2015    To   ICBC USO                               Payment                647           10,937 30
   24-3--2015   To   ICBC USD                               Payment                670         420,461.19
   27-3-2015    To   ICBC USD                               Payment                676         745,599.38
   31 -3-2015   To   Bills Payable Account                  Journal                 70       2,327, 226.38
                To   Firestar Diamond BVBA                  Journal                 72       2,502,272.25      2,502,272 25
                                                                                                               ii,941J,377 ,4 3
    1-4-2015    By Bills Payable Account                    Journal                  1                         2,327,226 38
   27-4-2015    By Purchase. Cut & Polished                 Purchase                39                           908.022.6 1
   15-5-2015    To ICBC USD                                 Payment                 98         366,646.64
   26-5-2015    By Purchase - Cut &    Polished             Purchase                75                           971.6 1!> 49
   27-5-2015    To ICBC USD                                 Payment                117         480,891 59
                To ICBC USO                                 Payment                119         618,081 .31
   26-6-2015    By Purchase - Cut &    Polished             Purchase               117                           966,564.58
    2-7-2015    To ICBC USD                                 Payme11t               18tl        861,606.84
    8-8-2015    By Purchase • Cut &    Polished             Purchase               195                           842,491.65
   10-9-2015    To ICBC USD                                 Payment                357         908,022.61
   16-9-2015    By Purchase • Cut &    Polished             Purchase               236                           649.010 29
   25-9·2015    By Purchase- Cut &     Polished             Purchase               242                           989,159.66
   7-10-2015    By Purchase- Cut &     Polished             Purchase               263                           636,219.49
   17·10-2015   By Purchase . Cut &    Polished             Purchase               311                           679,891 .12
   28-10-2015   To ICBC USO                                 Payment                450         971.615.49
                          Gamed Over                                   ~r '                  4,206,864 46      8,970,20 1.26


                                                                                                                continued ...
20-01054-shl           Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                                       PWC Forensic Pg 90 of 107

   Brilliant Diamonds
   Firestar Diamond BVBA Ledger Account · 1-A~r-2011 to 31-Mar-2017                           _ \\.4P¥ 4
         Date     Particulars                       Vch Type          Vch No.              Debit           Credit
                         Brought Forward                                           4.206.864.46      6,970,20'1,26

   11-11-2016To      ICBC USD                      Payment                4 93       966,564.56
   18-12-2015By      Purchase -Cut & Polished      Purchase               457                          846,510.80
   15· 1·2016To      lCBC USD                      Payment                653        842.491 65
   29-1-2016 By      Purchase - Cut & Polished     Purchase               540                          71 4,225.41
    2·2·2016 To      ICBC USD                      Payment                713        649,010.29
    6-2-2016 By      Purchase- Cut & Polished      Purchase               557                         994,229.66
    2-3-2016 By      Purchase -Cut & Polished      Purchase               617                         898,218.56
             To      ICBC USD                      Payment                798        636,219.49
    9-3-2016 To      ICBC USD                      Payment                809        969,159.65
   23-3-2016 To      ICBC USO                      Payment                836        679,891 12
   31-3-2016 To      Bills Payable Account         Journal                 53      3,453,184.33
                                                                                 - , 2,423;385.59   12,423,385 .~~
    1-4-2016    By   Bills Payable Account         Journal                  1                        3, 453,184.33
   26-4-2016    By   Purchase- Cut & Polished      Purchase                60                           875.556 39
   10-5-2016    To   ICBC USO                      Payment                116        846,510.80
   24-5-2016    To   IC BC USD                     Payment                167        898,218.56
   31-5-2016    By   Purchase- Cut & Polished      Purcha&e               139                         669,59896
    1-6-2016    By   Purchase - Cut & Polished     Purchase               141                         756,271.28
   11-6-2016    By   Purchase. Cut & Polished      Purchase               156                         515,628 89
                By   Purchase- Cut & Polished      Purchase               157                         981 ,545.96
   24-6-2016    To   ICBC USO                      Payment                238        714,225.41
   28-6-2016    To   ICBC USO                      Payment                247        994.229.56
   10-8-2016    By   Purchase. Cut & Polished      Purohase               310                          787,530 24
   29-8-2016    To   iCBC USO                      Payment                396        875.556.39
   14-9-20 16   By   Purchase- Cut & Polished      Purohase               395                         791 ,943.30
   26-9·2016    By   Purchase • Cut & Polished     Purchase               41 9                        674,248.26
   5-10-2016    To   ICBC USD                      Payment                611        669,598,96
   6-10-2016    To   ICBC USO                      Payment                517        756.27128
   11·10·2016   By   Purchase - Cut & Polished     Purchase               449                         987.219 28
                To   ICBC USD                      Paymer1t               534        981,545.96
                To   ICBC USD                      Payment                536        515.628.89
   10-11·2016   By   Purchase- Cut & Polished      Purchase               467                         603,737 12
   13-12·2016   To   ICBC USC                      Payment                849        787,530.24
    1·2·2017    By   Purchase- Cut & Polished      Purchase               577                         843.216 30
    9-2-2017    To   ICBC USO                      Payment                n5         791 943.30
    2-3-2017    By   Purchase · Cut & Polished     Purchase               693                         829,106.75
    6-"3-2017   To   ICBC USD                      Payment                840        674.248.26
   14-3-2017 By      Purchase • Cut & Polished     Purchase               753                          753,105.00
   16-3-2017 To      ICBC USD                      Payment                872        987,219.28
   26-.J~OH To       ICBC USD                      Payment                921        603.737.12
                                                                                  44,905,595.68     47.331.023 73
                To       Closing Balance                                           2,425,428.05
                                                                      .           47,331 ,023,73    47,331,023.73

                                                               ~
20-01054-shl          Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                      PWC Forensic Pg 91 of 107


                                                 Brilliant Diamonds
                                               Firestar Diamond BVBA
                                                     Ledger Account


                                                 1-Apr-2011 to 20-Mar-2018
                                                                                                             Pa e 1
       Date          Particulars                      Vch Type               Vch No.          Debit          Credit
   1-4-2011 By        Opening Balance                                                                  2,425,428.05
   26-5-2017    By Purchase- Cut & Polished           Purchase                   113                     929.049 31
   12-6-2017    To ICBC USD                           Paym ent                   195    843,216.30
   22-6-2017    By Purchase- Cut & Polished           Purchase                   165                    460,889 7 1
   12-7-2017    To ICBC USD                           Payment                   ;293    829,106.75
   26-7-2017    To ICBC USD                           Payment                   334     753,105.00
   27-7-2017    By Purchase - Cut & Polished          Purchase                  189                     879,216.08
   18·6·2017    By Purchase - Cut & Polished          Purchase                  213                     723,428 76
   25-6-2017    By Purchase- Cut & Polished           Purchase                  230                     504,060.77
   22-9-2017    By Purchase - Cut & Polished          Purchase                  269                     939,668.6 5
   30·10·2017   By Purchase - Cut & Polished          Purchase                   313                    453,182.72
                To ICBC USO                           Payment                    541    929,049.31
   28-11-2017   To ICBC USD                           Payment                    611    460,889.71
    3+2016      To ICBC USD                           Payment                    662    879.216.08
   17-1-2018    By Purchase- Cut & Polished           Purchase                   443                    779,073 77
   31-1 -2018   To ICBC USD                           Payment                    741    504,060.77
   12-2·2018    To ICBC USD                           Payment                    762    723.428.76
                                                                                       5,922,072.68    8,093,997.82
                To       Closing Balance                                               2,171,925 14
                                                                                       8,093,997 .8~   8,0932997.!!2_
20-01054-shl       Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                       Exhibit Ex D -
                                   PWC Forensic Pg 92 of 107

                                         AURAGEM COMPANY LIMITED
                                               Unit 10-P .1!F Block A
                                               Focal Industrial Centre
                                            21 Man Lok Street, Hunghom
                                                                                                          \\~1
                                                Kowlo?!'\ ljong~ons.
                                           Firestar Diamond BVBA
                                                   ledger Account
                                                      Belgium

                                              1-Apr-2011 to 20·11/!ar-2018
                                                                                                                 P¥1.
       Date        Particulars                     Vch Ttpe                  Vch No.            Debit            Credit
    1-4-2011 To    Opening Balance                                                         414,794.80
   27-6-2011 To Sales Ate                          Sales                         48        700,125.70
              To Sales Ale                         Sales                         49        880,654.75
   29-6-2011 By HSBC-USO Savings Ale               Receipt                       34                        700,125.70
              By HSBC-USD Savings Ate              Receipt                       35                        880,654.75
    3·8-2011 To Sales Ate                          Sales                         73      1,002,331 .85
    5-8-201 1 To Sales Ate                         Sales                         74      1 ,534,073.95
   12-8-201 1 By HSBC·USD Savings Ale              Receipt                       65                         302.331 85
   17-8-2011 By HSBC-USD Savings Ale               Receipt                       68                       1,434,073.95
   15-9-2011 By HSBC-USD Savings Ale               Receipt                       87                         2 19,794.80
   16-9-2011 By HSBC-USO Savings Ale               Receipt                       89                         995,000.00
                                                                                         4 1531 !981.05   4,531 ,981 .0_5
   21-4-2012 To Sales Al e                          Sales                         19     1,0 12.489.15
   23-4-2012 To Sales Ale                           Sales                         20       8 99,186,25
    4-5-2012 By HSBC-USD Savings Ale                Receipt                        7                        772,489 15
   15-5-2012 By HSBC-USD Savings Ale                Receipt                       10                        475,186.25
   17-5-2012 By HSBC-USD Savings Ale                Receipt                       13                        664,000.00
   26-5-2012 To Sales Ate                           Sales                         53       827,053.53
   29-5-2012 To Sales Ate                           Salas                         56       120,8 41.82
   18-6-2012 To Sales Ale                           Sales                         69       942.151.12
   12-7-2012 By HSBC-USD Savings AJc                Receipt                       49                        227,035.78
   31-8-2012 By H-SBC-USD Saving.s Ale            . Receipt                       68                        500,000 00
   13-9-201 2 By HSBC-USD Savings AJe               Receipt                      104                        782,992 94
   28·9· 2012 By HSBC-USD Savings Ale              Receipt                       123                        380,01 7 75
   30-10-2012 To Sales Al e                        Sales                         215       446,232.25
   8-11-2012 To Sales Ate                          Sales                         226       376,827.95
   12-12-2012 By HSBC-USD Savings Ale              Receipt                       189                        446,232.25
   21-12-2012 By HSBC-USD Savings Ale              Receipt                       201                        376,827,95
   29-12-2012 To Sales Ale                         Sales                         279     1,0 70,179.27
   23-1-2013 By HSBC-USO Savings Ale               Receipt                       240                        730,179 27
    1·3-2013 By HSBC-USD Savings Ale               Receipt                       265                        310,000,00
   22-3-2013 To Sales Ale                          Sales                         354       815,231 .70
              By HSBC·USD Savings Ale              Receipt                       280                         30,000 DO
   26-3-2013 To Sales Ate                          Sales                         359     1.453,881.49
                                                                                       ·-·7:96(074 .53"
                                                                                                 ' 5.694,961 34
              By      Closing Balance                                                              2,269,113 19
                                                                                       _7,964,0~ 7 .~64,074.53
   1-4-2013 To Opening Balance                                                           2, 269,113.19
   25-4-2013 By HSBC-USD Savings Ale               Receipt                        14                        315,231 .70
   26-4-2.013 By HSBC-USD Savings Ale              Receipt                        16                        953,881.49
   30-4-2013 By HSBC-USD Savings AJc               Receipt                        19                        805,000.00
    7-5-2013 To Sales Ale                          Sales                          37       877,521.61
                     Carried Over                                                        3,146,634.80     2,074,113.19

                                                                ~·                                         continued ..
20-01054-shl            Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                       Exhibit Ex D -
                                           PWC Forensic Pg 93 of 107


                                                                                                                  \ {';:$ ~a.9e 2
   AURAGEM COMPANY LIMITED
   Fires.!_ai__Diamond BVBA Ledger:_Account        1-Apr-201 ·1 to 20-Mar-2018
         Date        Particulars                              Vch Type           -   Vch No. -   --- -oebii                Credit
                           Brought Forward                                                        3,146,634.80      2,074,113.19

   30-5-2013     By   HSBC-USO Savings Ale                   Receipt                     51                           512.52'1.61
    7·6-2013     To   Sales Ale                              Sates                       75         224,206.20
    B-7-2013     To   Sates Ale                              Sales                      122        .535, 405 45
   11-7-2013     By   HSBC-USO Savings Ale                   Receipt                     79                           300,000.00
    9-8·2013     By   HSBC-USO Savings Ale                   Recell)t                   107                         1,019,611 .65
   26-9-2013     To   Sales Ale                              Sales                      214        103,047.95
   5- 10-2013    To   Sates Ale                              Sales                      226        380,212.02
   12-10-2013    To   Sales Ale                              Sates                      234        175,503.50
   8·11·2013     To   Sales Ale                              Sales                      260        344,6~1 .08
   26-11-2013    To   Sales Ale                              Sates                      269        135,128.70
   4-12-2013     By   ICBC USO BANK ACCOUNT                  Receipt                    200                           658,740.77
   16-12-2013    By   ICBC USO BANK ACCOUNT                  Receipt                    207                           479,782 48
   19-3-201 4    To   Sales Ale                              Sates                      414       , ,882,405.00
                                                                                                  5;927,174.70      5,044,769 70
                 By        Closing Balance                                                                          1 882,405.00
                                                                                                  6,927,174.70      6,927,174.70
    1-4-2014     To   Opening Balance                                                             1,892,405.00
   12-5-2014     By   ICBC USO BANK ACCOUNT                  Receipt                     38                         1.882,405.00
   13·8-2014     To   Sales AJc                              Sales                      110        855,264.85
   25-8-201 4    By   China Citic USD Account                Receil)t                   154                           855,264.85
   18-10-2014    To   Sales Ale                              Sales                      201       1,384,598.41
   29-10-2014    To   Sales Ale                              Sales                      209         907,231 .52
   12·11 -2014   To   Sales Ale                              Sales                       222      1,025,413.22
   13-11·2014    By   China Cltlc USO Account                Receipt                    245                           907,231 52.
   14·1 1·2014   By   China Cltlc USD Account                ReceiJ?t                   247                         1 384,598.41
   2-12-2014     By   China Citic USD Account                Receipt                    264                         1,025,413.22
   29-12·2014    To   Sales Ale                              Sales                      277        816.240.49
   30-12-2014    To   Sales Ale                              Sales                      279        498,242.99
                 To   Sales Ale                              Sales                      280        484,306.44
   15-1-2015     To   Sales Ale                              Sales                      283        305, 114.01
   17-1-2015     To   Sales Ale                              Sales                      284        768,982.90
    ~1-1-2015    By   China Citic USD Account                Receipt                    292                           498,242 99
   23-1-2015     By   China Citic USD Account                Receipt                    293                           816,240.49
    3-2-2015     To   Sales Ale                              Sales                      293        994,133.18
   25-2-2015     To   Sales Ale                              Sales                      306        894.803.29
                 By   China Cltlc USD Account                Receipt                    319                         1 443,403.35
   27-2-2015 By       China Citlc USD A ccount               Receipt                    320                         1,109,133.18
   12-3-2015 By       China Citic USD Account                Receipt                    336                           444.803.29
                                                                                                 10,816,736.30     10,366,736.30
                 By        Clos ing Balance                                                                           450,000.00
                                                                                                 10,816,736~0      10\8~ 6} 7~6_.30
    1-4-2015 To Opening Balance                                                                    450,000.00
    4-5·2015     By   China Citic   USD Account              Reoeipt                     27                           450,000,00
   11-5-2015     To   Sales Ale                              Sales                       21         921 ,642.95
   19-5-2015     To   Sales AJc                              Sales                       23       1,024,82 1.60
   26-5-2015     To   Sales Ale                              Sales                       26         981 ,331 64
   29-5·2015     By   China Citic   USD Ac count             Receif)t                     44                        1,024.821.60
   11-6-2015     By   China Citic   USD Account              Receipt                      57                          761 ,635.95
    5-7-2015     To   Sales Ale                              Sales                       125      1,112,904.74
   1S·7-2015     By   China Citic   USD Account              Receipt                     108                          941,331 .64
                           Carried Over                                                           4,490,700.93      3,177.789.16
                                                                          y~
                                                                                                                     continued .
20-01054-shl            Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07        Exhibit Ex D -
                                           PWC Forensic Pg 94 of 107

   AURAGEM COMPANY LIMITED
   firestar Diamond BVBA Ledger Account : 1-Aer-201 1 to 20-Mar-2018
        Date      Particulars                       VchType            Vch No             Debit
                                                                                                   - \ '\1-~~'!9~ 3
                                                                                                             Credit
                           Brought Forward                                        4,490 700 93        3,1 77.78919

    S-8-2015     By China Citlc USD Account           Recelpl              142                          691,904.74
   10-8-2015     To   Sales Ale                       Sales                219      844.597.87
   20-8-.2015    By   China Cltic   USD Account       Receipt              163                          621.007 00
   17·9·2015     To   Safes Ale                       Sales                233    1.097 485 86
   29-9-2015     To   Sales Ale                       Sales                245    1,857.450.00
                 By   China Citic   USD Account       Receipt              191                          844,597 87
   9-10-2015     To   Sales Ale                       Sales                265    1,175,913.79
   15·10·2015    By   China Citic   USD Account       Receipt              195                          987.574.00
                 By   China Citlc   USD Account       Receipt              196                          500,000.00
   20· 10·2015   To   Sales Ale                       Safes                277      951 ,082.10
   27-10·2015    To   Sales Ale                       Sales                284      442,546.46
                 By   China Cltic   USD Account       Receipt              202                        1,000,000 00
   29·10·2015    By   China Cltic   USD Account       Receipt              204                          467,36 1 86
   30-10·2015    By   China Citlc   USD Account       Receipt              205                        1,250,000 00
   5-1 1·2015    By   China Citic   USO Account       Receipt              209                          938,142.46
   9·11·2015     By   China Cltlc   USD Account       Receipt              211                          170,74311
   23-11-2016    By   China Citic   USD Account       Receipt              220                          210.560 78
   14-1 2-2015   To   Sales Ale                       Sales                343      665.094.43
   20-1-2016     To   Sales Ale                       Sales                375      953,836.52
   22· 1-2016    By   China Cltlc   USD Account       Receipt              255                          665,094 43
    1-2·2016     To   Sales Ale                       Sales                398    1,052.717.65
    3-2·2016     To   Sales Ale                       Sales                403      665,204.3.8
                 By   China Citic   USD Account       Receipt              271                          953.636 52
   11-2-2016     To   Sales Ale                       Sales                416      895,932. 18
   18-2-2016     By   China Citic   USD Account       Receipt              284                          678.717 65
   19-2-2016     By   China Citlc   USO Account       Receipt              285                        1,000,000.00
    3-3·2016     To   Sales Ale                       Sales                447      848 864.85
   14-3-2016     To   Sales Ale                       Sales                458    1,197,642.23
   17·3-2016     By   China Citlc   USD Account       Receipt              303                        1,159,105 00
   22-3-2016     By   China Citlc   USD Account       Receipt              306                        1,272,280 00
                                                                                 1·i:139,009.25      16,588,71 4 61
                 By        Closing Balance                                                              550,354 64
                                                                                 17,13.9 ,069.25     17,139,069.25
    1-4-2016     To Opening Balance                                                 550,354.64
     5-'1-2016   By China Citic USD Account           Re<:eipt               4                          550.354.64
   14-4-2016     To Sales Ale                         Sales                11       869,386.68
   25-4-2016     By China Citic USD Account           Receipt              25                           513,569 42
   27+2018       To Sales Ale                         Sales                35       555,27M8
   28-4-20 16    To Sales Ale                         Sales                40       971 ,558,57
     3-5-2016    By China Citic USD Ac count          Receipt              39                           355,817 26
   13-5-2016     By China Citlc USD Account           Rec~lpt              61                         1.295,336 65
   16-5-2016     To Sales Ale                         Sales                90       769.353.88
   20..5-2016    By China Citic lJSD Account          Receipt              66                           231 ,500 00
   25-~-2016     By China Citlc USD Account           Receipt               74                          215,171 23
   30·5-2016     By China Cltic USD Account           Receipt               80                          454. 182.65
    1·6·2016     To Sales Ale                         Sales                140      985,374.96
    2-0-2016     To Sales Ale                         Sales                143      657,574.19
    3-6-2016     To Sales Ale                         Sales                148      72.4,568.77
    4-6-2016     By China Citic USD Account           Receipt               86                          100,000.00
    8-6-2016     By China Citic USD Account           Receipt               92                          300,374.96
   10..6-2016    By China Citlc USD Account           Receipt               94                          300.000 00
                           Carried Over
                                                                 y~
                                                                                  6.0S3.449.77        4,316,306.81
                                                                       •
                                                                                                       continued ...
20-01054-shl       Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07              Exhibit Ex D -
                                    PWC Forensic Pg 95 of 107


                                                                                                  \~
   AURAGEM COMPANY LIMITED                                                                            0
   Fi~ta.!: Diamond BVB~edger Acco~ : 1-Apr-2011 to 20-fv1~r-2018                                         Page4
      Date        Particulars                   VchType               Vch No.            Debit            Credit
                     Brought Forward                                             6 083.449.77     4,316 306.81

   13-5-2016 To Sales Ale                         Sales                  174       783.014.97
   14-5-2016 By China Ci tlc USD Account          Receipt                 97                         403,400.00
               By China Cltic USD Account         Receipt                 98                         385.000.00
   21-6-2016 By China Cltlc USD Ac count          Receipt                109                         414 228.07
   28-5-2016 By China Citic USD Account           Receipt                122                       1.035.150.00
    4-7-2016 To Sales Ale                         Sales                  217       945.237.16
   18-7-2016 To Sales Ale                         Sales                  247        58.757.82
   19-7-2016 By China Citlc USD Account           Receipt                153                       1,032.317.02
   20-7-2016 To Sales Al e                        Sales                  251       581,147.12
    1-8-2016 To Sales Ale                         Sales                  285       786,363.81
   22-8-2016 To Sales Ale                         Sales                  334       767,289.24
   25-8-2016 By China Cilic USD Account           Receipt                 199                      1,500,12121
    1-9-2016 By China Cltlc USD Account           Receipt                213                         918.736.78
    5-9-2016 To Sales Afc                         Sales                  369       775.190.31
   15-9-2016 To Sales Ale                         sares                  383       774, 120.80
   27-9-2016 To Sales Ale                         Sales                  395       795,453.00
   4-10-2016 By Ch ina Cltlc USD Account          Receipt                2.63                       669.550.00
   7-10-2016 To Sales Ale                         Sales                  404        762,923.00
   14-10-2016 By China Citic USD Account          Receipt                272                        445.800 16
   18-10-2016 To Sales Ale                        Sales                   41 1      985.007.00
   27-I0-2016 By China Citic USD Account          Receipt                 284                       300,000.00
   10·11·2016 To Sales Ale                        Sales                   415       624,609 30
   16-11-2016 By China Cltlc USD Account          Receipt                 300                      1,258,27'1.99
   22-1 1-2016 By China Cltlc USD Accoun t        Receipt                 301                        168,553.26
               By China Citic USD Account         Receipt                 302                      1,300,000.00
   23-1 1·2016 By China Citic USO Account         Receipt                 303                        575,1 28 00
                                                                                 14 1722,563.30   1 4,72~563 .30.


                                                                    8~:3-
20-01054-shl           Doc 56-6            Filed 10/15/20 Entered 10/15/20 22:39:07            Exhibit Ex D -
                                            PWC Forensic Pg 96 of 107

                                               AURAGEM COMPANY LIMITED
                                                     Unit 10-P,1/F Block A
                                                     Focal Industrial Centre
                                                  21 Man Lok Street, Hunghom
                                                      ~~l~n . Hongkon_g_.

                                               Firestar Diamond BVBA-Vendor
                                                        Ledger Account


                                                    1-Apr-2011 to 20-Mar-2016
                                                                                                           Page 1.
       Date        Particulars                           Vch Type               Vch No.        Debit       Credit
                   4    ·   · -   -   -·




   20-10-2017 By Purchas. Ale                            Purchase                   536                695.578.86
                                                                                                       695,578.86
              To            Closing Balance                                               695,578.86
                                                                                          695,578.86   695,578.86
20-01054-shl             Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                    Exhibit Ex D -
                                           PWC Forensic Pg 97 of 107


                                          FANCY CREATIONS. COMPANY LIMITED
                                                       UNIT 306 ·A 207,3F,
                                                      Ha(bour Centre Tower 1.
                                                       1 Hok Cheung Street.
                                                             ~un_ghom

                                                    Firestar Diamond BVBA
                                                          Ledger Account


                                                      1-Apr-201 1 to 20-Mar-2018
                                                                                                                  _ Page .1.
   - oate"··- Particulars                                  Vch Type                Vch No.           Debit           Credit
   27-6-2011      To   Sales Ale                           Sales                        26   1,161,954 35
   29-6-2011      By   HSBC USD (Saving) Account           Receipt                      30                    1, 161.954.35
    5-7-2011      To   Sales Ale                           Sales                        28   1,334,802.25
   15·7· 2011     By   HSBC USD (Saving) Account           Reoeipt                      32                    1.184.802_25
   12·8-2011      By   HSBC USD (Saving) Account           Receipt                      37                      150,000 00
   21-2-20 12     To   Sales Ale                           Sales                       127     666.174.50
   28.-2.-20'12   By   HSBC USD (Saving) Account           Receipt                      63                      686174.50
                                                                                             31382,931 .10    3,382,931.10
   11-4-2012 To        Sales Ale                           Sales                        15   1 909,281 .25
    8-5-2012 To        Sales Ale                           Sales                        49   1.406,657.18
   17·5·2012 By        HSBC USD (Saving) Account           Receipt                      46                      309,281 25
   24·5·2012 To        Sales Ale                           Sales                        66    1,042,890.26
    1-6·2012 By        HSBC USD (Saving) Account           Receipt                      68                    1.199,983.03
   18-6-2012 To        Sales Ale                           Sales                        81    1,190,630.70
   12·7-2012 By        HSBC USD (Saving) Account           Receipt                      98                      868,812.00
   26-7-2012 By        HSBC USD (Saving) Account           Receipt                     111                    1,482,890,26
    Q.-8-2012By        HSBC USD (Saving) Account           Receipt                     125                      500,000.00
   20-8-2012 To        Sales Ale                           Sal eli                     143     464,615.20
   28·9·2012 By        HSBC USD (Saving) Account           Receipt                     168                    1,655,245 90
   12-10-2012To        Sales Ale                           Sales                       209     814,352.26
   15-10.2012To        Sales Ale                           Sales                       216     395.587.78
   1·11-2012 By        HSBC USD (Saving) Account           Rwcelpt                     205                      690,000.00
   28-11·2012By        HSBC USD (Savi ng) Account          Receipt                     223                      350,940.04
   1-12-2012 By        HSBC USD (Saving) Accoun t          Receipt                     226                      169,000.00
   5-12-2012 To        Sales Ale                           Saii!S                      254     148,903.00
   12-12-2012By        HSBC USD (Saving) Account           Receipt                     239                      148.903.00
   28·12-2012To        Sales Ale                           Sales                       278     850.518.96
   21 1-2013 To        Sales Ale                           Sales                       294     829,544.65
   24-1-2013 To        Sales Ale                           Sales                       298     793.171 .60
   31·1-2013 By        HSBC USD (Saving) Account           Receipt                     289                      600.518.96
   22-2-2013 By        HSBC USD (Saving) Account           Recelpr                     307                      829,544 65
   16-3-2013 By        HSBC uso (Sav ing) Account          Receipt                     333                      373,171 .60
   21-3-2013 To        Sales Ale                           Sales                       350       95,555.79
   22-3·2013 To        Sales Ale                           Sales                       356    1,534,518 50
             By        HSBC USD (Saving) Account           Receipt                     340                      670,000.00
   28-3-2013 By        Bank Charges                        Journal                     152                           62.15
                                                                                             11 ,478.427.13     9,848,352.84
                  By       Closing Balance                                                                      1,630,074 29
                                                                                             11 .478.427.13   '!.!t47;4J7.13
   1-4-2013 To Opening Balance                                                                1,630,074.29
   26-4-2013 By HSBC USD (Saving) Account                  Receipt                      16                      530,074.29
   27·4·2013 By HSBC USD (Saving) Account                  Receipt                      16                      62.5,000.00
                           Carried Over                                                       1,630,074.29     1,155,074 29



                                                                           ~
                                                                                                               continued
20-01054-shl          Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07               Exhibit Ex D -
                                      PWC Forensic Pg 98 of 107

                                                                                                           ~
                                                                                                         ~- ~<!9._e
   FANCY CREATIONS COMPANY LIMITED
   f irestar Diamond BVBA Ledger Account : 1-Apr-2011 to 20-Mar-2018                                .\              .2
         Date      Particulars                       Vch Type             Vch No.          Debit             Credit
                        Brought Forward                                             1,630,074.29          1,155,074 29

    2-5-201 3   To Sales Ale                        Sales                      35     285,541 .10
    4-5-2013    To Sales Ale                        Sales                      36     488.010.47
    7-5-201 3   To Sales Ale                        Sales                      41   1.41 3.279.22
    9-5-2013    By HSBC USD (Saving) Account        Receipt                    26                          760.541 10
   31-5-2013    By HSBC USD (Saving) Account        Receipt                    45                          650.989 47
    7-6-201 3   To Sales Ale                        Sales                      73    182.958.83
   14-6-201 3   By HSBC USD (Saving) Account        Receipt                    60                         1.250.300.22
   10-8-2013    By HSBC USD (Saving) Account        Receipt                   104                           182.958.83



                                                                       c!Yr
                                                                                    3,9991863.91          3,999,863.91
20-01054-shl             Doc 56-6          Filed 10/15/20 Entered 10/15/20 22:39:07                    Exhibit Ex D -
                                            PWC Forensic Pg 99 of 107


                                           FANCY CREATIONS COMPANY LIMITED
                                                     UNIT 306 - A 207,3F,
                                                    Harbour Centre Tower 1,
                                                     1 Hok Cheung Street,
                                                                                                           ,\'-'"'
                                                          i:IU_lljlhOni

                                               Firestar Diamond BVBA-Vendor
                                                        Ledger Account


                                                    1-Apr-201 1 ·to 20-Mar-2018
                                                                                                                     Page 1_
        Date           P~rtic':!laf!._ _                 ych      Tl,Pe              Vch No.          Debit          Credit
    7-4-2014  By      Purchase Ale                       Plldii!I[Wiil'~l                  2                     167,288.00
   17-4-2014  By      Purchase Ale                       Plrtm!(!ll'tl11\191J              6                   1.458,421 35
   22-4-2014  By      Purchase Ale                       Pilcbl!l-~1                       7                     849,352.55
   14-5-2014  By      Purchase Ale                       Flllluil~li~l                    33                     275,383.32
   16-7-2014  By      Purchase Ale                       Purchase                         21                     31 4,700.40
   25-7-2014  By      Purchase Ale                       Purchase                         31                     440,821 .58
    1-8-2014  By      Purchase Ale                       Purchase                         46                     738,478.86
    6-8-2014  By      Purchase Ale                       Purchase                         56                     327,078.66
    7-8-2014  To      ICBC USD ACCOUNT                   Payment                         215     167,288.00
   11-8-2014  By      Purchase Ale                       Purchase                         64                     342,737.77
   16-8-2014  By      Purchase Ale                       Purchase                         72                     511,497.91
   25-8-2014  To      ICBC USD ACCOUNT                   Payment                         254   1.458,421 .35
   28-8-2014  To      ICBC USD ACCOUNT                   Payment                         257     849,352.55
   12-9-2014  By      Purchase Ale                       Purc"ase                        103                     932,863.52
   27-9-2014  By      Purchase Ale                       Purchase                        122                      64,1 80.20
   29-9-2014  To      ICBC USD ACCOUNT                   Payment                         308     275,383.32
   20-10-2014 By      Purchase Ale                       Purchase                        145                     427, 170.80
   22-10-2014 By      Purchase Ale                       Purchase                        146                     340,603.00
   27-10-2014 By      Purchase Ale                       Purchase                        150                     855,962.38
   27-1 1-2014By      Purchase A/c                       ,..[b.i~                         74                     591 ,850. 14
   11-12-2014 To      ICBC USD ACCOUNT                   Payment                         452     919,557.72
   12-12-2014 To      ICBC US D ACCOUNT                  Payment                         453     327,078.66
   15-12-2014 To      ICBC USD ACCOUNT                   Payment                         466     314,700.40
   22-12-2014 By      Purchase Ale                       Fr~~'lllllljll                   84                     437.~33 . 99
   30-12-2014 To      ICBC USD ACCOUNT                   Payment                         477     330.449.05
   31 -12-2014To      ICBC USD ACCOUNT                   Payment                         482     440,821.58
   16-1-2015  To      ICBC USD ACCOUNT                   Payment                         506     342,737.77
   29-1 -2015 To      ICBC USD ACCOUNT                   Payment                         524     932,863.52
   31-1-2015  By      Purchase Ale                       Purchase                        164                     983.789.a3
   10-2-2015  To      ICBC USD ACCOUNT                   Payment                         539      64, 180.20
   26-2-2015  By      Purchase Ale                       Purchase                        176                     643,018.50
   16-3-2015  To      ICBC USD ACCOUNT                   Payment                         586      427,170.80
   26-3-2015  To      ICBC USD ACCOUNT                   Payment                         614      855,962.38
              To      ICBC USD ACCOUNT                   Payment                         615      340,603.00
   31 -3-2015 To      Bills Payabl e Account             Journal                         303    2.013,173.96
                                                                                               10,059,744.26   10,702.732 76
                 To         Closing Balance                                                       642,988.50
                                                                                               10,702,732.76   10,702,732.76
    1-4- 2015 By Opening Balance                                                                                 642,988.50
    1-4-2015     By   Bills Payable Account               Journal                          3                    2,013,173.96
   14-4-2015     To   ICBC USD ACCOUNT                    Payment                         21     591,850.14
   19-5-2015     To   ICBC USD ACCO UNT                   Payment                         94     437,533.99
    9-6-2015     To   ICBC USD ACCOUNT                    Payment                        136     983,789.83


                                                                                  J)· ff-·
                            Carried Over                                                        2,013,173,96    2.656,162.46


                                                                                                                continued .,.
20-01054-shl             Doc 56-6       Filed 10/15/20 Entered 10/15/20 22:39:07                   Exhibit Ex D -
                                        PWC Forensic Pg 100 of 107


                                                                                          _ __ \\ '1~ ~a_g_e_ 2
   FANCY CREATIONS COMPANY LIMITED
   Flrestar Diamond BVBA-Vendor Ledser Account : 1-Aer-2011 to 20-Mar-2018
        Date      Particulars                      Vch Type                  Vch No.               Debit          Credit
                           Brought Forward                                                 2,013.173.96     2.656.162.46

   20-7·2015 To ICBC USC ACCOUNT                    Payment                     212          643,018.50
   18·12·2015 By Purchase Ale                       Purchase                    199                           734,457,48
              By Purchase Ale                       Purchase                    200                           973,396.20
   20-1·2016 By Purchase Ale                        Purchase                    243                           995,628,09
    4-2-2016 By Purchase Ale                        Purchase                    262                           814.243.07
   24-2·2016 By Purchase Ale                        Purchase                     294                          635, 129.28
    3-3-2016 By Purchase Ale                        Purehue                     305                           946,415 10
   31-3-2016 To Bills Payable Account               Journal                     220        4,103,641 ,13
                                                                                          - 6,759,833.59    7'755.431 .68
                  To       Closing Balance                                                    995,598.09
                                                                                            7,755,431.68    71755~~1.68
   1-4-2016       By   Opening Balance                                                                        995,598.09
    1-4-2016      By   Bills Payable Account        Journal                       2                         4,103,641.13
   26-4-2016      By   Purchase Ale                 Purchase                     37                           844,586.64
   27-4-2016      To   ICBC USC ACCOUNT             Payment                      70          973,396.20
   10-5-2016      To   ICBC USC ACCOUNT             Payment                     109          734,457.48
   19·5·2016      By   Purchase Ale                 Purchase                     81                           590,75176
    2·6-2016      By   Purchase Ale                 Purchase                    115                           509,727 53
   11-6-2016      By   Purchase Ale                 Purchase                    132                           849,227.46
   17-6·2016      To   ICBC USC ACCOUNT             Payment                     212          995,628.09
   29·6-2016      To   ICBC USD ACCOUNT             Payment                     246          814 ,243.07
                  To   ICBC USO ACCOUNT             Payment                     247          635,129.28
     4-7-2016     By   Purchase Ale                 Purchase                    170                           975,437 13
    2.0-7-2016    To   ICBC USD ACCOUNT             Payment                     292          946.415.10
    25--6·2016    By   Bank Charges                 Journal                      57                                30 00
                  To   ICBC USC ACCOUNT             Payment                     405          509.727,53
    ·1·9·2016     By   Purchase Ale                 Purchase                    290                           825,887 81
   14-9-2016      To   ICBC USD ACCOUNT             Payment                     470          844,586.64
   15·9-2016      By   Purchase Ale                 Purchase                    305                           987,1 70 26
   20-9-2016      To   ICBC USO ACCOUNT             Payment                     480          590,751 .76
   7-10-2016      By   Purchase Ale                 Purchase                    333                           903.895 36
   26-10-2016     To   ICBC USO ACCOUNT             Payment                     594          849,227 46
   10-11 -2016    By   Purchase Ale                 Purch asw                   357                           949.335.27
   23·11 -2016"   To   ICBC USO ACCOUNT             Payment                     639          975,437.13
   13·12·2016     To   ICBC USO ACCOUNT             Payment                     683          825,887.81
   11-1-201 7     By   Purchase Ale                 Purchase                    445                           868,290 14
   20· 2-2017     To   ICBC USO ACCOUN"J;           Payment                     802          987,170.26
    8-3-2017      To   ICBC USC ACCOUNT             Payment                     847          903,695.36
   14·3-2017      By   Purchase Ale                 Purct~ase                   6·35                          823,434 36
   30·3·2017      To   ICBC USO ACCOUNT             Payment                     917          949,33527
   31 -3-2017     To   Bills Payable Account        Journal                     161        1.691 ,724.50
                                                                                          14, 227 ,012.94   14 ,227,0~

     H-2017       By Bills Payable Account          Journal                           4                     1.691,724.50
   13·4-2017      By Purchase Ale                   Purcllase                    35                           900,597 69
   23-5-2017      To ICBC USO ACCOUNT               Payment                     151          868,290.14
   27·7·2017      To ICBC USO ACCOUNT               Payment                     325          823,434.36
   16·8-2017      To ICBC USD ACCOUNT               Payment                     376          900,597.69
   20-10-2017     By Purc hase Ale                  Purchase                    345                           827.313 94
                                                                                          16,819,335.13 17,646,649 07
                  To       Closing Balance                                                   827,313.94
                                                                      J)J;)       '       17,646,649~7___17,6461.649.07
      20-01054-shl           Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                      Exhibit Ex D -
                                             PWC Forensic Pg 101 of 107
                                                        Eternal Diamonds                                                     (,
                                                      Firesta r Diamond BVBA
                                                            Ledger Account
                                                                                                                  \   '\.'
                                                        1-Apr-2011 to 12-0ct-2017
                                                                                                                                  ~e~
.-,          Date          Partic ulars                      VchType                  Vch No.            Debit                    Credit
         1-4-2011    By     Opening Balance                                                                              3,212,568.55
         23-0-2011   By   Purchase- Cut & Polished          Purchase                         91                          1 '1 46,975 65
          1-7-2011   By   Purchase -Cut & Polished          Purchase                         99                          1,487,219.05
          4-8-2011   By   Purchase - Cut & Polished         Purchase                       146                           1,830,025 59
                     By   HSBC-USD Savings Ale              Receipt                          78                          1,399,993.07
         9-8-201 1 6y     HSBC-USD Savings Ale              Receipt                          83                              271 .568 77
        10-8-2011 By      Purchase -Cut & Polished          Purchase                       153                           1,617,738.90
                   To     HSBC-USD Savings Ale              Payment                        388     1.600,516 40
        12-8-2011 To      HSBC-USD Savings Ale              Payment                        412     1,612,051 80
        29-8-2011 By      Purchase ·Cut & Polished          Purchase                       183                               763,927 00
        20-9-2011 By      Purchase - Cut & Polished         Purchase                       216                                43,194 15
        21-9-2011 To      HSBC-USO Savings Ale              Paymen t                       5-21    1.146,975.65
        30-9-2011 To      HSBC-USD Savings Ale              Payment                        587     1,487,219.05
        7-12-2011 By      Purchase - Cut & Polished         Purcl1asc                      363                           1,243, 115 15
        8-1 2-2011 To     HSBC-USD Savings Ale              Payment                        757       400,000.00
        9-12-2011 To      HSBC-USD Savings Ale              Payment                        759     1,27t575 70
        15-12-2011 To     HSBC-USD Savings Ale              Payment                        778     1,070,025.59
        16-12-2011 To     HSBC-USO Savings Ale              Paymen t                       797       760,000.00
        29-12-2011 To     HSBC-USD Savings Ale              Payment                        849     1,617.738.90
        26- t-2012 By     Purchase - Cut & Polished         Purchase                       450                               666,415 20
         8-2-2012 By      Purchase - Cut & Polished         Purchase                       468                               447,66015
        10-2-2012 To      HSBC-USD Savings Ale              Payment                        960      807,121 15
        23-2-2012 By      Purchase - Cut & Polished         Purchase                       514                            929,855 45
        28-2-2012 By      Purchase - Cut & Polished         Purchase                       530                          2,013,110.00
        31-3-2012 By      Bank Ch arges                     Journal                        273                                 13.51
                                                                                                  11'773.224 24        17,073,380 19
                     To       Closing Balance                                                      5,300,155 95
                                                                                                  17,073,380.19        17,073,380.19_
        1-4-2012     By   Opening Balance                                                                                5,300,155.95
         2-5-2012    To HSBC-USD Savlngs A/c                 Payment                       101     1,243,115 15
        10-5-2012    By Purchase • Cut & Polished            Purchase                       64                             323,639 95
        23-5-2012    By Purchase - Cut & Polished            Purchase                       85                           1,849,381 64
        27-5-2012    By Purchase - Cut & Polished            Purchase                       95                             997,686 35
        10-6-2012    By Purchase -Cut & Polished             Purchase                      115                             625,273 76
        19-6-2012    To HSBC-USD Savings A/c                 Payment                       243     1 114,075.35
        21-6-2012    By Purchase • Cut & Polished            Purchase                      130                               5 14,813.21
         5-7-2012    To HSBC-USD Savings Ale                 Paymen t                      313       929,855.45
        11-7·2012    To HSBC-USD Savings Ale                 Payment                       349     2,013,110.00
                     By Purchase -Cut & Polished             Purchase                      158                             530,165 88
        28-7-2012    By Purchase -Cut & Polished             Purchase                      187                             290,911 59
         2-8-2012    By Purchase· Cut & Polished             Purchase                      190                             912,243.35
        10-8-2012    By Purchase- Cut & Polished             Purchase                      199                           1,335,719 ?5
        24-6-2012    By Purchase. Cut & Polished             Purchase                      217                             469,261 .36
         7-9-2012    To HSBC-USD Savings Ale                 Payment                       595      625.273 76
        16·9·2012    By Purchase -Cut & Polished             Purchase                      255                                507,871.70
        18·9·2012    To Bank Charge- Outward                 Journal                       195         1,769.54

                                                                                                   5,927,199.25         13,657 123.99

                                                                                    9·;)
                              Carried Over

                                                                                                                             continued .
20-01054-shl          Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                Exhibit Ex D -
                                       PWC Forensic Pg 102 of 107

   Eternal Diamo nds
   Fl_.restar Diamond BVBA Ledger Account : 1- A2r-2011 to 12-0ct-2017               _       ___ \t((          Page2.
         Date       Particulars                        Vch Type           Vch No.             Debit \          Credit
                        Brought Forward                                               5,927,199.25      13.657, 123.99

   21-9-2012    To HSBC-USD Savings A/c               Payment                 659     i ,849,381 .64
   ;!5-9-2012   To HSBC-USD Savings Alec              Payment                 682     1,000,535.57
   28-9-2012    By Purchase- Cut & Polished           Purchase                271                          231 ,343.25
   5-10-201 2   To HSBC-USD Savings Ale               Payment                 713        323,639.95
   26-10-2012   To HSBC-USD Savings A/c               Paymen t                788        514,813.21
   28-11·2012   To HSBC-USD Savings Ale               Payment                 907        821 ,077.47
   6-12-2012    By HSBC-USD Savings Ale               Receipt                 193                            6,976.11
                By Purchase - Cut & Polished          Purchase                 353                       1 071.146 eo
   9-12-2012    By Purchase- Cut & Pollshed           Purchase                 355                         312,740,12
   15-12-2012   To Firestar Diamond BVBA              Journal                  204         1,769.54          1,769 54
   19-12-2012   To HSBC-USD Saving~> Ale              Payment                  988       912,243.35
   20-12-2012   To HSBC-USD Savings A/c               Payment                1002        469,261 .36
   21-12-2012   By Purchase- Cut Bt ,Polished         Purchase                 375                        481,026.20
   28-12-2012   To Flrestar Diamond BVBA              Journal                  221            13.86            13 86
   30-12-2012   By Purchase - Cut & Polished          Purchase                 389                        812,401 ,85
    2-1-2013    By Purchase - Cut & Polished          Purchase                 393                        475,798.80
    3-1-2013    To HSBC-USO Savings Ale               Payment                '1056    1,339,113.55
    4-1-2013    By Purchase. Cut & Polished           Ptm:hase                 395                         900,429.63
    9-1-2013    To HSBC-USD Savings Ale               Payment                1090        509,196.38
   17-1-2013    By Purchase- Cut & Polished           Purchase                 410                        174,305.51
   24-1-2013    To HSBC-USD Savings Ale               Payment                1136        231 ,343.25
   29-1-2013    By Purchase. Cut & Polished           Purchase                425                          172,64227
     1·3-2013   By Purchase- Cut & Polished           Purchase                455                          790,127.70
    6-3-2013    By Purchase - Cut & Polished          Purchase                460                         "382,452.56
    8-3·2013    By HSBC-USD Savings Afc               Receipt                 291                            2.431 .63
   15-3-201 3   To HSBC-USO Savings Ale               Payment                1330        197,480.00
   20-3·2013    By Purchase - Cut & Polished          Purchase                47.6                        120,518 78
   22-3-2013    To HSBC-USD Savings Ale               Payment                1364       233,363.00
   31-3-2013    To Bills Payable                      Journal                 278     2,621 ,889. 18
                                                                                     16.952,320.56      19.593.249   eo
                To      Closing Balance                                               2,640.929.04
                                                                                     19,593,249.60      19,693,249.60
    1-4-2013 By Opening Balance                                                                          2,640,929,0 4
    1-4-2013 By Bills Payable                         Journal                   2                        2,62 1,889.18
     2· 4-2013 To HSBC-USD Savings Ale                Payment                   'I       375,000,00
               To HSBC-USD Savings Ale                Payment                   5        312,740 12
     3-4-2013 To HSBC-USD Savings Ale                 Payment                  12        126,450.20
               To HSBC-USO Savings Ale                Payment                  14        640,373.00
     4-4-2013 By Purchase • Cut & Polished            Purchase                  6                        1157,104 40
   20-4-2013 By Purchase - Cut & Polished             Purchase                 21                         520,584,60
   2.4-4-2013 To HSBC-USD Savings Ale                 Payment                  69        812.401 ,85
   25·4-2013 To HSBC-USD Savings Ale                  Payment                  75        477,043.30
               By Purchase - Cut & Polished           Purohase                 26                          21 4,657 55
   29-4-2013 To HSBC-USD Savings Ale                  Payment                  90        900,429.63
    8·5-2013 To HSBC-USD Savings Ale                  Payment                 135        153,987.51
   10-5-2013 By Purchase- Cut & Polished              Purchase                 43                         431,126.72
   16-5-2013 By Purchase- Cut & Polished              Purchase                 49                         777,268 30
   11-6-2013 To HSBC-USD Savings Ale                  Payment                127         172,642.27
   14-6-2013 By Purchase. Cut & Polished              Purchase                81                          362,083 42
   20-8-2013 By Purchase - Cut & Polished             Purchase                 90                         133,510 00
   25·6 2013 By Purchase - Cut & Polished             Purchase                 98                         156,749 91
                        Carried Over
                                                                         J)_j}-       3,971 ,068.68      9,015,903 12

                                                                                                         continued ..
20-01054-shl            Doc 56-6         Filed 10/15/20 Entered 10/15/20 22:39:07                   Exhibit Ex D -
                                         PWC Forensic Pg 103 of 107


   Eternal Diamonds
   Ffrestar Diamond BVBA Ledser Account           1-Aer-2011 to 12-0ct-2017                                   \\v,{      Page 3
        Date      Particulars                              Vch Type           Vch No.               Debit '              Credit
                          Brought Forward                                                   3,971 .068.68        9,015.90312

    9-7-2013 To     HSBC-USD Savings Ale                   Payment               311        1'172,580.26
               To   HSBC-USD Savings Ale                   Payment               315          120,518.78
   16-7-201 3 By    Purchase . Cut & Polished              Purchase              120                                  204,594 48
   29-7-2013 To     HSBC-USD Savings Ale                   Payment               401        1, 157,104.40
    7-8-2013 By     Purchase- Cut & Polished               Purchase              148                                  461,166$4
   15-8-2013 To     HSBC-USD Savings Ale                   Payment               469         214,667.55
               To   HSBC-USD Saving s A/c                  Payment               470         520,584.60
   30-8-2013 To     HSBC-USD Savings Ale                   Payment               510         598,668.31
   30-9-2013 To     HSBC-USD Savings Ale                   Payment               633         178,599.99
   2-10-201 3 To    HSBC-USD Savings Ale                   Payment               644         431 ,126.72
   23-10-'2013 To   HSBC-USD Savings Ale                   Payment               718         652,343.33
   12-11-2013 To    HSBC-USD Savings Ale                   Payment               806         204,594.48
   3-12-2013 "f:o   Wing Lung Bank                         Paym ent              866         461,166.54
                 By Bank Charge-Bank TI1rough Documents    Journal                38                                    1,349 50
                                                                                        - - 9!6 8 3, 013.64      9,68 3!01 3 . 64
   17-4-2014  By      Purchase - Cut & Polished            Purchase                10                            1.114.103 03
   22-4-2014  By      Purchase - Cut & Polished            Purchase               13                             1.256.230 71
     9-<6-2014By      Purchase- Cut & Polished             Purchase               69                               999,928 30
   16-6-2014  By      Purchase- Cut & Polished             Purchase               81                               426.619 50
   31-7-2014  To      Firestar Diamond BVBA                Journal                15       2,623,238.68          2.623.238.68
   26-8-2014  To      Wing Lung Bank                       Payment               295       , '114,103.03
   29·8-2014  To      Wing l ung Bank                      Payment               307       1,256,230.71
   12-9-201 4 By      Purchase - Cut & Polished            Purchase              214                                  892,723.27
   20-10-2014 By      Purchase- Cut & Polished             Purchase              277                                  619.896.93
   30-10-2014 By      Purchase- Cut & Polished             Purchase              281                                  263,977.80
   31 -10-2014By      Purchase . Cut & Polished            Purchase              282                                  471.765.14
              To      Wing Lung Bank                       Payment               450          999,928.30
   4-1 1-2014 To      Wing L ung Bank                      Payment               460          428,619.50
   22-12-2014 By      Purchase- Cut & Polished             Purchase              332                                  968,035 03
   24-12-2014 By      Purchase ~ cut & Polished            Purchase              337                                  894,377 60
    6-1-2015 By       Purchase - Cut & Polished            Purchase              340                                  550,860.06
   17-1-2015 By       Purchase· Cut & Polished             Purchase              343                                  657,922 34
   23·2-2015 To       Wing Lung Bank                       Payment               637          892,723.27
   26-2-2015 By       Purchase- Cut & Polished             Purchase              376                                  922,833.00
   27-2-2015 By       Purchase- Cut & Polished             Purchase              377                                  660,476.10
   19-3-2015 To       Wing lung Bank                       Payment               693         619,896.93
   23-3-2015 To       Wing Lung Bank                       Payment                708        471 ,765.14
   27-3-2015 To       Wing Lung Bank                       Payment                721        263,977.80
   31-3-2015 To       Bills Payable                        Journal                 59      3,071,195.03
                                                                                          11,741,678.39         13,324.987.49
                 To       Closing Balance                                                  1,583,309.10
                                                                                          13,324,987.49         13,324,987.49
   1·4-2015  By       Opening Balance                                                                            1,583,309.10
    1+2.015  By       Bills Payable                        Journal                  6                            3,071,1 95.03
   11-5-2015 By       Purc hase. Cut & Polished            Purchase                50                              987,573.60
   20.5-2015 To       Wing Lung Bank                       Paym~nt                111         968,035 03
             To       Wing Lung Bank                       Paym ent               112         550,860.06
   21-5-2015 By       Purchase • Cut & Polished            Purcha.se               64                                 987,478 80
             To       Wing Lung Bank                       Payment                116        894,377.60
   27 5-2015 To       Wing Lung Bank                       Paym ent               129        657,922.34

                          Carried Over                                                     3,071,195.03          6,629,556.53


                                                                              ·~                                  continued ...
20-01054-shl           Doc 56-6           Filed 10/15/20 Entered 10/15/20 22:39:07                     Exhibit Ex D -
                                          PWC Forensic Pg 104 of 107

   Et&rn al Diamonds
   Ejrestar Diamond BVBA Ledger Account             1-Aer-2011 to 12-0~-2011_ _                                 \t-tl\   Page~
        Date      Particulars                                 Vch Type             Vch No.             Debit             Credit
                          Brougnt Forward                                                       3.071 195.03      6,629,556.53

   10·6-2015    By   Purchase - Cut &    Polished           Purchase                   87                           .989,236.64
    9-7-2015    To   ICBC USD                               Payment                   225        922,833.00
   11-7-2015    By   Purch ase- Cut &    Polished           Purchase                  134                           516,849.99
   20-7-2015    To   ICBC USD                               Payment                   252        643,018.50
   23-7-2015    To   ICBC USD                               Payment                   260         17,457.60
   14-.9-2015   By   Purchase- Cut &     Polished           Purchase                   225                          437,608 77
   25-9-2015    By   Purchase -Cut &     Polished           Purchase                  243                           859,049.31
   29-9-2015    By   Purchase - Cut &    Polished           Purchas~                  245                           748,899 87
   7-10-2015    By   Purchase- Cut &     Polished           Purchase                  268                           951 ,448.29
   8-10-2015    By   Purchase - Cut &    Polished           Purchase                  276                           932,576 79
   16-10·2015   To   ICBC USD                               Payment                   450        987.573.60
   17-10-2015   By   Pur{;hase - Cut &   Polished           Purchase                  303                           592,372.88
   30-10-2015   To   ICBC USD                               Payment                   489         987,478.80
   5-11-2015    To   ICBC USD                               Payment                   51 1        570.000.00
   6-11-2015    To   ICBC USD                               Payment                   518       1.230,000.00
   18-12·2015   By   Purchase- Cut&      Polished           Purchase                  417                           441 ,868.00
   29-1-2016    By   Purchase- Cut &     Polished           Purchase                  498                           854,283 87
   12-2-2016    To   ICBC USD                               Paymont                   776         143,695.40
   18·2-2016    To   Wing Lung Bank                         Payment                   793         859,049.31
                To   Wing Lung Bank                         Payment                   795         951,448.29
   26-2-2016    To   ICBC USD                               Payment                   829         748 899.87
    3-S-2016    To   Wing Lung Bank                         Payment                   841         932.576.79
   23·3-2016    To   Wing Lung Bank                         Payment                   882         592 372.88
   31-3·2016    To   Bills Payable                          Journal                    87       1'186,508.64
                                                                                             13.844.-107 71      13,953,750 94
                To        Closing Balance                                                        109,643.23
                                                                                              13,953,750.94      13,953,750.94
   1-4-2016     By Opening Balance                                                                                  109,643.23
    1-4-2016    By Bills Payable                            Journal                                               1,186,508.64
   13-4·2016    By Purchase - Cut & Polished                Purchase                    14                          952,557 86
   26-4-2016    By Purchase- Cut & Polished                 Purchase                    47                          723,564 82
                To ICBC USD                                 Payment                     64       441 .868.00
   12-5-2016    By Purchase- Cut & Polished                 Purchase                    80                          815,358 95
   23-5-2016    By Purchase -Cut & Polis hed                Purchase                    91                          581 ,781 70
     1-6-2016   By Purchase - Cut & Polished                Purchase                  113                           596,674.30
   20-6-2016    To ICBC USD                                 Payment                   2.14       854,283.87
   23-7-2016    By Purchase- Cut & Polished                 Pu.r chase                231                           852.o06.19
   22·8-2016    To ICBC USD                                 Payment                   413        952,557.86
   26-8-2016    To ICBC USD                                 Paym ent                  439        723,564.82
   29-8-2016    By Purchase - Cut & Polished                Purchase                  308                           963,229.57
   14-9-2016    By Purchase - Cut & Polished                Purchase                  3-49                          837,550 28
   22·9-2016    To ICBC USD                                 Payment                   627        815,358.95
   26-9-2016    By Purchase- Cut & Polished                 Purchase                  363                           509,735.44
   6-10-2016    To ICBC USD                                 Payment                   672        596,674.30
   7-10-2016    By Purchase. Cut & Polished                 Purchase                  379                           604,315 40
   26-10-2016   To ICBC USD                                 Payment                   601        581 ,781 .70
   11 11-2016   By Purchase -Cut & Polished                 Purchastt                 407                           688,026.66
   7·12·2016    To ICBC USD                                 Payment                   712        852,506.19
   27-1-2017    To ICBC USD                                 Payment                   825        963,229.57
    9-2-2017    To ICBC USD                                 Payment                   851        837.550.28
   11-2-2017    By Purchase • Cut & Polished                Purchase                  535                           903.192.49
                         Carried Over                                                          7,619,375.54      10,324,645.53

                                                                                  ..Y%                             continued ...
20-01054-shl      Doc 56-6        Filed 10/15/20 Entered 10/15/20 22:39:07                  Exhibit Ex D -
                                  PWC Forensic Pg 105 of 107


   Eternal Diamonds                                                                                 \ \ f,o
   FJrestar Diamond BVBA Ledger Account : 1-Apr-201 1 to 12-0ct-2017                                          Page~
        Oat&      Particulars                       Vch Type           Vch No.             Debit              Credit
                     Brought Forward                                                7,619.375.54     10,324,645 53

    6-3-2017 To ICBC USD                             Payment              922         509,735.44
    8-3-2017 To ICBC USD                             Payment               930        604,315.40
   14-3-2017 By Purchase- Cut & Polished             Purchase             665                           752,101 51
                                                                                    8,733,42'6.38    i 1,0i6,747 04
            To       Closing Balance                                                2,343.320.66
                                                                                 - ·n-.o76,747.04    11 ,o76,747.04
20-01054-shl            Doc 56-6      Filed 10/15/20 Entered 10/15/20 22:39:07                   Exhibit Ex D -
                                      PWC Forensic Pg 106 of 107

                                                  Eternal Diamonds
                                                Firestar Diamond BVBA
                                                      Ledger Account


                                                  1-Apr-2017 to 20-Mar-2018
                                                                                                                Pa e 1
        Date          Particulars                      Vc_h Type              Vch No.           Debit           Credit
                      - ··-· ·--4·-
   1-4-2017      By   Opening Balance                                                                    2 ,343,320.66
    3-4-2017     To ICBC USD                           Payment                     4      688,026.66
    1-6-2017     By Purchase - Cut & Polished          Purchase                  106                       858,793.72
   20-6-2017     To ICBC USD                           Payment                   210      903,192.49
    8-7-2017     By Purchase • Cut & Polished          Purchase                  153                       526,1 52.22
   24-7-2017     By Purchase. Cut & Polished           Purchase                  163                       967.404.00
   27-7-2017     To ICBC USD                           Payment                   327      752,101 .51
    8-9-2017     By Purchase . Cut & Polished          Purchase                  232                       998,250.78
   25-9-2017     By Purchase . Cut & Polished          Purchase                  267                       996,328.65
   4-11-2017     By Purchase. Cut & Polished           Purchase                  314                       973,918.22
   6-11 -2017    To ICBC USD                           Payment                   593       858,793.72
   15-11 -2017   By Purchase - Cut & Polished          Purchase                  331                        529,920.50
   17-1 1-2017   By Purchase • Cut & Polished          Purchase                  335                        326.590.76
   23-11 -2017   By Purchase • Cut & Polished          Purchase                  340                        818.122.90
   2-12-2017     By Purchase - Cut & Polished          Purchase                  348                        508,061 .78
   18-1 2-2017   To ICBC USD                           Payment                   675       526,152.22
   19-12-2017    To ICBC USD                           Payment                   682       967,404.00
   15-1-2018     By Purchase - Cut & Polished          Purchase                  453                        965,722.22
   27-1-2018     By Purchase - Cut & Polished          Purchase                  468                      1,085,412.37
                                                                                         4.695,670,60    11 ,897,998.78
                 To       Closing Balance                                                7,202,328.18
                                                                                        11 !897,998.78   11 ,897,998.78
    20-01054-shl                Doc 56-6            Filed 10/15/20 Entered 10/15/20 22:39:07                                        Exhibit Ex D -
                                                    PWC Forensic Pg 107 of 107                                                                     Final report




© 2019 PwC Belgium. All rights reserved.
PwC firms help organisations and individuals create the value they’re looking for. We’re a network of firms in 158 countries with close to 180,000 people who are
committed to delivering quality in assurance, tax and advisory services. Tell us what matters to you and find out more by visiting us at
www.pwc.com
PwC refers to the PwC network and/or one or more of its member firms, each of which is a separate legal entity. Please see www.pwc.com/structure for further
details.
